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     And On Behalf Of All Others Similarly Situated
 6

 7

 8
                                 UNITED STATES DISTRICT COURT
 9
                         FOR THE CENTRAL DISTRICT OF CALIFORNIA
10
     RICHARD JACKSON, JULIE BRIGGS,              Case No.: ______________________
11   and GREGG BUCHWALTER, Individually
     And On Behalf Of All Others Similarly       CLASS ACTION COMPLAINT FOR
12   Situated,                                   DAMAGES, DECLARATORY AND
                                                 INJUNCTIVE RELIEF FOR:
13                 Plaintiffs,
                                                         1) Violation of 42 U.S.C. Section 1983 (First
14   v.                                                     Amendment) (Censorship and
                                                            Suppression of Protected Speech)
15   TWITTER, INC., a Delaware corporation;              2) Violation of Federal Civil Rights Act of
     GOOGLE, LLC, a limited liability                       1964 (Election Interference)
16   company; ALPHABET, INC., a Delaware                 3) Violation of the California Unruh Civil
     corporation; META PLATFORMS, INC., a                   Rights Act [Civil Code section 51 et seq.]
17   corporation doing business as “META” and            4) Injunctive Relief
     “FACEBOOK, INC.”; INSTAGRAM, INC.,                  5) Declaratory Relief
18   a Delaware corporation; AMAZON INC. a
     Delaware corporation; YOU TUBE, INC., a
19   Delaware corporation; APPLE, INC., a                     DEMAND FOR JURY TRIAL
     Delaware corporation; AMERICAN
20   FEDERATION OF TEACHERS;                                         [Fed.R.Civ.P. 38]
     NATIONAL EDUCATION
21   ASSOCIATION; NATIONAL SCHOOL
     BOARD ASSOCIATION; DNC
22   SERVICES CORPORATION, a corporation
     doing business nationwide as “THE
23   DEMOCRATIC NATIONAL
     COMMITTEE” OR “DNC,”
24
                  Defendants.
25
     ___________________________________
     `
26
                      INTRODUCTION AND NATURE OF THE ACTION
27
           1. A private entity violates the First Amendment "if the government coerces or induces it
28

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 1   to take action the government itself would not be permitted to do, such as censor expression of a
 2   lawful viewpoint." Biden v. Knight First Amendment Institute at Columbia Univ., 141 S. Ct.
 3
     1220, 1226 (2021) (Thomas, J., concurring). "The government cannot accomplish through threats
 4
     of adverse government action what the Constitution prohibits it from doing directly." Id.
 5
            2. “Private parties [like Defendants herein] act under color of state law if they willfully
 6

 7   participate in joint action with state officials to deprive others of constitutional rights. Private

 8   parties involved in such a conspiracy may be liable under section 1983.” United Steelworkers of

 9   America v. Phelps Dodge Corp., 865 F.2d 1539, 1540 (9th Cir. 1989). The question is whether
10   given the circumstances of the case the state has so “significantly involved itself in the private
11
     conduct that the private parties may fairly be termed state actors. Among the factors considered
12
     are whether the state subsidized or heavily regulated the conduct, or compelled or encouraged the
13
     particular conduct, whether the private actor is performing a function which is normally is
14

15   performed exclusively by the state, and whether there was a symbiotic relationship rendering the

16   conduct state action.” Robbins v. Hamburger Home for Girls, 32 Cal. App. 4th 671, 683 (1995).

17          3. At all times herein mentioned, Defendant the Democratic National Committee (the
18
     “DNC”), the federal government and in particular, the Biden Administration, aided and abetted
19
     by the “mainstream media,” colluded with and/or coerced social media companies, internet
20
     retailers and distributors, public school teacher unions and school board associations, including
21
     the private party defendants named and described herein, to suppress and censor disfavored
22

23   speakers, viewpoints and content on social media platforms and/or barred them from the public

24   square by falsely labeling content “dis-information,” “misinformation,” and “mal-information”
25   (hereinafter the “Censorship Scheme”).
26
            4. Plaintiffs allege that the DNC and the Biden Administration’s “weaponized” federal
27

28

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 1   agencies - including the Department of Justice (“DOJ”), Federal Bureau of Investigation (“FBI”),
 2   Center for Disease Control (“CDC”), Department of Homeland Security (“DHS”), Department of
 3
     Health (“DOH”), Department of Education (“DOE”), State Department and Department of
 4
     Defense (“DOD”) – relying on public fear caused by the Covid 19 Pandemic, lockdowns and
 5
     health concerns – unnecessarily closed public schools, shut down services from essential service
 6

 7   providers and other private public businesses and threatened other adverse government action to

 8   coerce and direct the private-party defendants herein to do that which the Constitution prohibits

 9   the government from doing directly – namely, to censor and suppress lawfully protected speech
10   and communications of disfavored (primarily conservative or Republican Party) speakers,
11
     viewpoints, and content on social media platforms.
12
            5. The vast Censorship Scheme’s tentacles have reached as far as the internet retailer
13
     defendants, including Apple, Inc. (“Apple”) and Amazon, Inc. (“Amazon”), who refused and
14

15   continue to refuse to distribute books, articles, movies, audios and other communications written

16   or published by conservative or “disfavored” speakers under the direction of the federal

17   government and the Biden Administration’s Orwellian guise of “misinformation.”
18
            6. The vast Censorship Scheme has also infiltrated our public schools, as the defendant
19
     teacher unions and school board association, under the direction of the unelected President of the
20
     American Federation of Teachers’ President, Randi Weingarten – in collusion with and aided and
21
     abetted by the Biden Administration’s weaponized CDC, DOJ, FBI and Departments of
22

23   Education and Health - made and continue to make policy directives for American public schools

24   and their students. Specifically, at the request of and in collusion with the Biden Administration,
25   the the teacher unions and school board association similarly unconstitutionally burdened
26
     Plaintiffs’ First Amendment rights by suppressing, stifling and censoring any and all complaints
27
     made or expressed by concerned parents in the public square from October 2020 to the present
28

                                                      3
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 1   about teaching such things as teaching “critical race theory” to students without the knowledge or
 2   consent of their parents, the necessity and public health consequences of long school closures,
 3
     Covid 19 vaccine efficacy, or the adverse effects of teaching five year old children highly
 4
     sexualized matters, including the availability of gender altering surgery options that students are
 5
     instructed to conceal from their own parents. Defendant the National School Board Association
 6

 7   (“NSBA”) went so far as to recruit the Biden Administration’s DOJ to threaten parents who

 8   challenged “critical race theory” or voiced any other complaints to school boards about their

 9   student’s curriculum with criminal prosecution.
10          7. Pursuant to and in furtherance of this Censorship Scheme, the DNC actively
11
     participated in making it happen in conspiracy and collusion with the federal government, Biden
12
     Administration, the “mainstream media,” including the internet platform and internet retailer
13
     defendants herein, other long-standing traditional Democratic Party stalwarts and allies like the
14

15   defendant teachers unions and school board association named as defendants herein and most

16   importantly, the DNC’s and Democratic Party’s leadership, to suppress and censor disfavored

17   speakers, viewpoints and content on social media platforms and/or barred them from the public
18
     square by falsely labeling content “dis-information,” “misinformation,” and “mal-information.”
19
            8. At all times herein mentioned, the DNC’s and Democratic Party’s leadership actively
20
     participating in this fraudulent Censorship Scheme included and still includes:
21
            -     Former Chairs Donna Brazil and Tom Perez;
22

23          -    2016 Democratic Party candidate Hillary Clinton (“Clinton”), whose scheme to create

24               a patently false “dossier” to support bogus FISA warrants, the Russian Hoax and the
25               first impeachment of President Trump was disclosed during a prosecution brought by
26
                 Special Prosecutor John Durham;
27
            -    2016 and 2020 DNC Keynote Address Speaker Michelle Obama (who was recently
28

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 1              outed as the powerful force behind the decision made by Defendant Twitter, Inc.
 2              (“Twitter”) to permanently ban former President Donald J. Trump (“President
 3
                Trump”) from using Twitter’s platform as a result of what happened on January 6,
 4
                2021);
 5
              - 51 former highly partisan national “intelligence” officers, including John Brennan
 6

 7               and James Clapper, who falsely claimed in a letter signed weeks before the 2020

 8               election that a New York Post article written by Miranda Divine about a laptop owned

 9               by Hunter Biden, the son of President Joseph R. Biden, Jr. (“President Biden”) that
10               the FBI subpoenaed in December 2019 and had under its control – that contained
11
                 authenticated information and documentary evidence establishing that the Biden
12
                 Family, including President Biden, have deep financial ties to the Chinese
13
                 Communist Party and the Ukraine Government;
14

15        -     Former FBI Chief James Comey;

16        -     Former FBI (and subsequently, Twitter, Inc.) General Counsel James Baker;

17        -     Former FBI Supervisory Agent Timothy Tibolt;
18
          -     Former FBI head James Comey;
19
          -     Defendant American Federation of Teachers President Randi Weingarten;
20
          -     Highly partisan Democratic Party government lawyers (and lovers) Lisa Page and
21
                Peter Strzok (who spoke in text messages about the Democratic Party’s “insurance
22

23              policy” ensuring the DNC’s ability to “take out” the 45th President of the United

24              States, Donald J, Trump (“President Trump); and
25        -     Other currently unknown and unidentifiable Democratic Party operatives within the
26
                so-called “Deep State” whose names will be added to this Complaint as soon as their
27
                identities are ascertained.
28

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 1      9. Whether inside or outside of the federal government, the DNC’s and Democratic
 2   Party’s leadership, aided, abetted and controlled by the Biden Administration and its various
 3
     “weaponized” federal agencies, including the Department of Justice (“DOJ”), Federal Bureau of
 4
     Investigation (“FBI”), Department of Education (“ED”), Center for Disease Control (“CDC”),
 5
     Department of Homeland Security (“DHS”) and Census Bureau – conspired, colluded with and/or
 6

 7   directed, coerced and controlled the social media internet platform and retailer defendants, as well

 8   as other traditional Democratic Party allies and stalwarts, such as the teacher’s union and school

 9   board association defendants, to unconstitutionally suppress and censor the legally protected
10   speech, opinions, communications and publications of “disfavored” speakers - namely,
11
     Republican Party speakers and users, as well as any other person or organization (such as leading
12
     and renowned physicians and scientists during the height of the Covid 19 madness and
13
     lockdowns) who dare to challenge, dispute or say anything critical about the Democratic Party,
14

15   the DNC’s “Platform” or the Biden Administration’s policy and mandates, pursuant to the

16   Censorship Scheme

17      10. Pursuant to and in furtherance of this fraudulent Censorship Scheme, Defendants and
18
     their Democratic Party leadership allies secretly acted as actual and ostensible agents for the
19
     federal government, coordinating and working hand in hand with “weaponized” federal agencies,
20
     including the Department of Justice (“DOJ”) and its now disgraced Federal Bureau of
21
     Investigation (“FBI”), who directed and coordinated with Defendants to suppress and censor
22

23   anything critical of the Democratic Party’s and DNC’s platform as a “threat to democracy” or

24   worse.
25      11. At all times herein mentioned, Defendants, the Biden Administration and their complicit
26
     allies and friends in the mainstream media denied and continue to deny that this Censorship
27
     Scheme exists, calling out and identifying anyone making such claims “conspiracy theorists,”
28

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 1   “election deniers” or a “threat to democracy” (which they view as “one party [Democratic Party]
 2   rule
 3
        12. However, in or about December 2022, Elon Musk (“Musk”), the new owner of
 4
     Defendant Twitter, Inc. (“Twitter”), “outed” the Censorship Scheme when he began a series of
 5
     public postings of internal Twitter documents by and between Twitter and the Biden
 6

 7   Administration (and even a few communications from the Trump-led CDC) that established,

 8   disclosed and confirmed not only the existence of the Censorship Scheme, but also that agents of

 9   the FBI and other federal agencies, including the DHS, regularly conducted secret weekly
10   meetings with managing agents of Defendants Twitter, Facebook, Inc. (“Facebook”) and the other
11
     social media and internet retailer giants named as defendants herein for the purpose of identifying
12
     for them what speech they should suppress or censor on behalf of the government as
13
     “misinformation.”
14

15      13. Not surprisingly, virtually all of the communications that the FBI directed Defendants

16   to censor and suppress as “misinformation” were truthful, lawfully protected opinions and

17   viewpoints of conservative or Republican Party speakers or platform users.
18
        14. Aided and abetted by the Biden Administration, the Biden Administration led DOJ,
19
     FBI, Department of Education, Homeland Security DHS, CDC, other federal agencies and their
20
     cabinet secretaries, managers and employees, the Defendants herein, and each of them, also
21
     stifled, suppressed and censored lawfully protected speech and opinions of concerned parents at
22

23   public school board meetings and in communications with the teacher’s unions by demanding and

24   directing that the DOJ and FBI threaten and arrest if necessary these parents, whom they falsely
25   asserted were “domestic terrorists,” with arrest and prosecution for “sedition” and other “un-
26
     American activities.” Attorney General Merritt Garland dutifully complied with the demands of
27
     the teacher unions and school board association.
28

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 1      15. As more particularly alleged herein below, Defendants also used their Censorship Scheme
 2   to stifle, suppress and censor as “misinformation” any and all truthful facts, opinions or
 3
     viewpoints from concerned medical doctors and scientists who questioned or dared to challenge
 4
     or refute the Biden Administration’s and DNC’s myopic “party line” and policies about vaccines,
 5
     natural immunity, available drug therapies for treating the disease and related matters pertaining
 6

 7   to the Covid 19 Pandemic by threatening them with prosecution simply because they held

 8   contrary opinions to those espoused by the Biden Administration, CDC, DNC and Defendants

 9   herein.
10      16. Defendants accomplished their Censorship Scheme under the guise and pretext of
11
     falsely labeling Republican Party voices and conservative speech, opinions, viewpoints and
12
     contents as “misinformation,” “disinformation,” “mal-information,” “conspiracy theory,” and/or
13
     calling them all “election deniers.”
14

15   . In July 2022, Defendants and their allies within and without the federal government went

16   so far as to falsely claim repeatedly that such speech is not only “misinformation,” but also

17   “dangerous,” and a clear “threat to democracy.” These false and disparaging statements were
18
     confirmed by President Joseph R. Biden, Jr. (“President Biden”) in his divisive speech to his
19
     followers in Philadelphia in October 2022, right before the mid-term election, when he falsely
20
     warned them and the rest of the Country from the “bully pulpit” that any and all “MAGA
21
     Republicans” (who comprise the “Putative Class” in this case) are a dangerous “threat to
22

23   democracy” who should never attain public office.

24      17. Aided and abetted by the Democratic Party’s long-standing traditional allies in the
25   mainstream media, the clear intent and likely result of Defendants’ unconstitutional and illegal
26
     Censorship Scheme was to turn the 2020 and 2022 elections in favor of the Democratic Party and
27
     to turn all future elections in favor of the Democratic Party by putting their thumbs on the scale
28

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 1   by using, aiding and abetting private enterprise to illegally and unconstitutionally censor and
 2   suppress the viewpoints and opinions of the Biden Administration’s political enemies, something
 3
     that the Biden Administration cannot do for itself because of its patent unconstitutionality.
 4
        18. Unless restrained and enjoined by this Court, Defendants will continue to
 5
     unconstitutionally and illegally engage in censorship and suppression of conservative voices and
 6

 7   opinions in a manner that is offensive to the First Amendment to the United States Constitution

 8   and contrary to federal and California law.

 9      19. In or about May 2022, Marc Zuckerberg, President of Defendant Facebook, Inc.
10   (“Facebook”), disclosed for the first time that in or about October 2020, weeks before the
11
     November 2020 Presidential Election, Facebook was pressured and coerced by the FBI to
12
     suppress and censor as “Russian disinformation” an October 2020 article written by Miranda
13
     Devine that appeared in the New York Post (“Devine’s Laptop Story”) that disclosed that the FBI
14

15   had in fact subpoenaed from a third party “good Samaritan” pawn shop owner a laptop computer

16   owned by President Biden’s son, Hunter Biden (the “Laptop”).

17      20. Today, it is beyond dispute that the documentary evidence and other information
18
     Contained in the Laptop is authentic and that at best, the documents and information would have
19
     been harmful to President Biden’s presidential ambitions and the Joe Biden Presidential
20
     Campaign if release at that time. Besides videos showing Hunter Biden engaged in multiple
21
     felonies and drug use, the Laptop includes information that establishes that President Biden’s
22

23   “Crime Family,” including Biden himself and his brother and son, engaged for years in influence

24   peddling with foreign governments and that President Biden himself has deep financial and
25   political ties to Russia, Ukraine and the Chinese Communist Party (“CCP”) that would serve to
26
     compromise anyone with a pulse, let alone the President of the United States. Accordingly, the
27

28

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 1   Laptop would have been of paramount importance to any of the undecided voters who wanted to
 2   cast votes in the upcoming November 2020 for either President Trump or then Senator Biden.
 3
        21. Rather than disclosing the existence of the Laptop or any of the authenticated
 4
     documentary evidence contained therein, the FBI directed Facebook and the other social media
 5
     defendants herein to censor and suppress the Laptop as if it never existed or alternatively, to
 6

 7   dismiss it as “Russian Propaganda” or the result of a “Russian Dis-information Campaign.”

 8   Consistent with its prior pattern and practice with the FBI, Facebook and the rest of the social

 9   media defendants complied with the government’s demand, doing that which the government
10   could not do on its own – namely, suppress and censor the Laptop containing authentic
11
     information and documents that were clearly harmful to Biden’s political ambitions under a false
12
     claim of “Russian Disinformation.” Pursuant to and in furtherance of the Censorship Scheme,
13
     these defendants, and each of them, complied with the federal government’s and FBI’s dictates
14

15   and commands in October 2020.

16      22. Since Musk acquired Twitter in the Fall of 2022, Twitter has released at least 12 public

17   “Twitter Drops:” Public disclosures of formerly concealed information about the inner workings
18
     of Twitter that Musk asked several objective reporters to review and edit. These Twitter Drops
19
     These Twitter Drops serve to confirm what has already been alleged herein – namely, that
20
     Defendants herein worked hand in hand with the federal government and in particular, the Biden
21
     Administration and its weaponized federal agencies to censor and suppress any speech that
22

23   concerned conservative viewpoints, policy directives or anything else that waivered from the

24   Democratic Party, DNC or Biden Administration platforms or the party line.
25      23. The Twitter Drops and other recent public disclosures further demonstrate that in
26
     addition to the individuals and weaponized federal agencies identified above, a number of
27
     currently unknown but highly partisan federal bureaucrats served within several administrations
28

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 1   as “Trojan Horses” and continue to serve in that fashion for the purpose of doing the bidding of
 2   the Democratic Party under the exclusive direction and control of the DNC and subsequently the
 3
     Biden Administration. These Twitter Drops also establish that the federal government and its
 4
     weaponized federal agencies colluded and or conspired with and or coerced and or directed the
 5
     defendant social media internet companies and other traditional Democratic Party allies, like the
 6

 7   Defendant teacher’s unions and school board association, to perpetrate the vast and systemic

 8   Censorship Scheme alleged herein and to flip the United States from a Constitutional Republic

 9   into a Socialist or Marxist society more akin to the Russian and CCP totalitarian models of one-
10   party rule. Needless to say, the Twitter drops further establish that Defendants accomplished
11
     their Censorship Scheme by deliberately and intentionally suppressing, censoring, “shadow
12
     banning” and stifling conservative voices, viewpoints and opinions to frame the public
13
     “narrative” in a way that mirrors only the Democratic Party and DNC party line only.
14

15      24. Defendants’ Censorship Scheme not only purposely suppresses, censors, ignores,

16   “cancels” or excludes any and all opinions and viewpoints of conservatives or anyone else who

17   challenges or opposes the Democratic Party’s or Biden Administration’s policies and propaganda,
18
     it also frames the narrative for public discourse, thereby confirming one-party dogma and rule.
19
        25. In 1783, George Washington warned that if "the Freedom of Speech may be taken
20
     away," then "dumb and silent we may be led, like sheep, to the Slaughter." George Washington,
21
     Address to the Officers of the Army (March 15, 1783). The freedom of speech in the United
22

23   States now faces one of its greatest assaults by federal government officials in the Nation's

24   history.
25      26. 239 years later, Donald J. Trump, the 45th President of the United States (“President
26
     Trump”), gave a similar ominous warning to his followers that freedom of speech in the United
27
     States now faces one of its greatest assaults by federal government officials that our Nation has
28

                                                      11
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 1   ever seen in its history. In an address to the Nation on December 16, 2022, President Trump
 2   explained:
 3
                    “If we don’t have free speech, then we just don’t have a free country. It’s as
 4
                    simple as that. If this most fundamental right is allowed to perish then the rest of
 5
                    our rights and liberties will be allowed to topple just like dominoes they’ll go
 6

 7                  down one by one.”

 8      27. President Trump also announced his own plan “to shatter the left-wing censorship regime

 9   and to reclaim the right to free speech for all Americans. . . because [these rights] have been taken
10   away.”
11
        28. Now that Defendants’ Censorship Scheme has been “outed” by Musk, President Trump
12
     and others, it shows anyone who is not complacent how fragile our “Constitutional Republic”
13
     really is as a result of Defendants’ actions, as well as the perils the rest of America faces because
14

15   Musk’s early disclosures established that a left-wing censorship regime, led by the DNC, in fact

16   exists – a regime which has enlisted individuals and managers and employees within federal

17   government agencies to “privatize” the First Amendment by teaming up with the “Internet
18
     Platform” defendants, teacher union defendants, school board association and their Democratic
19
     Party allies in the mainstream media to censor and suppress speech which Defendants and the
20
     Biden Administration all know the federal government cannot censor or suppress under the Bill
21
     of Rights and First Amendment to the Constitution.
22

23      29. In 17th-Century England, government controlled speech through its monopoly on printing

24   presses. See L. Levy, Emergence of a Free Press (1985). The first newspapers were also met by
25   licensing prosecutions of unlicensed news-sheet printers and the power of the crown to grant
26
     privileges of monopoly. See also, 2 J. Story, Commentaries on the Constitution of the United
27
     States, section 1882 (Fifth Ed. 1891). Indeed, “history discloses a persistent effort on the part of
28

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 1   the British government to prevent or abridge the free expression of any opinion which seemed to
 2   criticize or exhibit in an unfavorable light, however truly, the agencies and operations of the
 3
     government.” Grosjean v. American Press Co., 297 U.S. 233, 245 (1936).
 4
        30. The Censorship Scheme alleged herein and the “Twitter Drops” establish that government
 5
     actors actively partnered with today’s leading and monopolistic “printing presses” – Twitter,
 6

 7   Facebook, You Tube, Instagram, Google, and the other internet platforms and internet retailers

 8   and distributors of content like Amazon and Apple, to censor speech critical of government

 9   policy. The federal government also actively partnered with the defendant teacher unions and
10   defendant the National School Board Association (“NSBA”). The federal government and Biden
11
     Administration have in fact been pulling the strings of these alleged “private party” defendants
12
     for years. Just like citizens who lived under 17th Century British rule, if American citizens like
13
     the Plaintiffs herein and Putative Class refuse to “tow the line” set by the Biden Administration
14

15   and DNC with respect to what they choose to say, read, write or hear, they are punished and

16   burdened as a result and will continue to be punished and burdened and punished by Defendants

17   herein and the Biden Administration as if it were the British Crown itself controlling the output of
18
     their content and speech.
19
        31. Plaintiffs and the Putative Class have been irreparably harmed by Defendants’
20
     unconstitutional actions and the Censorship Scheme perpetrated on them and the American public
21
     by Defendants and the Biden Administration. They will continue to suffer irreparable harm
22

23   unless restrained by this Court and the Court restores their right to free speech and the free speech

24   rights of all Americans that have been trampled on by Defendants and the Biden Administration.
25      32. The Censorship Scheme, wrongdoing and patent election interference by Defendants and
26
     the Biden Administration are also corroborated today by the landmark lawsuit filed by the
27
     Attorneys General of the States of Missouri and Louisiana in May 2022 (the “AG Lawsuit”). The
28

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 1   AG Lawsuit asserts direct government censorship by the government against the Biden
 2   Administration and its various Executive Agencies, including the DOJ, FBI, CDC, DHS and
 3
     Department of Education (“DE”).
 4
        33. Recent victories and court orders obtained in the AG Lawsuit have compelled the
 5
     belated disclosure and production of documentary evidence by and from the Biden
 6

 7   Administration, its Cabinet members and others within the federal Executive Branch that

 8   unequivocally establish the existence of the systemic, long-running “Censorship Scheme”

 9   described above -- a Censorship Scheme and plan that Eric Schmidt, the Missouri Attorney
10   General, states constitutes “one of the greatest assaults on the First Amendment by federal
11
     government officials in the Nation’s history.
12
        34. In light of the compelling disclosures that have been and are still being made in the
13
     AG Lawsuit and December 2022 Twitter Drops and Defendants’ Censorship Scheme, Plaintiffs,
14

15   the Putative Class and all other Americans have suffered and will continue to suffer irreparable

16   harm that requires the equitable powers of the Court and the issuance of a nationwide injunction

17   that restrains, enjoins and prevents the so-called “private party” internet “platform” and retailer
18
     defendants (collectively referred to herein as the “Platform Defendants”), teacher unions and
19
     school board associations from continuing to serve as “lackies” for the Biden Administration and
20
     federal government and in particular, to enjoin and restrain Defendants from taking actions that
21
     the government itself would not be permitted to do – namely, censoring or suppressing expression
22

23   of a lawful but “disfavored” viewpoint, opinion, solicitation and/or communication while refusing

24   to censor or suppress (and actively advocate for left-leaning Democrats and Democratic Party
25   causes).
26
        35. Suppression of disfavored speech – namely, speech by conservative or Republican
27

28

                                                      14
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 1   Party speakers, as well as their viewpoints and content – constitutes government action and
 2   violates Plaintiffs’ and the Putative Class’s freedom of speech in violation of the First
 3
     Amendment to the United States Constitution.
 4
        36. While many conservative leaders and speakers long suspected “shadow banning” and
 5
     similar censorship by Defendants in 2020, Defendants and the Biden Administration deliberately
 6

 7   concealed their Censorship Scheme from Plaintiffs and the Putative Class. However, in light of

 8   the disclosures made in the AG Lawsuit and the December 2022 Twitter Drops, Defendants’

 9   Censorship Scheme is now undeniable
10      37. As a direct and proximate result of Defendants’ Censorship Scheme, Plaintiffs and the
11
     Putative Class have been damaged and harmed. Among other things, they lost their right to vote
12
     without outside interference in the 2020 and 2022 national elections. Plaintiffs and the Putative
13
     Class have also been irreparably harmed and will continue to be irreparably harmed unless and
14

15   until Defendants are restrained and enjoined by this Court from engaging in their Censorship

16   Scheme and in particular, restrained and enjoined from any further censorship and suppression of

17   “disfavored” speech under the guise of preventing the spread of “misinformation.” In light of the
18
     extreme closeness of the 2020 and 2022 national elections, which were decided by just a handful
19
     of votes in four highly contentious “swing states,” Defendants and the Biden Administration will
20
     once again put their thumb on the scale of public debate and continue to interfere in future
21
     elections unless and until the Court restrains and enjoins Defendants’ actions and in particular,
22

23   their Censorship Scheme.

24      38. Accordingly, Plaintiffs and the Putative Class seek and request a mandatory and/or
25   prohibitive injunction compelling Defendants and the Democratic Party to cease and desist from
26
     any further manipulation of the public narrative, or censorship or suppression of what Plaintiffs
27
     and the Putative Class choose to see or say on social media, aka as the “public square.”
28

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 1      39. As president Trump observed and the Missouri Attorney General and Elon Musk, the
 2   new owner of Defendant Twitter, Inc. (“Twitter”) have now            confirmed, “a sinister group
 3
     of deep state bureaucrats, Silicon Valley tyrants, left-wing activists and depraved corporate news
 4
     media – including the Platform Defendants herein and other traditional Democratic Party
 5
     stalwarts, supporters and leaders, such as Defendants The American Federation of Teachers
 6

 7   (“AFT”), National Education Association (“NEA”) and National School Board Association

 8   (“NSBA”) – have been conspiring to manipulate and silence the American people [for years] and

 9   have collaborated and colluded to suppress vital information on everything from elections to
10   public health to election fraud and interference to the existence of a Southern Border “crisis,” and
11
     most seriously, censoring and suppressing the so-called “Hunter Biden Laptop” as “Russian
12
     disinformation” two weeks before the 2020 Presidential Election to censor undisputed evidence
13
     of fraud and crimes committed by President Biden’s son, not to mention potential crimes
14

15   committed by the Biden Family (and most likely President Biden himself).

16      40. As Defendant Facebook recently admitted in May 2022 (long after the 2020 election,

17   when it clearly would have made a difference to the electorate), the Hunter Biden Laptop in fact
18
     was “authentic” but kept from public’s view as a result of the illegal and unconstitutional
19
     censorship and suppression of the existence of the laptop by the FBI, or alternatively, by
20
     knowingly falsely dismissing it as Russian ‘disinformation” by recruiting 51 Democratic Party
21
     allies from the national “Intelligence Community” to say it was such - a manufactured story
22

23   created out of whole cloth by the federal government’s intelligence community and the

24   Defendants – but instigated, directed and coerced in secret, weekly meetings between federal FBI
25   agents and the Internet Platform Defendants’ management, as well as the censorship teams
26
     created with the aid and assistance of the federal government.
27
        41. The federal government and Biden Administration have in fact coerced or induced the
28

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 1   private party defendants herein to take action that the government itself would not be permitted to
 2   do - namely, censoring expression of a lawful viewpoint pursuant to the Censorship Scheme that
 3
     the DNC and federal government have been perpetrating since at least 2019 and in all likelihood
 4
     earlier, beginning with express and implied threats from government officials and
 5
     and culminating in the Biden Administration's open and explicit censorship programs. Having
 6

 7   threatened and cajoled social-media platforms for years to censor viewpoints and speakers

 8   disfavored by the Left, senior government officials in the Executive Branch have moved into a

 9   phase of open collusion with social-media companies to suppress disfavored speakers,
10   viewpoints, and content on social-media platforms under the Orwellian guise of halting so-called
11
     "disinformation," "misinformation," and "malinformation."
12
        42. The aggressive censorship that Defendants have procured constitutes government
13
     action for at least five reasons: (1) absent federal intervention, common-law and statutory
14

15   doctrines, as well as voluntary conduct and natural free-market forces, would have restrained the

16   emergence of censorship and suppression of speech of disfavored speakers, content, and

17   viewpoint on social media; and yet (2) through Section 230 of the Communications Decency Act
18
     (CDA) and other actions, the federal government subsidized, fostered, encouraged, and
19
     empowered the creation of a small number of massive social-media companies with
20
     disproportionate ability to censor and suppress speech on the basis of speaker, content, and
21
     viewpoint; (3) such inducements as Section 230 and other legal benefits (such as the absence of
22

23   antitrust enforcement) constitute an immensely valuable benefit to social-media platforms and

24   incentive to do the bidding of federal officials; (4) federal officials—including, most notably,
25   certain Defendants herein—have repeatedly and aggressively threatened to remove these legal
26
     benefits and impose other adverse consequences on social-media platforms if they do not
27
     aggressively censor and suppress disfavored speakers, content, and viewpoints on their platforms;
28

                                                      17
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 1   and (5) Defendants herein, colluding and coordinating with each other, have also directly
 2   coordinated and colluded with social-media platforms to identify disfavored speakers, viewpoints,
 3
     and content and thus have procured the actual censorship and suppression of the freedom of
 4
     speech. These factors are both individually and collectively sufficient to establish government
 5
     action in the censorship and suppression of social-media speech, given the inherent power
 6

 7   imbalance: not only do the government actors here have the power to penalize noncompliant

 8   companies, but they have threatened to exercise that authority.

 9      43. Defendants' Censorship Scheme included and includes the Spring 2022 announcement
10   of the creation of a "Disinformation Governance Board" within the Department of Homeland
11
     Security. While the Spring 2022 “Censorship Board” was disbanded after a substantial public
12
     uproar, the DHS is currently using another board within its agency to continue to censor
13
     constitutionally protected speech – namely, conservative speech - with the aid and assistance of
14

15   Defendants herein.

16      44. "Our constitutional tradition stands against the idea that we need Oceania's Ministry

17   of Truth." United States v. Alvarez, 567 U.S. 709, 728 (2012) (plurality op.). Similarly, our
18
     constitutional tradition stands against the idea that we need a "Disinformation Governance Board"
19
     within our federal domestic-security apparatus.
20
        45. Email correspondence between the CDC, the Census Bureau, and major social-media
21
     platforms including Twitter, Facebook, and YouTube was released that reveals yet more evidence
22

23   that Defendants are directing social media censorship.

24      46. As a direct result of these actions, there has been an unprecedented rise of censorship and
25   suppression of free speech—including core political speech—on social-media platforms. Many
26
     viewpoints and speakers have been unlawfully and unconstitutionally silenced in the modern
27

28

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 1   public square. These actions gravely threaten the fundamental right of free speech and free
 2   discourse for virtually all citizens in America, both on social media and elsewhere.
 3
        47. And these actions have directly impacted the individual Plaintiffs in this case and the
 4
     Putative Class, all of whom have been censored, banned and “shadow-banned” from the
 5
     Defendants’ platforms entirely, or they have been punished and or have had impermissible
 6

 7   burdens placed on them by Defendants as the price they will pay for expressing truthful facts and

 8   opinions that are different than the party line espoused by the Biden Administration and DNC.

 9          48.     However, the federal Government continues to take an active and clearly
10   unconstitutional role in coercing and colluding with Defendants herein to censor and suppress
11
     lawfully protected speech of conservative and Republican Party speakers and writers. Among
12
     other things, Secretary Alejandro Mayorkas of DHS recently commented that the federal
13
     Government's efforts to police private speech on social media are occurring "across the federal
14

15   enterprise."

16          49.     Kamala Harris (“Harris”) the sitting United States Vice President, made a similar

17   public admission on or about December 21, 2022 when she stated:
18
                            Social media companies should “cooperate and work with us” on
19
                            “protecting our democracy.”
20
            50.     What Harris clearly meant by her statement but did not say was that “protecting
21
     our democracy” requires Defendants and their Democratic Party allies in the mainstream media to
22

23   continue to censor and suppress lawfully protected Republican Party and conservative speech,

24   aided, abetted, directed and instructed by the Biden Administration, while creating a false
25   narrative of reality in order to prioritize and gaslight the American people into believing whatever
26
     the Democratic Party says the truth is, even when what is said is patently false.
27

28

                                                      19
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 1           51.     It turns out that the statements made by Myorkis and Harris were and are quite
 2   literally true. What Harris clearly meant by her statement but did not say was that “protecting our
 3
     democracy” under the current regime requires Defendants and their Democratic Party allies in the
 4
     mainstream media to continue to censor and suppress lawfully protected Republican Party and
 5
     conservative speech, as directed and instructed by the Biden Administration, to frame the public
 6

 7   narrative in the same way as totalitarian regimes with one-party rule operate their governments.

 8           52.     Aided and abetted by a Trump-hating mainstream media which walks lock-step

 9   with the Democratic Party agenda, Defendants have also created and continue to create a false
10   narrative of reality that always favors the Democratic Party in order to prioritize its policy dictates
11
     (including its maniacal “climate change” agenda) and to “gaslight” the American people into
12
     believing whatever the Democratic Party says or claims the truth is, even when they know that
13
     what is being promulgated to the public is patently false.
14

15           53..    The Censorship Scheme described herein involves a massive, sprawling federal

16   "Censorship Enterprise," which includes dozens of federal officials across at least eleven federal

17   agencies and components, who communicate with social-media platforms about misinformation,
18
     disinformation, and the suppression of private speech on social media—all with the intent and
19
     effect of pressuring social-media platforms to censor and suppress private speech that federal
20
     officials disfavor.
21
             54.     This Censorship Enterprise is extremely broad, including officials in the White
22

23   House, HHS, DHS, LISA, the CDC, NIAID, and the Office of the Surgeon General; as well as the

24   Census Bureau, the FDA, the FBI, the State Department, the Treasury Department, and the U.S.
25   Election Assistance Commission, among others. And this effort rises to the highest levels of the
26
     U.S. Government, including numerous White House officials overseeing the Censorship
27
     Enterprise.
28

                                                       20
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 1                                        JURISDICTION AND VENUE
 2          55. The Court has subject-matter jurisdiction because the federal claims arise under the
 3
     Constitution and laws of the United States. The Court has pendent jurisdiction over Plaintiffs’
 4
     claims asserted under the California Unruh [Anti-Discrimination] Act, California Civil Code
 5
     sections 51 et seq.
 6

 7          56. Venue is proper in this District under 28 U.S.C. § 1391(b)(2) because a substantial

 8   part of the events or omissions giving rise to the claim occurred in this District.

 9                                                  THE PARTIES
10                                                          A.
11
                                            INDIVIDUAL PLAINTIFFS
12
            57.     At all times herein mentioned, Plaintiff RICHARD JACKSON (“Jackson”) was
13
     and is an individual residing in Los Angeles, California. Jackson is a registered Republican with
14

15   conservative viewpoints who considers himself to be a so-called “MAGA Republican.” As a

16   consequence, Jackson is also a member of the similarly situated Putative Class. Jackson was and

17   continues to be deprived of his First Amendment rights as a result of the Censorship Scheme and
18
     in particular, has been unconstitutionally burdened by Defendants’ continuing unlawful
19
     censorship and suppression of conservative or “disfavored” viewpoints and what he chooses to
20
     read, see, say or hear in the public square.
21
            58.     At all times herein mentioned, Plaintiff JULIE BRIGGS (“Briggs”) was
22

23   and is an individual residing in Dallas, Texas. Briggs is a registered Republican with

24   conservative viewpoints who considers herself to be a so-called “MAGA Republican.” As a
25   consequence, Briggs is also a member of the similarly situated Putative Class. Briggs was and
26
     continues to be deprived of her First Amendment rights as a result of the Censorship Scheme and
27
     in particular, has been unconstitutionally burdened by Defendants’ continuing unlawful
28

                                                       21
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 1   censorship and suppression of conservative or “disfavored” viewpoints and what he chooses to
 2   read, see, say or hear in the public square.
 3
            59.       At all times herein mentioned, Plaintiff GREGG BUCHWALTER (“Buchwalter”)
 4
     was and is an individual residing in Los Angeles, California. Buchwalter is a registered
 5
     Republican with conservative viewpoints who considers himself to be a so-called “MAGA
 6

 7   Republican.” As a consequence, Buchwalter was and continues to be deprived of his First

 8   Amendment rights as a result of the Censorship Scheme and in particular, has been

 9   unconstitutionally burdened by Defendants’ continuing unlawful censorship and suppression of
10   conservative or “disfavored” viewpoints and what he chooses to read, see, say or hear in the
11
     public square.
12
            60. Jackson, Briggs and Buchwalter are not only suing Defendants herein in their
13
     individual capacities, but also as members of the “Putative Class” (the “Class”) of all other
14

15   “similarly situated” Plaintiffs, as more particularly described and defined under the heading,

16   “Class Allegations” herein below. (Jackson, Briggs and Buchwalter and the subject “Class” are

17   sometimes collectively referred to herein as “Plaintiffs”).
18
                                                      B.
19
                                               DEFENDANTS
20
        61. At all times herein mentioned, Defendant TWITTER, INC. (“Twitter”) was and is
21
     a Delaware corporation qualified to do business and doing business in the State of California,
22

23   County of Los Angeles. At all times herein mentioned, Twitter was acting under color of law and

24   in particular, engaging in the Censorship Scheme on behalf of the Biden Administration and
25   federal government, as more particularly alleged herein below.
26
        62. GOOGLE, LLC, is a limited liability company qualified to do business and doing
27

28

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 1   business in the State of California, County of Los Angeles. At all times herein mentioned,
 2   Google was acting under color of law and in particular, engaging in the Censorship Scheme on
 3
     behalf of the Biden Administration and federal government, as more particularly alleged herein
 4
     below.
 5
        63. At all times herein mentioned, Defendant META PLATFORMS, INC. was and is
 6

 7   a limited liability company qualified to do business and doing business in the State of California,

 8   County of Los Angeles, doing business as “META” or “FACEBOOK, INC. (hereinafter

 9   “Facebook”). At all times herein mentioned, Facebook was acting under color of law and in
10   particular, engaging in the Censorship Scheme on behalf of the Biden Administration and federal
11
     government, as more particularly alleged herein below..
12
        64. At all times herein mentioned, Defendant ALPHABET, INC. (“Alphabet”) was and is
13
     a Delaware corporation qualified to do business and doing business in the State of California,
14

15   County of Los Angeles, and the corporate parent of Defendant FACEBOOK.

16      65. At all times herein mentioned, Defendant INSTAGRAM, INC. (“Instagram”) was and

17   is a corporation qualified to do business and doing business in the State of California, County of
18
     Los Angeles. At all times herein mentioned, Instagram was acting under color of law and in
19
     particular, engaging in the Censorship Scheme on behalf of the Biden Administration and federal
20
     government, as more particularly alleged herein below..
21
        66. At all times herein mentioned, Defendant AMAZON, INC. (“Amazon”) was and
22

23   is a corporation qualified to do business and doing business in the State of California, County of

24   Los Angeles. At all times herein mentioned, Amazon was acting under color of law and in
25   particular, engaging in the Censorship Scheme on behalf of the Biden Administration and federal
26
     government, as more particularly alleged herein below..
27
        67. Defendant APPLE, INC. (“Apple”) was and is a corporation qualified to do business and
28

                                                     23
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 1   doing business in the State of California, County of Los Angeles. At all times herein mentioned,
 2   Apple was acting under color of law and in particular, engaging in the Censorship Scheme on
 3
     behalf of the Biden Administration and federal government, as more particularly alleged herein
 4
     below.
 5
        68. At all times herein mentioned, Defendant YOU TUBE, INC. (“You Tube”) was and
 6

 7   is a corporation qualified to do business and doing business in the State of California, County of

 8   Los Angeles. At all times herein mentioned, You Tube was acting under color of law and in

 9   particular, engaging in the Censorship Scheme on behalf of the Biden Administration and federal
10   government, as more particularly alleged herein below. (The internet platform providers and
11
     internet retailer platforms identified above in paragraphs 55-62 of this Complaint are sometimes
12
     referred to herein collectively as the “Platform Defendants”)
13
        69. At all times herein mentioned, Defendant AMERICAN FEDERATION OF TEACHERS
14

15   (“AFT”) was and is the second largest teacher’s union in the United States. Beginning in 2020,

16   under the direction, control and management of its President, Randi Weingarten, the AFT

17   contributed over $2 million to the Democratic Party in 2020 alone for the purpose of gaining
18
     access to meetings with the leaders of the CDC, DOJ and FBI to help formulate, direct and
19
     dictate the CDC’s and United States’ public health policy with respect to mask policies, closing
20
     all public schools despite scientific evidence that it was wholly unnecessary and more tragically,
21
     how, when and whether public schools would ever reopen again for teaching kids one on one in
22

23   light of the ongoing “Covid 19 Pandemic.” At all times herein mentioned, AFT was qualified to

24   do business in the State of California and doing business in the County of Los Angeles.
25      70. At all times herein mentioned, Defendant NATIONAL EDUCATION ASSOCIATION
26
27

28

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 1   (“NEA”) was and is an association of teachers responsible for making and directing national
 2   policy for teachers and teacher unions. At all times herein mentioned, NEA was qualified to do
 3
     business in the State of California and doing business in the County of Los Angeles.
 4
     At all times herein mentioned, Defendant NATIONAL SCHOOL BOARD ASSOCIATION
 5
     (“NSBA”) was and is a national policy making and directing association of school boards. At all
 6

 7   times herein mentioned, NSBA was qualified to do business in the State of California and doing

 8   business in the County of Los Angeles.

 9      71. At all times herein mentioned, Defendant DNC SERVICES CORPORATION, doing
10   business as “THE DEMOCRATIC NATIONAL COMMITTEE” (hereinafter the “DNC”) was
11
     and is a corporation qualified to do business and doing business in the State of California County
12
     of Los Angeles.
13
        72. The DNC also coordinates strategy to support Democratic Party candidates throughout
14

15   the United States for local, state, and national office. Toward that end, the DNC organizes the

16   Democratic National Convention that is held every four years to nominate a candidate for

17   President of the United States and to formulate a party platform.
18
        73. In 2020, after a tortuous nomination process that avoided personal campaigning in
19
     favor of remaining at home in his basement den, the DNC nominated former Senator and Baraak
20
     Obama’s Vice President Joseph Biden (“Biden”) as its Democratic candidate for President to run
21
     against incumbent President Donald J. Trump in the November 2020 presidential election. While
22

23   the DNC provides support for party candidates, it does not have direct authority over elected

24   officials. However, the DNC does conduct substantial fundraising to support its activities and in
25   2020 alone, after Biden was nominated, the DNC reported it had raised more than $250 million in
26
     fundraising to support the Democratic Party’s candidate for president against the incumbent,
27
     President Trump.
28

                                                     25
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 1      74. Having received funds by August 2020 that more than doubled the funds that the DNC
 2   raised for the entirety of its 2016 presidential campaign, the DNC and its leaders identified above
 3
     were motivated by money, power and greed to enter into a conspiracy and agreement to
 4
     perpetrate the Censorship Scheme with its traditional allies, including the high-tech, Silicon
 5
     Valley “Platform Defendants” referenced above, the AFT, NEA and NSBA, capitalizing on the
 6

 7   fear and anxiety created by the Covid-19 virus that the CDC and United States government and

 8   other renowned scientists, including Stephen Fauci, M.D. (“Dr. Fauci”), the head of the Center

 9   for Disease Control (“CDC”), knew but concealed from the public had emanated from a
10   laboratory in Wuhan, China as a result of failed “gain of function” experiments authorized by Dr.
11
     Fauci and funded in part by the United States and CDC. The release of the deadly Covid 19 virus
12
     from a laboratory in China, coupled with China’s deliberate concealment of the existence, cause
13
     and highly infectious nature of this deadly new, man-made virus, which would soon cripple the
14

15   World economies and claim the lives of millions of victims world-wide

16      75. Pursuant to their fraudulent, illegal and unlawful Censorship Scheme, Defendants, and

17   each of them, aided, abetted, directed, controlled and coerced by the Biden Administration
18
     commenced a vigorous and calculated campaign to censor and suppress accurate and truthful
19
     information promulgated by any and all conservative-leaning authors, including President Trump,
20
     in violation of the First Amendment and California Unruh Act, as alleged hereinbelow.
21
        76. Pursuant to their fraudulent, illegal and unlawful Censorship Scheme, Defendants illegally
22

23   and unlawfully used their monopolistic power to control virtually all social media and the internet

24   to skew and distort the public narrative by “de-platforming” any individual with facts, political
25   opinions or views that were inconsistent with the Democratic Party’s 2020 Platform. Defendants
26
     also suppressed and stifled and continue to suppress and censor opposing views by promulgating
27
     patently false and misleading information, aided and abetted by Biden Administration operatives.
28

                                                      26
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 1   For example, in addition to “de-platforming” opposing views to ensure that only the Democratic
 2   Party’s Platform and messaging was published on the internet, and in an attempt to manipulate
 3
     the public narrative and with the Biden Administration’s assistance, keeping their collective
 4
     thumbs on the scale of public debate.
 5
        77. Among other things, Defendants asserted (and continue to assert) that:
 6

 7              ◼ There were no “riots” or property damage that occurred during the Summer of

 8                  2020 that were instigated by democratic political organizations known as “Antifa”

 9                  and “Black Lives Matter” in democratic controlled cities such as Minneapolis and
10                  Portland and New York;- just “peaceful protests”;
11
                ◼ There was and is no “crisis” at the wide-open Mexican-United States border
12
                    caused by the Biden Administration’s open border policy, which since October
13
                    2022 has seen over 500,000 illegal migrants enter this Country illegally, at least 10
14

15                  percent of whom have Covid 19 at the time they are released;

16              ◼ Several credible, low-cost therapeutic drugs and medications that have been

17                  available for years that could actually lessen Covid 19 symptoms and cure the
18
                    virus itself. In fact, defendants called such miracle drugs “disinformation” and
19
                    delisted any mention of them. Defendants’ censorship and suppression of such
20
                    critically useful information and the FDA’s subsequent direction to pharmacies
21
                    and doctors that they were not to sell or use such drugs as a result thereof
22

23                  undoubtedly killed thousands of Americans unnecessarily;

24              ◼ Falsely stating that President Trump and his lawyers provided “no evidence” of
25                  election fraud as opposed to truthfully stating that the only Democratic judges
26
                    willing to hear the matter ruled that the litigants had “no standing.” Accordingly,
27
                    the fact of the matter is that such judges, by design and proclamation, heard no
28

                                                      27
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 1                  evidence at all because no evidence was allowed to be presented. As the Arizona
 2                  legislative investigation has revealed, there was rampant fraud in Arizona’s
 3
                    election. Only time will tell whether the other critical “Swing States” also
 4
                    experienced fraud;
 5
                ◼ Masks were unnecessary once you were vaccinated twice;
 6

 7              ◼ Vaccinated persons cannot catch Covid 19;

 8              ◼ Unvaccinated persons had a greater chance of death or hospitalization from Covid

 9                  19, when in fact the vaccinations themselves are killing people at an alarming rate;
10                  and
11
                ◼ Anyone who even suggested that the Platform Defendants, teacher unions, school
12
                    board association and Biden Administration were not colluding or conspiring to
13
                    censor or suppress lawfully protected speech of the Biden Administration’s
14

15                  political opponents was a “conspiracy theorist.”

16      78. Defendants perpetrated and continue to perpetrate their Censorship Scheme in part by “de-

17   platforming,” cancelling or removing from their respective internet sites any possibility of posting
18
     messages on social media sites – which are all controlled by the Platform Defendants - or denying
19
     authors and publishers the right to distribute and publish and sell their publications on the internet
20
     retailer platforms. The duration of the exile depends on the “seriousness” of the alleged
21
     “disinformation” or “misinformation’ allegedly communicated – always looked at through the
22

23   prism of what message the Democratic Party are seeking to convey, effectively silencing any

24   political opposition to the Democratic Party Platform, while hiding behind alleged immunities
25   given to them years ago by a Congress that never intended such a tortured result.
26
        79. Pursuant to and in furtherance of this fraudulent and unlawful Censorship Scheme, the
27

28

                                                      28
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 1   Platform Defendants -- aided and abetted by Defendant DNC and its political operatives,
 2   intentionally and deliberately discriminated against Plaintiffs and the Class in violation of the
 3
     California Unruh Act (Civil Code section 51) by arbitrarily suppressing, preventing and denying
 4
     Plaintiffs access to any legitimate, genuine, newsworthy stories, articles or reports that favored
 5
     President Trump, or featured or spoke about President Trump’s undeniable accomplishments that
 6

 7   occurred and continue to occur during his first term in office, or alternatively, report any stories

 8   or articles that were and are detrimental or potentially detrimental to the Democratic nominee

 9   (Biden), such as the recent New York Post article that was unfavorable to Biden and his son,
10   Hunter Biden. Simply stated, defendants, and each of them, deliberately and intentionally took
11
     away any semblance of a level playing field by creating a situation far worse than any stunt that
12
     “Pravda” pulled during the Soviet Union’s rise and fall.
13
        80. At all times herein mentioned defendants, and each of them, caused irreparable harm
14

15   to the public at large because the unlevel playing field created by Defendants’ discriminatory

16   conduct takes away the public’s freedom of choice, not to mention the stigma caused by

17   Defendants’ discriminatory acts and being given one side of the story. In either case, the deck has
18
     been “stacked” against President Trump, Biden’s chief political rival, days before what all pundits
19
     ever concluded will be the most important election of our time by virtue of the discriminatory acts
20
     taken by defendants, and each of them.
21
                                  DOE AND AGENCY ALLEGATIONS
22

23      81. The true names and capacities of the defendants named herein as doesh 40,

24   inclusive,” are presently unknown to Plaintiffs. Plaintiffs will amend this FAC to insert their true
25   identities as soon as they are ascertained.
26
        82. At all times herein mentioned, each defendant was the agent of the other defendants
27
     and in doing the wrongful acts complained of herein was acting within the scope of such agency.
28

                                                      29
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 1                                  CLASS ACTION ALLEGATIONS
 2      83. Plaintiffs brings this action on its own behalf and on behalf of all persons
 3
     similarly situated (the “Putative Class”). Such a representation is necessary and appropriate in
 4
     order to prevent any further disparate and discriminatory treatment and any future widespread
 5
     wrongdoing by Defendants, remedy Defendants’ past and ongoing pattern and practice of
 6

 7   unlawful, unfair and discriminatory practices that have caused, and will continue to cause,

 8   economic and other irreparable harm and injury in fact to Plaintiffs and the Putative Class –

 9   registered Republicans in the State of California and other states and described by President
10   Biden as “MAGA Republicans,” whom President Biden warned in an October 2022 address to
11
     the Nation are a “threat to democracy” [or more accurately stated, a threat to continued one-party
12
     (Democratic Party) rule. Such a representation is also necessary and appropriate to obtain an
13
     effective nationwide Court order that will be binding on all Defendants and Plaintiffs.
14

15      84. This action is brought and may be properly maintained as a class action pursuant

16   to the provisions of Federal Rule of Civil Procedure 23.

17      85. The “Putative” Class (the “Class”) is comprised of more than 72 million United States
18
     citizens who voted for former President Donald J. Trump on November 3, 2022 – a class of the
19
     Democratic Party’s political enemies which current President Joseph Biden, Jr. has and continues
20
     to falsely call out as dangerous, anti-American “MAGA Republicans” because the Class does not
21
     agree with the direction of the United States of America or its leadership. In particular, the Class
22

23   has attempted to challenge the Democratic Party’s and Biden Administration’s myopic vision for

24   America, propaganda, policy positions, opinions and lies that one-party Democratic rule has
25   fostered and instead seeks to communicate and speak about opinions, policy positions and views
26
     that are different than the narrative created by traditional Democratic stalwarts and cronies,
27
     including the defendants herein and mainstream media, who are seeking to silence their political
28

                                                      30
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 1   enemies through the Censorship Scheme alleged herein. The Putative Class can be defined as
 2   follows:
 3
                     More than 72 million registered Republicans nationwide – referred to by
 4
                    President Biden and some unenlightened Democrats as “MAGA Republicans” -
 5
                    who voted for someone other than President Biden and suffered and will
 6

 7                  continue to suffer irreparable harm by the Censorship Scheme alleged herein

 8                  and in particular, the Defendants’ and Biden Administration’s past and current

 9                  suppression and censorship of the opinions and viewpoints of conservative-
10                  leaning speakers and/or MAGA Republicans who choose to dispute, disagree or
11
                    challenge Democratic Party policies, dogma and propaganda.
12
         86. The members of the class are so numerous that joinder of all members is impracticable.
13
         87. While the exact number of class members is unknown to Plaintiffs at this time and can
14

15   only be ascertained through discovery, Plaintiffs are informed and believe that there are more

16   than 72 million members of the proposed class.

17       88. here is a well-defined community of interest among the members of the proposed
18
     class.
19
         89. Plaintiffs, like all other members of the class, were and are treated by Defendants
20
     and each of them, disparately, in a discriminatory fashion, in violation of 42 U.S.C Section 1983,
21
     the Civil Rights Act of 1964 and the California Unruh Act (California Civil Code section 51).
22

23   Moreover, the factual bases of Defendants’ actions and misconduct, as alleged herein, are

24   common to all members of the class and represent a common practice of wrongful conduct
25   resulting in disparate and discriminatory treatment and harm to all members of the proposed class.
26
         90. There are numerous questions of law and fact common to Plaintiffs and the members of
27

28

                                                      31
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 1   the class and those questions predominate over any questions that may affect individual members
 2   of the class, including whether Defendants, and each of them, entered into a secret, unlawful and
 3
     illegal Censorship Scheme with the federal government to deny the class and is members them
 4
     access to genuine, newsworthy, facts, publications and communications that favored candidate
 5
     other than the candidate of the Democratic Party.
 6

 7       91. Plaintiffs’ claims are typical to the claims of the other members of the class.

 8       92. All the members of the class have sustained economic damage arising out of the

 9   common course of conduct alleged herein, as well as irreparable harm that can only be remedied
10   by injunctive relief.
11
         93. Plaintiffs will fairly and adequately represent and protect the interests of the class.
12
         94. Plaintiffs have retained counsel with substantial experience in prosecuting class
13
     actions, discriminatory practices and related claims. Plaintiffs and their counsel are committed to
14

15   vigorously prosecuting this action on behalf of the class and have the financial resources

16   necessary to do so. Neither Plaintiffs nor its counsel has any interest adverse to those of the class.

17       95. A class action is superior to other available methods for the fair and efficient
18
     Adjudication of this controversy since individual joinder of all members of the class is
19
     impracticable. Further, individualized litigation would present the potential for inconsistent or
20
     contradictory judgments and would magnify the delay and expense to all parties and the court
21
     system in multiple trials of identical factual issues. By contrast, the conduct of this action as a
22

23   class action presents fewer management difficulties, conserves the resources of the parties and the

24   court system and protects the rights of each class member.
25

26
27

28

                                                       32
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 1                           DOCUMENTARY AND OTHER EVIDENCE
 2              JUSTIFYING THE ISSUANCE OF A NATIONWIDE INJUNCTION1
 3
        96. Dr. Jayanta Bhattacharya is a former Professor of Medicine and current Professor of
 4
     Health Policy at Stanford University School of Medicine and a research associate at the National
 5
     Bureau of Economic Research. He is also Director of Stanford's Center for Demography and
 6

 7   Economics of Health and Aging. He holds an M.D. and Ph.D. from Stanford University. He has

 8   published 161 scholarly articles in peer-reviewed journals in the fields of medicine, economics,

 9   health policy, epidemiology, statistics, law, and public health, among others. His research has
10   been cited in the peer-reviewed scientific literature more than 13,000 times. He was one of the
11
     coauthors of the Great Barrington Declaration, a statement criticizing government-mandated
12
     COVID restrictions, which was co-signed by over 930,000 people, including over 62,000
13
     scientists and healthcare professionals. Dr. Bhattacharya and his audiences have experienced
14

15   significant censorship and suppression of his speech on social-media caused by Defendants.

16      97. Dr. Martin Kulldorff is an epidemiologist, a biostatistician and a former Professor of

17   Medicine at Harvard University and Brigham and Women's Hospital, from 2015 to November
18
     2021. Before that, he was Professor of Population Medicine at Harvard University from 2011 to
19
     2015. He holds a Ph.D. from Cornell University. He has published over 200 scholarly articles in
20
     peer-reviewed journals in the fields of public health, epidemiology, biostatistics and medicine,
21
     among others. His research has been cited in the peer-reviewed scientific literature more than
22

23   25,000 times. He was one of the co-authors of the Great Barrington Declaration, a statement

24   criticizing government-mandated COVID restrictions, which was co-signed by over 930,000
25   people, including over 62,000 scientists and healthcare professionals. Dr. Kulldorff and his
26
27          1       These facts are culled from the Second Amended Complaint filed in the AG
     Lawsuit and are incorporated into this Complaint by reference as though fully set forth at
28   length herein.

                                                     33
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 1   audiences have experienced significant censorship and suppression of his speech on social-media
 2   caused by Defendants.
 3
        98. Dr. Aaron Kheriaty earned his M.D. from Georgetown University, and completed
 4
     residency training in psychiatry at the University of California Irvine. For many years, he was a
 5
     Professor of Psychiatry at UCI School of Medicine and the Director of the Medical Ethics
 6

 7   Program at UCI Health, where he chaired the ethics committee. He also chaired the ethics

 8   committee at the California Department of State Hospitals for several years. He is now a Fellow

 9   at the Ethics & Public Policy Center in Washington, DC, where he directs the program on
10   Bioethics and American Democracy. He has authored numerous books and articles for
11
     professional and lay audiences on bioethics, social science, psychiatry, religion, and culture. His
12
     work has been published in the Wall Street Journal, the Washington Post, Arc Digital, The New
13
     Atlantis, Public Discourse, City Journal, and First Things. He has conducted print, radio, and
14

15   television interviews on bioethics topics with The New York Times, the Los Angeles Times,

16   CNN, Fox News, and NPR. He maintains social-media accounts, including the Twitter account

17   @akheriaty, which has over 158,000 followers. Dr. Kheriaty and his audiences have experienced
18
     significant censorship and suppression of his speech on social-media caused by Defendants,
19
        99. Jim Hoft is the founder, owner, and operator of the popular news website The Gateway
20
     Pundit. He resides in St. Louis, Missouri. The Gateway Pundit is one of the most popular
21
     conservative news sites in the country, with over 2.5 million web searches per day. Mr. Hoft
22

23   maintains and operates The Gateway Pundit's social-media accounts, including a Facebook

24   account with over 650,000 followers, an Instagram account with over 205,000 followers, and
25   (until its recent permanent suspension) a Twitter account with over 400,000 followers. Mr. Hoft
26
     and his audiences have experienced extensive government-induced censorship on social-media
27
     platforms, including of his speech on COVID-19 issues and election security issues.
28

                                                      34
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 1      100.        Jill Hines is a resident of Louisiana. She is the Co-Director of Health Freedom
 2   Louisiana, a consumer and human rights advocacy organization. She also launched, in 2020, a
 3
     grassroots effort called Reopen Louisiana. She maintains social-media accounts for both Health
 4
     Freedom Louisiana and Reopen Louisiana with approximately 13,000 followers. Ms. Hines and
 5
     her audiences have experienced extensive government-induced censorship of her speech on social
 6

 7   media, including her speech related to COVID-19 restrictions.

 8      101.        The U.S. Department of Justice ("DOJ") is a Cabinet-level agency within the

 9   Government of the United States.
10      102.        The Federal Bureau of Investigation ("FBI") is an investigative agency of the
11
     federal Government within the U.S. Department of Justice. The Foreign Influence Task Force
12
     ("FITF") is a task force within the FBI that purportedly investigates and/or addresses foreign
13
     influences within the United States. The FTIF's website states: "The FBI is the lead federal
14

15   agency responsible for investigating foreign influence operations. In the fall of 2017, Director

16   Christopher Wray established the Foreign Influence Task Force (FITF) to identify and counteract

17   malign foreign influence operations targeting the United States."
18
     https://www.fbi.gov/investigate/counterintelligence/foreign-influence.
19
        103.        Elvis M. Chan is Supervisory Special Agent of Squad CY-1 in the San Francisco
20
     Division of the FBI. On information and belief, he has authority over cybersecurity issues for FBI
21
     in that geographical region, which includes the headquarters of major social-media platforms, and
22

23   he plays a critical role for FBI and FITF in coordinating with social-media platforms relating to

24   censorship and suppression of speech on their platforms.
25      104.        The U.S. State Department operates a "Global Engagement Center" within the
26
     State Department that conducts counter-"disinformation" activities. According to the State
27
     Department's website, the Global Engagement Center's mission is "[t]o direct, lead, synchronize,
28

                                                     35
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 1   integrate, and coordinate efforts of the Federal Government to recognize, understand, expose, and
 2   counter foreign state and non-state propaganda and disinformation efforts aimed at undermining
 3
     or influencing the policies, security, or stability of the United States, its allies, and partner
 4
     nations." As alleged further herein, the Global Engagement Center is involved in procuring the
 5
     censorship of private speech on social media, including of U.S. citizens. The State Department
 6

 7   also maintains an Office of Cyber Coordinator, a.k.a. Office of the Coordinator for Cyber Issues,

 8   that has, on information and belief, also been involved in federal social-media censorship

 9   activities.
10       105.        The U.S. Department of the Treasury ("Treasury") is a Cabinet-level agency
11
     within the Government of the United States.
12
         106.        The U.S. Election Assistance Commission ("EAC") is an independent agency
13
     within the Government of the United States. According to its website, the EAC "was established
14

15   by the Help America Vote Act of 2002 (HAVA). The EAC is an independent, bipartisan

16   commission charged with developing guidance to meet HAVA requirements, adopting voluntary

17   voting system guidelines, and serving as a national clearinghouse of information on election
18
     administration."
19
                                        . GENERAL ALLEGATIONS
20
                        A. Freedom Of Speech Is the Bedrock of American Liberty.
21
             107.    The First Amendment of the U.S. Constitution states that "Congress shall make no
22

23   law ... abridging the freedom of speech, or of the press..." U.S. CONST. amend. I.

24           108.    The State of California and all other State Constitutions likewise protect the
25   freedom of speech as a fundamental right of the first order.
26
27

28

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 1          109.    The freedom of speech and expression guaranteed by the First Amendment is one
 2   of the greatest bulwarks of liberty. These rights are fundamental and must be protected against
 3
     government interference.
 4
                                    1. Government Officials Lack Authority To
 5
                             Censor Or Suppress Disfavored Speakers and Viewpoints.
 6

 7          110. If the President or Congress enacted a law or issued an order requiring the

 8   suppression of certain disfavored viewpoints or speakers on social media, or directing social

 9   media to demonetize, shadow-ban, or expel certain disfavored speakers, such a law or order
10   would be manifestly unconstitutional under the First Amendment.
11
            111.    “If there is any fixed star in our constitutional constellation, it is that no official,
12
     high or petty, can prescribe what shall be orthodox in politics, nationalism, religion, or other
13
     matters of opinion." W. Va. State Bd. of Educ. v. Barnette, 319 U.S. 624, 642 (1943). 99. "[T]he
14

15   First Amendment means that government has no power- to restrict expression because of its

16   message, its ideas, its subject matter, or its content." Ashcroft v. ACLU, 535 U.S. 564, 573 (2002)

17   (quotations omitted).
18
            112.    "In light of the substantial and expansive threats to free expression posed by
19
     content-based restrictions," the Supreme "Court has rejected as `startling and dangerous' a `free-
20
     floating test for First Amendment coverage ... [based on] an ad hoc balancing of relative social
21
     costs and benefits." United States v. Alvarez, 567 U.S. 709, 717 (2012) (plurality op.) (quoting
22

23   United States v. Stevens, 559 U.S. 460, 470 (2010)

24                               2. Merely Labeling Speech "Misinformation" Or
25                   "Disinformation" Does Not Strip Away First Amendment Protections
26
27

28

                                                        37
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 1          113.    Labeling disfavored speech "misinformation" or "disinformation" does not strip it
 2   of First Amendment protection. "Absent from those few categories where the law allows content-
 3
     based regulation of speech is any general exception to the First Amendment for false statements.
 4
     This comports with the common understanding that some false statements are inevitable if there
 5
     is to be an open and vigorous expression of views in public and private conversation, expression
 6

 7   the First Amendment seeks to guarantee." Id. at 718.

 8          114. The Supreme Court has thus rejected the argument "that false statements, as a general

 9   rule, are beyond constitutional protection." Id.
10          115. "Permitting the government to decree this speech to be a criminal offense, whether
11
     shouted from the rooftops or made in a barely audible whisper, would endorse government
12
     authority to compile a list of subjects about which false statements are punishable. That
13
     governmental power has no clear limiting principle. Our constitutional tradition stands against the
14

15   idea that we need Oceania's Ministry of Truth." Id. at 723 (citing G. ORWELL, NINETEEN

16   EIGHTY— FOUR (1949) (Centennial ed. 2003)).

17          116. "Were the Court to hold that the interest in truthful discourse alone is sufficient to
18
     sustain a ban on speech ... it would give government a broad censorial power unprecedented in
19
     this Court's cases or in our constitutional tradition. The mere potential for the exercise of that
20
     power casts a chill, a chill the First Amendment cannot permit if free speech, thought, and
21
     discourse are to remain a foundation of our freedom." Id. at 723.
22

23                                  3. Counter-Speech, Not Censorship, Is The

24                               Proper Response To Supposed “Misinformation”
25          117. When the Government believes that speech is false and harmful, "counter-speech,"
26
     not censorship, must "suffice to achieve its interest." Id. at 726. The First Amendment presumes
27
     that "the dynamics of free speech, of counter-speech, of refutation, can overcome the lie." Id.
28

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 1           118. "The remedy for speech that is false is speech that is true. This is the ordinary course
 2   in a free society. The response to the unreasoned is the rational; to the uninformed, the
 3
     enlightened; to the straightout lie, the simple truth." Id. at 727.
 4
             119. "The theory of our Constitution is `that the best test of truth is the power of the
 5
     thought to get itself accepted in the competition of the market." Id. at 728 (quoting Abrams v.
 6

 7   United States, 250 U.S. 616, 630 (1919) (Holmes, J., dissenting)).

 8           120. "The First Amendment itself ensures the right to respond to speech we do not like,

 9   and for good reason. Freedom of speech and thought flows not from the beneficence of the state
10   but from the inalienable rights of the person. And suppression of speech by the government can
11
     make exposure of falsity more difficult, not less so. Society has the right and civic duty to engage
12
     in open, dynamic, rational discourse. These ends are not well served when the government seeks
13
     to orchestrate public discussion through content-based mandates." Id. at 728.
14

15             4. Americans Have A First Amendment Right To Be Exposed To A Free Flow Of

16            Speech, Viewpoints And Content, Free From Censorship By Government Officials.

17           121. The First Amendment also protects the right to receive others' thoughts, messages,
18
     and viewpoints freely, in a free flow of public discourse. "[W]here a speaker exists ..., the
19
     protection afforded is to the communication, to its source and to its recipients both." Va. State Bd.
20
     of Pharmacy v. Va. Citizens Consumer Council, 425 U.S. 748, 756 (1976).
21
             122. The right to receive information is "an inherent corollary of the rights to free speech
22

23   and press that are explicitly, guaranteed by the Constitution," because "the right to receive ideas

24   follows ineluctably from the sender's First Amendment right to send them." Bd. of Educ., Island
25   Trees Union Free Sch. Dist. No. 26 v. Pico, 457 U.S. 853, 867 (1982). "The dissemination of
26
     ideas can accomplish nothing if otherwise willing addressees are not free to receive and consider
27

28

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 1   them. It would be a barren marketplace of ideas that had only sellers and no buyers." Lamont v.
 2   Postmaster Gen., 381 U.S. 301, 308 (1965) (Brennan, J., concurring).
 3
            123. "A fundamental principle of the First Amendment is that all persons have access to
 4
     places where they can speak and listen, and then, after reflection, speak and listen once more."
 5
     Packingham v. North Carolina, 137 S. Ct. 1730, 1735 (2017).
 6

 7          124. "[A]ssuring that the public has access to a multiplicity of information sources is a

 8   governmental purpose of the highest order, for it promotes values central to the First

 9   Amendment." Turner Broadcasting Sys., Inc. v. FCC, 512 U.S. 622, 663 (1994). Indeed, "the
10   widest possible dissemination of information from diverse and antagonistic sources is essential to
11
     the welfare of the public." United States v. Midwest Video Corp., 406 U.S. 649, 668 n.27 (1972)
12
     (plurality op.) (quotations omitted).
13
              5. Government Officials May Not Circumvent The First Amendment By Inducing,
14

15       Threatening, And/Or Colluding With Private Entities To Suppress Protected Speech

16          125. It is "axiomatic" that the government may not "induce, encourage, or promote private

17   persons to accomplish what it is constitutionally forbidden to accomplish." Norwood v. Harrison,
18
     413 U.S. 455, 465 (1973) (quotations omitted).
19
            126. A private entity violates the First Amendment "if the government coerces or induces
20
     it to take action the government itself would not be permitted to do, such as censor expression of
21
     a lawful viewpoint." Knight First Amendment Institute, 141 S. Ct. at 1226 (Thomas, J.,
22

23   concurring). "The government cannot accomplish through threats of adverse government action

24   what the Constitution prohibits it from doing directly." Id.
25          127. Threats of adverse regulatory or legislative action, to induce private actors to censor
26
     third parties' speech, violate the First Amendment. See Hammerhead Enters. v. Brezenoff, 707
27
     F.2d 33, 39 (2d Cir. 1983) ("Where comments of a government official can reasonably be
28

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 1   interpreted as intimating that some form of punishment or adverse regulatory action will follow
 2   the failure to accede to the official's request, a valid claim can be stated."); see also Bantam Books
 3
     v. Sullivan, 372 U.S. 58, 68 (1963) (holding that a veiled threat of prosecution to pressure a
 4
     private bookseller to stop selling disfavored books could violate the First Amendment).
 5
            128. The unprecedented control over private speech exercised by social-media companies
 6

 7   gives government officials an unprecedented opportunity to circumvent the First Amendment and

 8   achieve indirect censorship of private speech. "By virtue of its ownership of the essential

 9   pathway," a social media platform "can . . . silence the voice of competing speakers with a mere
10   flick of the switch." Turner, 512 U.S. at 656; see also Knight First Amendment Inst., 141 S. Ct. at
11
     1224 (Thomas, J., concurring). "The potential for abuse of this private power over a central
12
     avenue of communication cannot be overlooked." Turner, 512 U.S. at 656.
13
                                       B. The Dominance of Social Media As
14

15                              A Forum For Public Information And Discourse.

16          123. Social media has become, in many ways, "the modern public square." Packingham v.

17   North Carolina, 137 S. Ct. 1730, 1737 (2017). Social media platforms provide "perhaps the most
18
     powerful mechanisms available to a private citizen to make his or her voice heard." Id. 118.
19
     "Today's digital platforms provide avenues for historically unprecedented amounts of speech,
20
     including speech by government actors. Also unprecedented, however, is the concentrated control
21
     of so much speech in the hands of a few private parties." Knight First Amendment Institute, 141
22

23   S. Ct. at 1221. 119. The "concentration" of power in social media companies "gives some digital

24   platforms enormous control over speech." Id. at 1224. Defendants have not hesitated to exploit
25   this power.
26
27

28

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 1          123.1 For example, on information and belief, Facebook has close to 3 billion registered
 2   users worldwide and over 124 million users in the United States, including millions of
 3
     Californians and millions of citizens of other States.
 4
            124. On information and belief, Twitter has more than 340 million users worldwide,
 5
     including approximately 70 million users in the United States. Approximately 500 million tweets
 6

 7   are posted on Twitter every day, and they are accessible to non-Twitter users on the internet.

 8   Moreover, Twitter users include large numbers of politicians, journalists, public figures, and

 9   others with a disproportionately large impact on public discourse in other forums, so Twitter's
10   impact on public discourse is even larger than its numbers alone reflect.
11
            125. On information and belief, YouTube has more than 4 billion hours of video views
12
     every month. Videos on YouTube channels are visible to both YouTube users and to the general
13
     public on the internet. An estimated 500 hours of video content are uploaded to YouTube every
14

15   minute.

16          126. YouTube is extremely popular among politicians and public figures in reaching their

17   audiences. On information and belief, in 2020, approximately 92 percent of U.S. Senators and 86
18
     percent of U.S. Representatives uploaded content on YouTube.
19
            127. According to a recent Pew Research study, 66 percent of U.S. adults use Facebook,
20
     and 31 percent of U.S. adults say they get news regularly on Facebook. Walker et al., News
21
     Consumption Across Social Media in 2021, PEW RESEARCH CENTER (Sept. 20, 2021), at
22

23   https://www.pewresearch.org/journalisml202 1/09/20/news-consumption-across-social-media-

24   in2021 /.
25             128. According to the same study, 72 percent of U.S. adults say that they use YouTube,
26
     and 22 percent of U.S. adults say that they regularly get news on YouTube. Id.
27

28

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 1          129. According to the same study, 23 percent of U.S. adults say that they use Twitter, and
 2   13 percent of U.S. adults say they regularly get news on Twitter. Id. This comprises 55 percent of
 3
     Twitter users. Id.
 4
            130. According to the same study, 41 percent of U.S. adults say that they use Instagram,
 5
     and 11 percent of U.S. adults say they regularly get news on Instagram. Id. 128. The free flow of
 6

 7   information and expression on social media directly affects nonusers of social media as well.

 8   Social-media users who are exposed to information, ideas, and expression through social media

 9   communicate the same information, ideas, and expression with non-social-media users. News,
10   information, messages, narratives, and storylines that originate on social media are frequently
11
     replicated in other forums, such as television, print media, and private discourse. Further, much
12
     content posted on social-media is directly available to non-social-media users. For example, posts
13
     on Twitter are directly accessible on the internet to non-Twitter-users, and content on YouTube is
14

15   available to the general public on the internet as well.

16          131. In the aggregate, these numbers of Americans who (1) use social-media platforms,

17   and (2) regularly use social-media platforms to obtain news and information about matters of
18
     public interest, comprise hundreds of millions of Americans, including millions of Caliofornians,
19
     and very substantial segments of the populations of every other State.
20
            132. There are also many ways for social-media companies to censor or suppress speech
21
     on social-media platforms. Some of these methods are immediately known to the speaker and/or
22

23   his or her audience, and some are not visible to them. Censorship, therefore, can occur without

24   the knowledge of the speaker and/or his or her audience. These methods include, but are not
25   limited to, terminating speakers' accounts, suspending accounts, imposing warnings or strikes
26
     against accounts to chill future disfavored speech, "shadow banning" speakers, demonetizing
27
     content, adjusting algorithms to suppress or de-emphasize speakers or messages, promoting or
28

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 1   demoting content, placing warning labels on content, suppressing content in other users' feeds,
 2   promoting negative comments on disfavored content, and requiring additional click-through(s) to
 3
     access content, among many others. Many methods, moreover, have a chilling effect on social
 4
     media speech, as the threat of censorship (such as suspension, demonetization, or banning) drives
 5
     speakers to self-censor to avoid making statements that might be deemed to violate the social
 6

 7   media companies' vague, ever-changing, often-hidden, and inconsistently enforced standards for

 8   censoring and suppressing speech. Collectively herein, all these methods of suppressing and/or

 9   censoring speech on social media are called "censorship" and/or "suppression" of social-media
10   speech.
11
               133. The censorship and suppression of free speech on social media functions in most
12
     cases as a prior restraint on speech, both through its direct effect and its chilling effects. A prior
13
     restraint is the most severe form of restriction on freedom of expression.
14

15              C. Public And Private Attempts To Police "Misinformation" Or "Disinformation"

16                          On Social Media Have Proven Embarrassingly Inaccurate.

17             134. Yesterday's "misinformation" often becomes today's viable theory and tomorrow's
18
     established fact. "Even where there is a wide scholarly consensus concerning a particular matter,
19
     the truth is served by allowing that consensus to be challenged without fear of reprisal. Today's
20
     accepted wisdom sometimes turns out to be mistaken." Alvarez, at 752 (Auto, J., dissenting)
21
     (emphasis added). This prediction has proven true, again and again, when it comes to suppressing
22

23   "misinformation" and "disinformation" on social media.

24                                       1. The Hunter Biden Laptop Story
25             . 135. Perhaps most notoriously, social-media platforms aggressively censored an October
26
     14, 2020 New York Post expose about the contents of the laptop of (then-Candidate Biden's son)
27
     Hunter Biden, which had been abandoned in a Delaware repair shop and contained compromising
28

                                                        44
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 1   photos and email communications about corrupt foreign business deals. As the New York Post
 2   reported at the time, "[b]oth Twitter and Facebook took extraordinary censorship measures
 3
     against The Post on Wednesday over its exposes about Hunter Biden's emails ... The Post's
 4
     primary Twitter account was locked as of 2:20 p.m. Wednesday because its articles about the
 5
     messages obtained from Biden's laptop broke the social network's rules against `distribution of
 6

 7   hacked material,' according to an email The Post received from Twitter," even though there were

 8   "zero claims that [Hunter Biden's] computer had been hacked." Twitter, Facebook censor Post

 9   over Hunter Biden expose, N.Y. POST (Oct. 14, 2020), at
10   ttps://nypost.com/2020/10/14/facebook-twitter-block-the-post-from-posting/.
11
            136. "Twitter also blocked users from sharing the link to The Post article indicating that
12
     Hunter Biden introduced Joe Biden to the Ukrainian businessman, calling the link `potentially
13
     harmful." Id.
14

15          137. As the Wall Street Journal Editorial Board reported, "nearly all of the media at the

16   time ignored the story or `fact-checked' it as false. This ... was all the more egregious given other

17   evidence supporting the Post's scoop. Neither Hunter Biden nor the Biden campaign denied that
18
     the laptop was Hunter's. And Hunter's former business partner, Tony Bobulinski, went public
19
     with documents backing up some of the laptop's contents." Editorial Board, Hunter Biden 's
20
     Laptop Is Finally News Fit to Print, WALL ST. J. (March 18, 2022).
21
            138. Biden, his allies, and those acting in concert with them falsely attacked the Hunter
22

23   Biden laptop story as "disinformation." Id. Fifty "intelligence officials—headlined by former

24   Obama spooks James Clapper and John Brennan—circulated a statement peddling the Russian
25   `disinformation' line—even as they admitted they had no evidence. Th[e] result was a blackout of
26
     the Hunter news, except in a few places...." Id. Parroting the Biden campaign's false line, both
27

28

                                                      45
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 1   social media platforms and major news organizations treated the story as "disinformation" and
 2   aggressively censored it.
 3
            139. In early 2022—over a year and a half later—major news organizations finally
 4
     admitted that the Hunter Biden laptop story was truthful and rested on reliable sourcing and
 5
     information. Id. The Washington Post and the New York Times quietly acknowledged the truth
 6

 7   and reliability of the story "17 months" later, in mid-March 2022. Id.

 8          140. Free-speech advocate Glenn Reynolds aptly described this embarrassing episode as

 9   one that permanently damaged the credibility and reputation for fairness of social-media
10   platforms and major media outlets: "Twitter and other tech giants banned The Post's reporting,
11
     since admitted to be accurate, on Hunter Biden's laptop and the damaging information it
12
     contained. Many social-media giants banned any links to the story, and Twitter even went so far
13
     as to stop its users from sharing the story one-on-one through direct messages. (CEO Jack Dorsey
14

15   later admitted that was a `total mistake.') Their purpose was to affect the election's outcome in

16   favor of the Democrats, and they probably did." Glenn H. Reynolds, `Censorship is free speech' is

17   the establishment's Orwellian line on Elon Musk's Twitter crusade, N.Y. POST (Apr. 15, 2022),
18
     https://nypost.com/2022/04/ 14/the-establishments-orwellian-line-on-elon-musks-twittercrusade/.
19
            2. Speech About The Lab-Leak Theory Of COVID-19's Origins.
20
            141. Likewise, beginning in February 2020, social-media platforms censored speech
21
     advocating for the lab-leak theory of the origins of SARS-CoV-2, the virus that causes COVID19.
22

23   The lab-leak theory postulates that the virus did not originate naturally in bats or other animals,

24   but leaked from a biotech laboratory in Wuhan, China, operated by the Wuhan Institute of
25   Virology.
26
             142. On information and belief, Defendant Dr. Anthony Fauci, a senior federal
27
     government official, coordinating with others, orchestrated a campaign to discredit the lab-leak
28

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 1   hypothesis in early 2020. As director of NIAID, Dr. Fauci had funded risky "gain-of-function"
 2   research at the Wuhan Institute of Virology through intermediaries such as Eco Health Alliance,
 3
     headed by Dr. Peter Daszak. Thus, if the lab-leak theory were established, Dr. Fauci and Dr.
 4
     Daszak could be potentially implicated in funding the research on viruses that caused the
 5
     COVID19 pandemic and killed millions of people worldwide.
 6

 7          143. During the same time frame as he was orchestrating a campaign to falsely discredit

 8   the lab-leak theory, Dr. Fauci was exchanging emails with Mark Zuckerberg, the CEO of

 9   Facebook, regarding public messaging and the dissemination of COVID-19 information on social
10   media. On information and belief, Dr. Fauci coordinated directly with Facebook and/or other
11
     social-media firms to suppress disfavored speakers and content of speech on social media.
12
            144. Not surprisingly, social-media platforms like Facebook promptly accepted Dr.
13
     Fauci's initiative to discredit the lab-leak theory, and they engaged in an aggressive campaign to
14

15   censor speech advocating for the lab-leak theory on social media on the ground that it was

16   supposedly disinformation. Facebook "expand[ed] its content moderation on Covid-19 to include

17   `false' and `debunked' claims such as that `COVID-19 is man-made or manufactured." Editorial
18
     Board, Facebook's Lab-Leak About-Face, WALL ST. J. (May 27, 2021),
19
     https://www.wsj.com/articles/facebooks-lab-leak-about-face-11622154198. This included
20
     suppressing speech by highly credentialed and well-respected writers, such as "science journalist
21
     Nicholas Wade," id., and scientist Alina Chan. Other social-media platforms likewise censored
22

23   speech advocating for the lab-leak hypothesis.

24          145. By 2021, however, "the circumstantial evidence" favoring the lab-leak theory "finally
25   permeated the insular world of progressive public health," id., and Fauci and other Biden
26
     Administration officials were forced to admit the theory's inherent plausibility. After a long
27

28

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 1   period of censorship, in May 2021, Facebook and other platforms announced that they would no
 2   longer censor social-media speech advocating for the lab-leak theory.
 3
            146. The Wall Street Journal noted the close link between government and social-media
 4
     platforms in censoring this speech: "Facebook acted in lockstep with the government," indicating
 5
     that "[w]hile a political or scientific claim is disfavored by government authorities, Facebook will
 6

 7   limit its reach. When government reduces its hostility toward an idea, so will Facebook." Id.

 8   "Free speech protects the right to challenge government. But instead of acting as private actors

 9   with their own speech rights, the companies are mandating conformity with existing government
10   views." Id.
11
            147. There had long been credible—even compelling—evidence of the plausibility of the
12
     lab-leak theory, long before social-media companies stopped censoring it. See, e.g., House
13
     Foreign Affairs Committee Minority Staff Report, The Origins of COVID-19: An Investigation of
14

15   the Wuhan Institute of Virology (Aug. 2021), https://gop-

16   foreignaffairs.house.gov/wpcontent/uploads/2021/08/ORIGINS-OF-COVID-I9-REPORT.pdf

17   (detailing evidence available long before censorship lifted); Nicholas Wade, The origin of
18
     COVID: Did people or nature open Pandora's box at Wuhan?, BULL. ATOMIC SCIENTISTS
19
     (May 5, 2021), https://thebulletin.org/2021 /05/the-origin-of-covid-did-people-or-nature-open-
20
     pandoras-box-atwuhan/; ALINA CHAN, VIRAL: THE SEARCH FOR THE ORIGIN OF
21
     COVID-19 (Sept. 3, 2021).
22

23          148. Facebook's decision to stop censoring the lab-leak theory did not come until "after

24   almost every major media outlet, and ... even the British and American security services, finally
25   confirmed that it is a feasible possibility." Freddie Sayers, How Facebook censored the lab leak
26
     theory, UNHERD (May 31, 2021), https://unherd.com/2021/05/how-facebook-censored-the-
27

28

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 1   lableak-theory/. Facebook admitted that its decision to end censorship was made "in consultation
 2   with" government officials, i.e., "public health experts." Id.
 3
            149. The reach of Facebook's censorship alone (to say nothing of other platforms that
 4
     censored the lab-leak theory) was enormous. Facebook "displayed `warnings" on such supposed
 5
     COVID-19-related misinformation, and claimed that "[w]hen people saw those warning labels,
 6

 7   95% of the time they did not go on to view the original content." Id. "Moreover, if an article is

 8   rated `false' by their `fact checkers', the network will `reduce its distribution'. This means that,

 9   while an author or poster is not aware that censorship is taking place, the network could be hiding
10   their content so it is not widely disseminated." Id.
11
            150. Ironically, while admitting that it had erroneously censored speech on the lab-leak
12
     theory for over a year, Facebook announced that it was "now extending its policy of `shadow-
13
     banning' accounts that promote misinformation. `Starting today, we will reduce the distribution of
14

15   all posts in News Feed from an individual's Facebook account if they repeatedly share content

16   that has been rated by one of our fact-checking partners.' So now, if you share something deemed

17   to contain misinformation multiple times, your account could be silenced; you won't be informed,
18
     you won't know to what degree your content will be hidden and you won't know how long it will
19
     last—all thanks to group of `fact-checkers' whose authority cannot be questioned." Id. It is
20
     astonishing that "this announcement was made on the very same day as Facebook's admission of
21
     error" on the lab-leak theory. Id.
22

23              3. Speech About The Efficacy Of Mask Mandates And COVID-19 Lockdowns.

24           151. Social-media platforms also aggressively censored speech questioning the efficacy
25   of masks and lockdowns as COVID-19 mitigation measures. Yet evidence revealed that concerns
26
     about the efficacy of these measures were well-founded
27

28

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 1          . 152. For example, on information and belief, Twitter's "COVID-19 misleading
 2   information policy," as of December 2021, noted that Twitter will censor (label or remove)
 3
     speech claiming that "face masks ... do not work to reduce transmission or to protect against
 4
     COVID19," among many other restrictions. See Twitter, Covid-19 misleading information policy,
 5
     https://help.twitter.com/en/rules-and-policies/medical-misinformation-policy. On information and
 6

 7   belief, both Twitter and other social-media platforms have imposed similar policies, imposing

 8   censorship on speech questioning the efficacy of masks and the efficacy of lockdowns as

 9   COVID19 mitigation measures.
10          153. On April 8, 2021, YouTube "deleted a video in which Florida Gov. Ron DeSantis
11
     and a handful of medical experts," including Plaintiffs Bhattacharya and Kulldorff, "questioned
12
     the effectiveness of having children wear masks to stop the spread of COVID-19." YouTube
13
     Purges Ron DeSantis Video Over Claims Children Don't Need to Wear Masks, THE WRAP
14

15   (Apr. 8, 2021), https://www.thewrap.com/youtube-purges-florida-governor-video-over-

16   claimschildren-dont-need-to-wear-masks/.

17          154. On August 10, 2021, "YouTube barred Sen. Rand Paul (R-Ky.) from uploading new
18
     videos to the site for seven days, after the ophthalmologist posted a video last week arguing that
19
     most masks `don't work' against the coronavirus." Rand Paul Suspended from YouTube Over
20
     Covid Claims, FoRSES (Aug. 10, 2021),
21
     https://www.forbes.com/sites/joewalsh/2021/08/10/randpaul-suspended-from-youtube-over-
22

23   covid-claims/?sh=31 fl d4e01971.

24          155. "When Scott Atlas, a member of the Trump White House's coronavirus task force,
25   questioned the efficacy of masks last year, Twitter removed his tweet. When eminent scientists
26
     from Stanford and Harvard recently told Florida Gov. Ron DeSantis that children should not be
27
     forced to wear masks, YouTube removed their video discussion from its platform." How
28

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 1   Facebook uses fact-checking' to suppress scientific truth, N.Y. PosT (May 18, 2021),
 2   https://nypost.coml2021 /05/ 18/how-facebook-uses-fact-checking-to-suppress-scientific-truth/.
 3
             156. In the same vein, Facebook suppressed a scientist for citing a peer-reviewed study
 4
     "by a team of researchers in Germany who established an online registry for thousands of parents
 5
     to report on the impact of masks on their children. More than half of those who responded said
 6

 7   that masks were giving their children headaches and making it difficult for them to concentrate.

 8   More than a third cited other problems, including malaise, impaired learning, drowsiness and

 9   fatigue." Id.
10           157. On November 21, 2020, "[t]wo leading Oxford University academics ... accused
11
     Facebook of `censorship' after it claimed an article they wrote on face masks amounted to `false
12
     information'." Two top Oxford academics accuse Facebook of censorship for branding their
13
     article on whether masks work false information', DAILY MAIL (Nov. 21, 2020)
14

15   https://www.dailymail.co.uk/news/article-8973631 /Two-Oxford-academics-accuse-

16   Facebookcensorship-article-warning.html.

17           158. No convincing evidence supported the efficacy of mask mandates, while compelling
18
     evidence contradicted it, both before and after their implementation. Tracking the aggregate case
19
     numbers in States with and without mask mandates over the course of the COVID19 pandemic, in
20
     a "natural experiment," demonstrates that mask mandates made "zero difference." John Tierney,
21
     The Failed COVID Policy of Mask Mandates, CITY J. (April 19, 2022), https://www.city
22

23   journal.org/the-failed-covid-policy-of-mask-mandates. Both case rates and mortality rates were

24   "virtually identical." Id. Indeed, "mask mandates were implemented without scientific
25   justification," and "they failed around the world." Id. "In their pre-Covid planning strategies for a
26
     pandemic, neither the Centers for Disease Control nor the World Health Organization had
27
     recommended masking the public—for good reason. Randomized clinical trials involving flu
28

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 1   viruses had shown, contrary to popular wisdom in Japan and other Asian countries, that there was
 2   `no evidence that face masks are effective in reducing transmission,' as the WHO summarized the
 3
     scientific literature." Id. "Anthony Fauci acknowledged this evidence early in the pandemic, both
 4
     in his public comments (`There's no reason to be walking around with masks,' he told 60 Minutes)
 5
     and in his private emails (`I do not recommend you wear a mask,' he told a colleague, explaining
 6

 7   that masks were too porous to block the small Covid virus)." Id. "Instead of carefully analyzing

 8   the effects of masks, the CDC repeatedly tried to justify them by misrepresenting short-term

 9   trends and hyping badly flawed research, like studies in Arizona and Kansas purporting to show
10   that infections had been dramatically reduced by the mask mandates imposed in some counties.
11
     But in each state, ... infection rates remained lower in the counties that did not mandate masks."
12
     Id.; see also, e.g., IAN MILLER, UNMASKED: THE GLOBAL FAILURE OF COVID MASK
13
     MANDATES (Jan. 20, 2022).
14

15          159. Ironically, Plaintiff Kulldorff was suspended on Twitter for several weeks for posting

16   that masks endow vulnerable individuals with a false sense of security, because they actually do

17   not work well to protect against viral infection. This exemplifies the danger of government
18
     involvement in social media censorship: preventing a world-renowned epidemiologist from
19
     conveying to the public that vulnerable people should not rely on masks for protection could
20
     indirectly cause great harm.
21
            160. Likewise, no convincing evidence supported the efficacy of lockdowns. Quite the
22

23   contrary. In January 2022, a Johns Hopkins meta-analysis reviewed the efficacy of lockdowns as

24   a COVID-19 mitigation measure and found that they had minimal impact, if any, on COVID-19
25   mortality rates. The study reached "the conclusion that lockdowns have had little to no effect on
26
     COVID-19 mortality... [L]ockdowns in Europe and the United States only reduced COVID-19
27
     mortality by 0.2% on average.... While this meta-analysis concludes that lockdowns have had
28

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 1   little to no public health effects, they have imposed enormous economic and social costs where
 2   they have been adopted. In consequence, lockdown policies are ill-founded and should be rejected
 3
     as a pandemic policy instrument." Herby et al., A Literature Review and Meta-Analysis of the
 4
     Effects of Lockdowns on COVID-19 Mortality, STUDIES IN APPLIED ECONOMICS (Jan.
 5
     2022), available at https://sites.krieger.jhu.edu/iae/files/2022/01 /A-Literature-Review-and-
 6

 7   MetaAnalysis-of-the-Effects-of-Lockdowns-on-COVID-19-Mortality.pdf.

 8          161. On December 21, 2021, Dr. Leana Wen, a CNN medical commentator and strong

 9   advocate for COVID-19 restrictions, tweeted that "cloth masks are little more than facial
10   decorations." CNN's Leana Wen: `Cloth Masks Are Little More Than Facial Decorations',
11
     REASON, at https://reason.com/2021/1 2/21 /lean-wen-cloth-mask-facial-decorations-covid-
12
     cdcguidance/. Twitter did not censor this tweet, even though it undermined the efficacy of mask
13
     mandates that permitted the use of cloth masks (i.e., virtually all of them)—undoubtedly because
14

15   it was advocating for more aggressive mitigation measures (i.e., higher-quality masks than cloth

16   masks), not less.

17           162. "On September 26, 2021, CDC Director Walensky cited an Arizona study to claim
18
     that schools without mask mandates were 3.5 times more likely to experience COVID-19
19
     outbreaks. However, the study is so flawed that experts have said it `should not have entered into
20
     the public discourse' and that you `can't learn anything' about mask rules from the study." March
21
     11, 2022 Letter of U.S. Rep. Cathy McMorris Rodgers, et al., to Surgeon General Murthy, at
22

23   https://republicans-energycommerce.house.gov/wp-content/uploads/2022/03/3.11.22-Letter-

24   toSurgeon-General-Murthy-Final.pdf. Yet Director Walensky's statement circulated widely on
25   social media without being censored.
26
27

28

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 1                 4. Speech About Election Integrity And The Security Of Voting By Mail.
 2          163. In or around 2020, social-media platforms began aggressively censoring speech that
 3
     raised concerns about the security of voting by mail, a major election-security issue. Notoriously,
 4
     social-media platforms aggressively censored core political speech by then-President Trump and
 5
     the Trump campaign raising concerns about the security of voting by mail in the runup to the
 6

 7   November 2020 presidential election.

 8          164. This censorship is ironic because, for many years before 2020, it was a common left-

 9   wing talking point to claim that fraud occurred in voting by mail. In opposing photo-ID
10   requirements for in-person voting, Democrats and their allies frequently claimed that photo IDs
11
     for in-person voting were pointless because voting by mail, not in-person voting, presented the
12
     real opportunities for fraud.
13
             165. These Democratic claims of fraud in voting by mail were widely parroted in
14

15   mainstream media for many years. For example, in 2012, the New York Times wrote that "votes

16   cast by mail are less likely to be counted, more likely to be compromised and more likely to be

17   contested than those cast in a voting booth, statistics show," in an article headlined "Error and
18
     Fraud at Issue as Absentee Voting Rises."
19
     https://www.nytimes.com/20I2/10/07/us/politics/asmore-vote-by-mail-faulty-ballots-could-
20
     impact-elections.html. In 2012, The Washington Post published an articles stating that "[i]t may
21
     still be possible to steal an American election, if you know the right way to go about it," citing a
22

23   case in which "[c]onspirators allegedly bought off absentee voters" and "faked absentee ballots."

24   https://www.washingtonpost.com/politics/decision2012/selling-votes-is-common-type-ofelection-
25   fraud/2012/10/01/f8f5045a-071d-11e2-81ba-ffe35a7b6542 story.html. In 2014, MSNBC claimed:
26
     "Indeed, election experts say absentee ballot fraud is the most common form of organized voter
27
     fraud, since, because of the secret ballot, there's no way to ensure that an in-person voter is voting
28

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 1   for the candidate he promised to." https://www.msnbc.com/msnbc/greg-abbottbogus-voter-fraud-
 2   crusade-msna291356. In 2016, Slate claimed, in a piece titled, "Voter Fraud Exists. Republican
 3
     Restrictions Won't Stop It," that "[t]he vast majority of voter fraud prosecutions touted by
 4
     conservative groups like the Heritage Foundation involve absentee ballots that were illegally cast.
 5
     And the only voting fraud schemes with the potential to actually swing elections involved mail-in
 6

 7   ballots." https://slate.com/news-and-politics/2016/09/voter-fraudexists-through-absentee-ballots-

 8   but-republicans-wont-stop-it.html.

 9          166. Many other authorities confirm the reasonableness of concerns about security of
10   voting by mail. For example, in Crawford v. Marion County Election Board, the U.S. Supreme
11
     Court held that fraudulent voting "perpetrated using absentee ballots" demonstrates "that not only
12
     is the risk of voter fraud real but that it could affect the outcome of a close election." Crawford v.
13
     Marion County Election Bd., 553 U.S. 181, 195-96 (2008) (opinion of Stevens, J.) (emphasis
14

15   added). 164. The bipartisan Carter-Baker Commission on Federal Election Reform—co-chaired

16   by former President Jimmy Carter and former Secretary of State James A. Baker—determined

17   that "[a]bsentee ballots remain the largest source of potential voter fraud." BUILDING
18
     CONFIDENCE IN U.S. ELECTIONS: REPORT OF THE COMMISSION ON FEDERAL
19
     ELECTION REFORM, at 46 (Sept. 2005), at
20
     https://www.legislationline.org/download/id/1472/file/3b50795b2d0374cbef5c29766256.pdf.
21
     According to the Carter-Baker Commission, "[a]bsentee balloting is vulnerable to abuse in
22

23   several ways." Id. "Blank ballots mailed to the wrong address or to large residential buildings

24   might be intercepted." Id. "Citizens who vote at home, at nursing homes, at the workplace, or in
25   church are more susceptible to pressure, overt and subtle, or to intimidation." Id. "Vote buying
26
     schemes are far more difficult to detect when citizens vote by mail." Id. Thus, the Commission
27
     noted that "absentee balloting in other states has been a major source of fraud." Id. at 35. It
28

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 1   emphasized that voting by mail "increases the risk of fraud." Id. And the Commission
 2   recommended that "States ... need to do more to prevent ... absentee ballot fraud." Id. at 165. The
 3
     U.S. Department of Justice's 2017 Manual on Federal Prosecution of Election Offenses, published
 4
     by its Public Integrity Section, states: "Absentee ballots are particularly susceptible to fraudulent
 5
     abuse because, by definition, they are marked and cast outside the presence of election officials
 6

 7   and the structured environment of a polling place." U.S. Dept of Justice, Federal Prosecution of

 8   Election Offenses 28 (8th ed. Dec. 2017), at

 9   https://www.justice.gov/criminal/file/1029066/download. This Manual reports that "the more
10   common ways" that election-fraud "crimes are committed include ... [o]btaining and marking
11
     absentee ballots without the active input of the voters involved." Id. at 28. And the Manual notes
12
     that "[a]bsentee ballot frauds" committed both with and without the voter's participation are
13
     "common" forms of election fraud. Id. at 29.
14

15           167. Thus, social-media censorship that has occurred since 2020 to suppress speech

16   raising concerns about the security of voting by mail would, if applied even-handedly, suppress

17   statements about the risks of fraud in mail-in voting by the United States Supreme Court, the
18
     Carter-Baker Commission co-chaired by President Jimmy Carter, and the U.S. Department of
19
     Justice's prosecution manual for election-integrity crimes. One would not be able to quote Justice
20
     Stevens' opinion for the Supreme Court in Crawford on social media if it followed its own rules.
21
     Raising concerns about election integrity, and questioning the security of voting by mail, became
22

23   unspeakable on social media only after it became expedient for the Democratic Party and the

24   political Left to suppress these ideas, viewpoints, and concerns.
25           167.1 This censorship of speech, speakers, and viewpoints on such topics and concerns
26
     continues to this day, at Defendants' instigation, as alleged further herein.
27

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 1          168. There is a common theme to all these examples of wrong-headed censorship: Each
 2   involved censoring truthful or reliable information that contradicted left-wing political narratives.
 3
     What led to the censorship was not the fact that the speech was supposedly false, but that the
 4
     message was politically inconvenient for Democratic officials and government-preferred
 5
     narratives. As a result, the ability of politicians and social-media platforms to reliably identify
 6

 7   actual "misinformation" and "disinformation" has been proven false, again and again.

 8              D. Defendants, Using Their Official Authority, Have Threatened, Cajoled, And

 9    Colluded With Social-Media Companies To Silence Disfavored Speakers And Viewpoints.
10          169. On information and belief, the named private-party Defendants and those acting in
11
     concert with them – including the federal government, Biden Administration and mainstream
12
     media - have conspired and colluded to suppress Americans' First Amendment and analogous
13
     state-law rights to freedom of expression on social-media platforms, and to be exposed to free
14

15   expression on such platforms, and they have taken many overt actions to achieve this goal.

16             1. Section 230 Of The CDA Subsidized, Protected, And Fostered The Creation Of

17       Speech Censorship Policies In A Small, Concentrated Group Of Social-Media Firms.
18
            170. First, the Defendants did not act in a vacuum. For decades, the federal government
19
     has artificially encouraged, protected, fostered, and subsidized the aggregation of control over
20
     speech, including the specific power of censorship, by a small group of powerful social-media
21
     firms, in particular, the Platform Defendants.
22

23            171. In particular, Section 230 of the Communications Decency Act (CDA) artificially

24   empowered and subsidized the growth of social-media companies and their censorship policies by
25   effectively immunizing much censorship on social media from liability. Section 230's unique
26
     liability shield fostered the aggregation of power in the field into a concentrated cluster of
27
     powerful social-media firms, and it directly fostered, protected, and encouraged the development
28

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 1   of speech censorship policies. This process was greatly accelerated and enhanced by the social-
 2   media platforms' success in convincing courts to adopt ever-broadening interpretations of Section
 3
     230 immunity, which stray beyond the statutes' text
 4
            172. "Historically, at least two legal doctrines limited a company's right to exclude."
 5
     Knight First Amendment Institute, 141 S. Ct. at 1222 (Thomas, J., concurring). "First, our legal
 6

 7   system and its British predecessor have long subjected certain businesses, known as common

 8   carriers, to special regulations, including a general requirement to serve all comers." Id. "Second,

 9   governments have limited a company's right to exclude when that company is a public
10   accommodation. This concept—related to common-carrier law—applies to companies that hold
11
     themselves out to the public but do not `carry' freight, passengers, or communications." Id.
12
     Absent the artificial immunity created by the overly expansive interpretations of Section 230
13
     immunity, these legal doctrines, and free-market forces, would impose a powerful check on
14

15   content- and viewpoint-based censorship by social-media platforms. See id.

16          173. The CDA was enacted in 1996 for the purpose of promoting the growth of internet

17   commerce and protecting against the transmission of obscene materials to children over the
18
     internet. It was intended to "offer a forum for a true diversity of political discourse," 47 U.S.C. §
19
     230(a)(3), but in recent years Defendants have exploited it to produce the opposite effect.
20
            174. Section 230 of the CDA, 47 U.S.C. § 230, provides unique liability protections for
21
     internet publishers of information, such as social-media companies, which are not available to
22

23   other publishers, such as those of printed media. Section 230(c)(1) provides that "[n]o provider or

24   user of an interactive computer service shall be treated as the publisher or speaker of any
25   information provided by another information content provider." 47 U.S.C. § 230(c)(1). In other
26
     words, social-media firms are generally protected from liability for what their users post.
27

28

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 1          175. Section 230(c)(2), however, also provides that: "No provider or user of an interactive
 2   computer service shall be held liable on account of (A) any action voluntarily taken in good faith
 3
     to restrict access to or availability of material that the provider or user considers to be obscene,
 4
     lewd, lascivious, filthy, excessively violent, harassing, or otherwise objectionable, whether or not
 5
     such material is constitutionally protected." 47 U.S.C. § 230(c)(2)(A) (emphasis added). Courts
 6

 7   have interpreted Section 230 broadly—beyond its plain textual import—to shield social-media

 8   platforms from liability for censoring anything they deem "objectionable," even if it is

 9   constitutionally protected speech.
10          176. This reading is unreasonable and exceeds what Congress authorized. Viewpoint and
11
     content-based discrimination—now widely practiced by social-media platforms—are the
12
     antithesis of "good faith." Id. Moreover, Congress intended the "otherwise objectionable" material
13
     in § 230(c)(2)(A) to refer only to content similar to "obscene, lewd, lascivious, filthy, excessively
14

15   violent, [and] harassing" content referred to in the same list. Id. But social-media companies have

16   interpreted this liability shield unreasonably broadly, and have convinced courts to adopt

17   overbroad interpretations of Section 230 immunity. See, e.g., Malwarebytes, Inc. v. Enigma
18
     Software Grp. USA, LLC, 141 S. Ct. 13, 15 (2020) (statement of Thomas, J., respecting the denial
19
     of certiorari) ("[C]ourts have extended the immunity in § 230 far beyond anything that plausibly
20
     could have been intended by Congress."); id. at 15-18 (discussing and criticizing the overbroad
21
     reading of § 230 liability that has shielded social-media firms).
22

23          177. These platforms, therefore, have the best of both worlds: They claim that they are

24   exempt from liability if they leave even atrocious content posted, but they are also exempt from
25   liability if they censor anything they deem "objectionable, whether or not such material is
26
     constitutionally protected." 47 U.S.C. § 230(c)(2)(A).
27

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 1             178. Further, Section 230 of the CDA purportedly shields such platforms from liability for
 2   colluding with other social-media platforms on how to censor speech: "No provider or user of an
 3
     interactive computer service shall be held liable on account of... (B) any action taken to enable or
 4
     make available to information content providers or others the technical means to restrict access to
 5
     material described in paragraph (1)." 47 U.S.C. § 230(c)(2)(B). On information and belief, social-
 6

 7   media platforms do, in fact, extensively coordinate with one another in censoring socialmedia

 8   speech.

 9             179. Section 230 also purports to preempt any state law to the contrary: "No cause of
10   action may be brought and no liability may be imposed under any State or local law that is
11
     inconsistent with this section." 47 U.S.C. § 230(e)(3).
12
               180. On information and belief, the immunity provided by Section 230 of the CDA
13
     directly contributed to the rise of a small number of extremely powerful social-media platforms,
14

15   who have now turned into a "censorship cartel." The liability shield provided by the federal

16   government artificially subsidized, fostered, and encouraged the viewpoint and content-based

17   censorship policies that those platforms have adopted at Defendants' urging.
18
               181. On information and belief, social-media firms greatly value the immunity provided
19
     by § 230 of the CDA, which continues to provide them with artificial liability protections, and
20
     credible threats to amend or repeal that immunity are powerful motivators to those platforms.
21
     Defendants are aware of this.
22

23             182. On information and belief, the largest and most powerful social-media firms are also

24   greatly concerned about antitrust liability and enforcement, given their dominance in the social-
25   media market(s), and credible threats to impose antitrust liability and/or enforcement are powerful
26
     motivators to those platforms as well. Defendants are aware of this too.
27

28

                                                       60
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 1                             2. The Campaign Of Threats Against Social-Media
 2                                      Companies To Demand Censorship.
 3
            183. Defendant Biden, his political allies, and those acting in concert with him have a long
 4
     history of threatening to use official government authority to impose adverse legal consequences
 5
     against social-media companies if such companies do not increase censorship of speakers and
 6

 7   messages disfavored by Biden and his political allies. Common threats of adverse legal and/or

 8   regulatory consequences include the threat of antitrust enforcement or legislation, and the threat

 9   of amending or repealing the liability protections of Section 230 of the Communications Decency
10   Act (CDA), among others, if social-media companies fail to engage in more aggressive
11
     censorship of viewpoints, content, and speakers disfavored by Defendants. These threats are
12
     effective because they address legal matters of critical concern to dominant social-media firms.
13
            184. The Biden Administration and its executive agencies have leveraged these threats to
14

15   secure such increased censorship of speakers, content, and viewpoints that they disfavor on

16   social-media platforms [and the Biden CDC and DOJ have extracted the same commitment from

17   the teachers unions and NSBA]; and they have now moved into a phase of open collusion with
18
     the threatened companies, cooperating with them directly to censor speech, speakers, and
19
     viewpoints that Defendants and the Biden Administration (and Democratic and Left-leaning
20
     mainstream media) disfavor.
21
            185. Threats from Biden, senior government officials in the Biden administration, and
22

23   those acting in concert with them come in the context of a history of such threats from senior

24   federal officials politically allied with them. These threats have routinely linked (1) the prospect
25   of official government action in the form of adverse legislation, regulation, or agency action—
26
     especially threats of antitrust legislation and/or enforcement and calls to amend or repeal Section
27
     230 of the CDA, among others—with (2) calls for more aggressive censorship and suppression of
28

                                                      61
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 1   speakers, viewpoints, and messages that these officials disfavor. Recent examples include, but are
 2   by no means limited to, the following:
 3
             • Speaker Nancy Pelosi, April 12, 2019: "I do think that for the privilege of 230, there has
 4
     to be a bigger sense of responsibility on it. And it is not out of the question that that could be
 5
     removed." Nancy Pelosi warns tech companies that Section 230 is `in jeopardy', TECH CRUCH
 6

 7   (April 12, 2019), at https://techcrunch.com/2019/04/12/nancy-pelosi-section-230/ ("When asked

 8   about Section 230, Pelosi referred to the law as a `gift' to tech companies that have leaned heavily

 9   on the law to grow their business.... `It is a gift to them and I don't think that they are treating it
10   with the respect that they should, and so I think that that could be a question mark and in
11
     jeopardy... I do think that for the privilege of 230, there has to be a bigger sense of responsibility
12
     on it. And it is not out of the question that that could be removed.").
13
             • Senator Mark Warner, Oct. 28, 2020: "It saddens me that some of my colleagues have
14

15   joined in the Trump Administration's cynical and concerted effort to bully platforms into allowing

16   dark money groups, right-wing militias and even the President himself to continue to exploit

17   social media platforms to sow disinformation, engage in targeted harassment, and suppress voter
18
     participation. We can and should have a conversation about Section 230—and the ways in which
19
     it has enabled platforms to turn a blind eye as their platforms are used to facilitate discrimination
20
     and civil rights violations, enable domestic terrorist groups to organize violence in plain sight,
21
     assist in stalking and networked harassment campaigns, and enable online frauds targeted at
22

23   vulnerable users...." Statement of U.S. Sen. Mark R. Warner on Section 230 Hearing (Oct. 28,

24   2020), at https:!/www.warner.senate.gov/public/index.cfml2o2o/l 0/statement-of-sen-mark-
25   rwarner-on-facebook-s-decision-to-finally-ban-qanon-from-its-platforms.
26
             • Then-Senator Kamala Harris, Sept. 30, 2019: "Look, let's be honest, Donald Trump's
27
     Twitter account should be suspended." Kamala Harris says Trump's Twitter account should be
28

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 1   suspended, CNN.com (Sept. 30, 2019), at https://www.cnn.com/2019/09/30/politics/kamala-
 2   harris-trump-twitter-cnntv/index.html; see also https://twitter.com/kamalaharris/status/
 3
     1179810620952207362. Then-Senator Kamala Harris, Oct. 2, 2019: "Hey @jack [i.e., Twitter
 4
     CEO Jack Dorsey]. Time to do something about this," providing picture of a tweet from President
 5
     Trump. https://twitter.com/kamalaharris/status/ 1179193225325826050.
 6

 7          • Senator Richard Blumenthal, Nov. 17, 2020: "I have urged, in fact, a breakup of tech

 8   giants. Because they've misused their bigness and power. ... And indeed Section 230 reform,

 9   meaningful reform, including even possible repeal in large part because their immunity is way too
10   broad and victims of their harms deserve a day in court." Breaking the News: Censorship,
11
     Suppression, and the 2020 Election Before the S. Comm. on Judiciary, 116th Cong. at 36:10-15
12
     (2020) (statement of Sen. Richard Blumenthal).
13
            • Senator Mazie Hirono, Feb. 5, 2021: "Sec 230 was supposed to incentivize internet
14

15   platforms to police harmful content by users. Instead, the law acts as a shield allowing them to

16   turn a blind eye. The SAFE TECH ACT brings 230 into the modern age and makes platforms

17   accountable for the harm they cause." https://twitter.com/maziehirono/status/
18
     1357790558606024705?lang=bg. • March 2021 Joint Hearing of the Communications and
19
     Technology Subcommittee, Joint Statement of Democratic Committee Chairs: "This hearing will
20
     continue the Committee's work of holding online platforms accountable for the growing rise of
21
     misinformation and disinformation. ... For far too long, big tech has failed to acknowledge the
22

23   role they've played in fomenting and elevating blatantly false information to its online audiences.

24   Industry self-regulation has failed. We must begin the work of changing incentives driving social
25   media companies to allow and even promote misinformation and disinformation." See Yael
26
     Eisenstat & Justin Hendrix, A Dozen Experts with Questions Congress Should Ask the Tech
27
     CEOs—On Disinformation and Extremism, JUST SECURITY (Mar. 25, 2021),
28

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 1   https://www.justsecurity.org/75439/questions-congress-should-ask-the-tech-ceos-
 2   ondisinformation-and-extremism/.
 3
            • On April 20, 2022, twenty-two Democratic members of Congress sent a letter to Mark
 4
     Zuckerberg of Facebook (n/k/a "Meta Platforms, Inc."), demanding that Facebook increase
 5
     censorship of "Spanish-language disinformation across its platforms." The letter claimed that
 6

 7   "disinformation" was a threat to democracy, and it made explicit threats of adverse legislative

 8   action if Facebook/Meta did not increase censorship: "The spread of these narratives demonstrate

 9   that Meta does not see the problem of Spanish-language disinformation in the United States as a
10   critical priority for the health of our democracy. The lack of Meta's action to swiftly address
11
     Spanish-language misinformation globally demonstrates the need for Congress to act to ensure
12
     Spanish-speaking communities have fair access to trustworthy information." The letter demanded
13
     information about Facebook's censorship policies on election-related speech for the upcoming
14

15   elections: "How is Meta preparing to proactively detect and address foreign disinformation

16   operations targeted at Spanish-speaking communities for future elections within the United

17   States, including the 2022 primaries and general election? ... [W]hat new steps has Meta taken to
18
     ensure the effectiveness of its algorithmic content detection policies to address disinformation and
19
     hatespeech across different languages?" April 20, 2022 Letter of Rep. Tony Cardenas, et al., at
20
     https://cardenas.house.gov/imo/media/doc/Meta%20RT%20and%20Spanish%20Language%20D
21
     isinformation%20Congressional%20Letter%20Final.pdf.
22

23          186. Comments from two House Members summarize this campaign of pressure and

24   threats: "In April 2019, Louisiana Rep. Cedric Richmond warned Facebook and Google that they
25   had `better' restrict what he and his colleagues saw as harmful content or face regulation: `We're
26
     going to make it swift, we're going to make it strong, and we're going to hold them very
27
     accountable.' New York Rep. Jerrold Nadler added: `Let's see what happens by just pressuring
28

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 1   them." Vivek Ramaswamy and Jed Rubenfeld, Editorial, Save the Constitution from Big Tech:
 2   Congressional threats and inducements make Twitter and Facebook censorship a free-speech
 3
     violation, WALL ST. J. (Jan. 11, 2021), https://www.wsj.coni/articles/save-the-constitution-
 4
     frombig-tech-11610387 105. 187. Defendants' political allies have repeatedly used congressional
 5
     hearings as forums to advance these threats of adverse legislation if social-media platforms do not
 6

 7   increase censorship of speakers, speech, content, and viewpoints they disfavor. They have

 8   repeatedly used such hearings to berate social-media firm leaders, such as Mark Zuckerberg of

 9   Facebook, Jack Dorsey of Twitter, and Sundar Pichai of Google and YouTube, and to make
10   threats of adverse legal consequences if censorship is not increased. Such hearings include, but
11
     are not limited to, those cited above, as well as an antitrust hearing before the House Judiciary
12
     Committee on July 29, 2020; a Senate Judiciary Committee hearing on November 17, 2020; and a
13
     House Energy and Commerce Hearing on March 25, 2021. 188. The flip side of such threats, of
14

15   course, is the implied "carrot" of retaining Section 230 immunity and avoiding antitrust scrutiny,

16   allowing the major social-media platforms to retain their legally privileged status that is worth

17   billions of dollars of market share. 189. Starting in or around 2020, if not before, social-media
18
     firms have responded to these threats by engaging in increasingly more aggressive censorship of
19
     speakers, messages, and viewpoints disfavored by Defendants, senior government officials, and
20
     the political left. "With all the attention paid to online misinformation, it's easy to forget that the
21
     big [social-media] platforms generally refused to remove false content purely because it was false
22

23   until 2020." Gilead Edelman, Beware the Never-Ending Disinformation Emergency, THE

24   WIRED (March 11, 2022), at https://www.wired.com/story/youtube-rigged-election-donald-
25   trump-moderationmisinformation/.
26
             186.1 On information and belief, it was in response to such threats of adverse legal
27
     consequences that social-media companies ramped up censorship in 2020, disproportionately
28

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 1   targeting speakers and viewpoints on the political right. On information and belief, the examples
 2   of censorship of truthful and reliable speech in 2020, cited above, were motivated in whole or in
 3
     part by such threats.
 4
            187. Then-candidate and now-President Biden has led this charge. He has tripled down on
 5
     these threats of adverse official action from his colleagues and allies in senior federal government
 6

 7   positions. His threats of adverse government action have been among the most vociferous, and

 8   among the most clearly linked to calls for more aggressive censorship of disfavored speakers and

 9   speech by social-media companies.
10          188. For example, on January 17, 2020, then-candidate Biden stated, in an interview with
11
     the New York Times editorial board, that Section 230 of the CDA should be "revoked" because
12
     social-media companies like Facebook did not do enough to censor supposedly false information
13
     in the form of political ads criticizing him—i.e., core political speech. He stated: "The idea that
14

15   it's a tech company is that Section 230 should be revoked, immediately should be revoked,

16   number one. For Zuckerberg and other platforms." He also stated, "It should be revoked because

17   it is not merely an internet company. It is propagating falsehoods they know to be false.... There
18
     is no editorial impact at all on Facebook. None. None whatsoever. It's irresponsible. It's totally
19
     irresponsible." N.Y. Times Editorial Board, Joe Biden (Jan. 17, 2020), at https://www. nytimes.
20
     com/interactive/2020/01 / 17/opinion/j oe-biden-nytimes-interview. html. These claims were
21
     specifically linked to Facebook's alleged failure to censor core political speech—i.e., political ads
22

23   on Facebook criticizing candidate Biden. Id.

24          189. Candidate Biden also threatened that Facebook CEO Mark Zuckerberg should be
25   subject to civil liability and even criminal prosecution for not censoring such core political
26
     speech: "He should be submitted to civil liability and his company to civil liability.... Whether he
27
     engaged in something and amounted to collusion that in fact caused harm that would in fact be
28

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 1   equal to a criminal offense, that's a different issue. That's possible. That's possible it could
 2   happen." Id. In other words, Biden's message—not long before he became President of the United
 3
     States—was that if Facebook did not censor political ads against him, Zuckerberg should go to
 4
     prison. These two threats echoed the same threats made by numerous political allies of the
 5
     President since 2019, cited above.
 6

 7          190. During the presidential campaign, now-Vice President Harris made similar threats

 8   against social-media firms to pressure them to engage in more aggressive censorship of speakers,

 9   content, and viewpoints she disfavors. For example, in addition to the statements cited above, she
10   stated in 2019: "We will hold social media platforms responsible for the hate infiltrating their
11
     platforms, because they have a responsibility to help fight against this threat to our democracy.
12
     And if you profit off of hate—if you act as a megaphone for misinformation or cyberwarfare, if
13
     you don't police your platforms—we are going to hold you accountable as a community." Kamala
14

15   Harris Wants to Be Your Online Censor-in-Chief, REASON.COM (May 7, 2019), at

16   https://reason.com/2019/05/07/kamala-harris-promises-to-pursue-online-censorship-aspresident/.

17          191. In or around June 2020, the Biden campaign published an open letter and online
18
     petition (ironically, on Facebook) calling for Facebook to engage in more aggressive censorship
19
     of core political speech and viewpoints that then-Candidate Biden disfavored. The open letter
20
     complained that Facebook "continues to allow Donald Trump to say anything — and to pay to
21
     ensure that his wild claims reach millions of voters. Super PACs and other dark money groups are
22

23   following his example. Trump and his allies have used Facebook to spread fear and misleading

24   information about voting.... We call for Facebook to proactively stem the tide of false information
25   by no longer amplifying untrustworthy content and promptly fact-checking election-related
26
     material that goes viral. We call for Facebook to stop allowing politicians to hide behind paid
27
     misinformation in the hope that the truth will catch up only after Election Day. There should be a
28

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 1   two-week pre-election period during which all political advertisements must be fact-checked
 2   before they are permitted to run on Facebook. ... Anything less will render Facebook a tool of
 3
     misinformation that corrodes our democracy." Biden-Harris, Our Open Letter to Facebook (last
 4
     visited May 5, 2022), https://joebiden.com/2961-2/.
 5
            192. The online petition demanded that Facebook "[p]romote real news, not fake news,"
 6

 7   "[q]uickly remove viral misinformation," and "[e]nforce voter suppression rules against

 8   everyone—even the President [Trump]." The petition complained that Facebook "continues to

 9   amplify misinformation and lets candidates pay to target and confuse voters with lies." It
10   demanded that Facebook "promote authoritative and trustworthy sources of election information,
11
     rather than rants of bad actors and conspiracy theorists," "promptly remove false, viral
12
     information," and "prevent political candidates and PACs from using paid advertising to spread
13
     lies and misinformation — especially within two weeks of election day." Biden-Harris,
14

15   #Movefastfixit (last visited May 5, 2022), https://joebiden.com/facebook/.

16          193. On September 28, 2020, the Biden-Harris campaign sent a letter to Facebook

17   accusing it of propagating a "storm of disinformation" by failing to censor the Trump campaign's
18
     political speech, including social-media political ads. Sept. 28, 2020 Biden-Harris Letter, at
19
     https://www.documentcloud.org/documents/7219497-Facebook-Letter-9-28.html. The letter
20
     accused Facebook of allowing "hyper-partisan" and "fantastical" speech to reach millions of
21
     people, and it demanded "more aggressive" censorship of Trump. Id.
22

23          194. A federal lawsuit filed in 2021 alleged that "before and after the November, 2020

24   election," California government officials "contracted with partisan Biden campaign operatives to
25   police speech online. The secretary of state of California then sent these flagged tweets to Twitter,
26
     Instagram, YouTube and other platforms for their removal." Hammeet Dhillon: Biden White
27
     House flags' Big Tech — here's why digital policing is so dangerous, Fox NEWS (July 16, 2021),
28

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 1   at https://www.foxnews.com/opinion/biden-white-house-flags-big-tech-digital-policing-
 2   harmeetdhillon. Once in power, Biden and those acting in concert with him would continue this
 3
     same course of conduct of "flagging" content for censorship by private social-media firms, now
 4
     using the authority of the federal government to "flag" specific speech and speakers for
 5
     censorship and suppression.
 6

 7          195. On December 2, 2020—during the presidential transition—Biden's former chief of

 8   staff and top technical advisor, Bruce Reed, publicly stated that "it's long past time to hold the

 9   social media companies accountable for what's published on their platforms." Biden Tech
10   Advisor: Hold Social Media Companies Accountable for What Their Users Post, CNBC.com
11
     (Dec. 2, 2020), at https://www.cnbc.com/2020/12/02/biden-advisor-bruce-reed-hints-that-section-
12
     230- needs-reform.html. This comment specifically referred to the amendment or repeal of
13
     Section 230 of the Communications Decency Act. See id. Thus, the threat of adverse legal
14

15   consequences for social-media companies that did not censor opposing political viewpoints was

16   at the forefront of the incoming Biden Administration's public messaging.

17          196. Coming into the new Administration, with now-President Biden's political allies in
18
     control of both Houses of Congress, social-media companies were on clear notice that the federal
19
     government's involvement in social-media censorship was likely to escalate, and their threats of
20
     adverse legislation, regulation, and legal action became more ominous. On information and
21
     belief, this caused a chilling effect on speech by prompting social-media companies to ramp up
22

23   their own censorship programs against disfavored speech and speakers, to preempt the risk of

24   adverse action against them by the Government.
25          197. Once in control of the Executive Branch, Defendants promptly capitalized on these
26
     threats by pressuring, cajoling, and openly colluding with social-media companies to actively
27
     suppress particular disfavored speakers and viewpoints on social media.
28

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 1          198. Defendants, those acting in concert with them, and those allied with them routinely
 2   seek to justify overt censorship of disfavored speakers and viewpoints by wrapping it in the
 3
     monikers "misinformation," "disinformation," and/or "malinformation." Their standard tactic is to
 4
     label speech that contradicts their preferred political narratives "misinformation,"
 5
     "disinformation," and "malinformation" to justify suppressing it. Other common buzzwords
 6

 7   include calls for a "healthy information ecosystem," "healthy information environment," or

 8   "healthy news environment," among others. This is the Orwellian vocabulary of censorship. It is

 9   deployed aggressively to undermine fundamental First Amendment rights.
10          199. As noted above, these labels have proven extremely unreliable. Defendants' and the
11
     political Left's ability to accurately identify "misinformation" and "disinformation" is unreliable
12
     because they apply such labels, not based on actual truth or falsity, but based on their current
13
     preferred political narrative. This has resulted, again and again, in the suppression of truthful
14

15   information under the name of "disinformation" and "misinformation.”

16                               3. White House And HHS Officials Collude With

17                                   Social-Media Firms To Suppress Speech
18
            200. Before the Biden Administration took office, on information and belief, coordination
19
     and collusion between senior HHS officials and social-media companies to censor viewpoints and
20
     speakers was already underway. Once in office, senior officials in the Biden Administration—in
21
     the White House, in HHS, and elsewhere—capitalized and greatly expanded on these efforts.
22

23          201. On information and belief, beginning on or around January or February 2020, if not

24   before, Defendant Dr. Anthony Fauci, a senior federal government official, coordinated with
25   social-media firms to police and suppress speech regarding COVID-19 on social media.
26
            202. Prior to 2020, as head of NIAID, Dr. Fauci had overseen funding of risky gain-of
27
     function research on viruses, including research at the Wuhan Institute of Virology. This included
28

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 1   research funded through intermediaries such as Dr. Peter Daszak and the EcoHealth Alliance,
 2   among others.
 3
               203. In late January and early February 2020, Dr. Fauci received information from
 4
     colleagues that suggested that the COVID-19 virus may have originated in a laboratory in Wuhan,
 5
     China. This revelation threatened to implicate Dr. Fauci in the virus's origins, as he had funded
 6

 7   the risky research that, under this theory, led to the virus's origin. Soon thereafter, Dr. Fauci

 8   participated in a conference call with scientists and science-funding authorities intended to

 9   discredit and suppress this lab-leak theory. After the conference call, influential individuals
10   signed public statements that were placed in science journals in attempt to discredit the lab-leak
11
     theory.
12
               204. In the same time frame, Dr. Fauci communicated with Facebook CEO Mark
13
     Zuckerberg directly regarding public messaging and the flow of information on social media
14

15   about the government's COVID-19 response. For example, in a series of emails produced in

16   response to FOIA requests dated from March 15 to 17, 2020, Zuckerberg invited Fauci to make

17   public statements to be posted for viewing by all Facebook users regarding COVID-19, and also
18
     made another proposal that is redacted in FOIA-produced versions but was treated as a high
19
     priority by Fauci and NIH staff.
20
               205. In an email on March 15, 2020, Zuckerberg proposed coordinating with Fauci on
21
     COVID-19 messaging to "make sure people can get authoritative information from reliable
22

23   sources," and suggested including a video message from Fauci because "people trust and want to

24   hear from experts." Zuckerberg proposed including this content in a "hub" that "we're going to
25   put at the top of Facebook" to reach "200+ million Americans, 2.5 billion people worldwide."
26
               206. In the same email, Zuckerberg made a three-line proposal to Fauci that was redacted
27

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 1   by the federal government before the email was produced in a FOIA request. 210. The next day,
 2   NIH's communications director emailed Fauci and strongly recommended that he do the videos
 3
     for Facebook. Regarding the redacted proposal from Zuckerberg, she stated: "But an even bigger
 4
     deal is his offer [REDACTED]. The sooner we get that offer up the food-chain the better." She
 5
     also stated that her staff was "standing by to discuss this with HHS and WH comms," and
 6

 7   requested authority to "determine who the best point of contact would be so the Administration

 8   can take advantage of this officer, soonest." Fauci responded that "I will write or call Mark and

 9   tell him that I am interested in doing this. I will then tell him that you will get for him the name of
10   the USG [on information and belief, shorthand for "U.S. Government"] point of contact."
11
            207. Fauci responded by email to Zuckerberg on March 17, 2020, agreeing to the
12
     collaboration that Zuckerberg proposed and describing his redacted proposal as "very exciting."
13
            208. As alleged above, around the same time frame as the Zuckerberg-Fauci emails,
14

15   Facebook and other social-media companies censored and suppressed speakers and speech

16   advocating for the lab-leak theory of COVID-19's origins, despite the overwhelming

17   circumstantial evidence favoring that theory. This censorship directly implemented the plan,
18
     orchestrated by Fauci and others in early 2020, to discredit and suppress the lab-leak theory.
19
            209. In the same timeframe, Facebook and other social-media companies began an ever
20
     increasing campaign of monitoring, censorship, and suppression of speech and speakers about
21
     COVID-19 and issues related to COVID-19. This campaign would dramatically escalate with the
22

23   advent of the Biden Administration.

24          210. On information and belief, those firms coordinated directly with Fauci, CDC, and
25   other government officials regarding censorship and suppression of disfavored speech and
26
     speakers.
27

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 1             211. For example, Facebook's "COVID and Vaccine Policy" states that Facebook "does
 2   not allow false claims about the vaccines or vaccination programs which public health experts
 3
     have advised us could lead to COVID-19 vaccine rejection." Facebook, COVID-19 and Vaccine
 4
     Policy Updates & Protections, https://www.facebook.com/help/230764881494641 (emphasis
 5
     added).
 6

 7             212. On information and belief, Fauci and CDC officials are included among those

 8   "public health experts" who "advise[]" Facebook on what to censor. Facebook also censors

 9   COVID-19 information as "false," not based on actual truth or falsity, but based on whether the
10   claim contradicts or challenges the pronouncements of Fauci and the CDC. Id. This includes
11
     strongly supported claims such as "[c]laims that wearing a face mask properly does not help
12
     prevent the spread of COVID-19," along with an elaborate list of additional disfavored content
13
     and viewpoints subject to censorship. Id.
14

15             213. On information and belief, other social-media firms have similar policies and similar

16   practices of coordinating with Fauci and the CDC and with each other, directly or indirectly, on

17   the suppression of disfavored speakers and speech.
18
               214. Such collusion between HHS officials and social-media companies on the censorship
19
     of disfavored speakers and speech accelerated once the Biden Administration took office.
20
               215. On May 5, 2021, Defendant Psaki gave a White House press conference at which she
21
     stated that "[t]he President's view is that the major platforms have a responsibility related to the
22

23   health and safety of all Americans to stop amplifying untrustworthy content, disinformation, and

24   misinformation, especially related to COVID-19, vaccinations, and elections. And we've seen that
25   over the past several months, broadly speaking.... we've seen it from a number of sources." White
26
     House, Press Briefing by Press Secretary Jen Psaki and Secretary of Agriculture Tom Vilsack,
27

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 1   May 5, 2021, at https://www.whitehouse.gov/briefing-room/pressbriefings/2021/05/05/press-
 2   briefing-by-press-secretary jen-psaki-and-secretary-of-agriculturetom-vilsack-may-5-2021 /.
 3
            216. Echoing Biden's past threats to social-media firms, Psaki immediately went on to
 4
     state that President Biden "supports better privacy protections and a robust anti-trust program."
 5
     Id. (emphasis added). She linked the threat of anti-trust enforcement to the demand for more
 6

 7   aggressive censorship by social-media platforms, stating that the President's "view is that there's

 8   more that needs to be done to ensure that this type of misinformation; disinformation; damaging,

 9   sometimes life-threatening information is not going out to the American public." Id.
10          217. At a White House press briefing with Psaki on July 15, 2021, Surgeon General Vivek
11
     Murthy announced that "health misinformation" constitutes an "urgent public health threat,"
12
     stating that he had "issued a Surgeon General's Advisory on the dangers of health misinformation.
13
     Surgeon General Advisories are reserved for urgent public health threats. And while those threats
14

15   have often been related to what we eat, drink, and smoke, today we live in a world where

16   misinformation poses an imminent and insidious threat to our nation's health." The White House,

17   Press Briefing by Press Secretary Jen Psaki and Surgeon General Dr. Vivek H. Murthy, July 15,
18
     2021, at https://www.whitehouse.gov/briefing-room/press-briefings/2021 /07/ 15/press-briefing
19
     by-press-secretary jen-psaki-and-surgeon-general-dr-vivek-h-murthy July-15-2021/.
20
            218. Surgeon General Murthy stated that "[m]odern technology companies have enabled
21
     misinformation to poison our information environment with little accountability to their users.
22

23   They've allowed people who intentionally spread misinformation — what we call `disinformation'

24   — to have extraordinary reach." Id. He accused their algorithms of "pulling us deeper and deeper
25   into a well of misinformation." Id.
26
            219. Surgeon General Murthy explicitly called for more aggressive censorship of social
27
     media speech, stating that "we're saying we expect more from our technology companies. ....
28

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 1   We're asking them to monitor misinformation more closely. We're asking them to consistently
 2   take action against misinformation super-spreaders on their platforms." Id. "
 3
            220. He also stated that "technology companies have a particularly important role" to play
 4
     in combating "misinformation." He stated: "We know that the dramatic increase in the speed —
 5
     speed and scale of spreading misinformation has, in part, been enabled by these platforms. So
 6

 7   that's why in this advisory today, we are asking them to step up. We know they have taken some

 8   steps to address misinformation, but much, much more has to be done. And we can't wait longer

 9   for them to take aggressive action because it's costing people their lives." Id.
10          221. He also stated: "we are asking technology companies to help lift up the voices of
11
     credible health authorities.... [T]hey have to do more to reduce the misinformation that's out there
12
     so that the true voices of experts can shine through." Id.
13
            222. At the same press briefing, after the Surgeon General spoke, Defendant Psaki stated:
14

15   "[W]e are in regular touch with these social media platforms, and those engagements typically

16   happen through members of our senior staff, but also members of our COVID-19 team, given, as

17   Dr. Murthy conveyed, this is a big issue of misinformation, specifically on the pandemic." Id.
18
     (emphasis added). She added, "We're flagging problematic posts for Facebook that spread
19
     disinformation." Id. (emphasis added). She stated, "we have recommended—proposed that they
20
     create a robust enforcement strategy," i.e., a more aggressive censorship program. Id.
21
            223. Psaki called on social-media companies to censor particular disfavored speakers,
22

23   stating: "[T]here's about 12 people who are producing 65 percent of anti-vaccine misinformation

24   on social media platforms. All of them remain active on Facebook, despite some even being
25   banned on other platforms, including Facebook — ones that Facebook owns." Id. And she called
26
     on Facebook and other social-media companies to censor disfavored content and disfavored
27
     viewpoints: "[I]t's important to take faster action against harmful posts. As you all know,
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 1   information travels quite quickly on social media platforms; sometimes it's not accurate. And
 2   Facebook needs to move more quickly to remove harmful, violative posts — posts that will be
 3
     within their policies for removal often remain up for days. That's too long. The information
 4
     spreads too quickly." Id.
 5
             224. She stated that "[w]e engage with them [i.e., social-media companies] regularly and
 6

 7   they certainly understand what our asks are." Id. (emphasis added). She stated that, "we've made a

 8   calculation to push back on misinformation," and that "we are working to combat misinformation

 9   that's traveling online." Id.
10           225. The same day, the Surgeon General released his advisory regarding "health
11
     misinformation." It defined "health misinformation" as "information that is false, inaccurate, or
12
     misleading according to the best available evidence at the time. Misinformation has caused
13
     confusion and led people to decline COVID-19 vaccines, reject public health measures such as
14

15   masking and physical distancing, and use unproven treatments." Confronting Health

16   Misinformation: The U.S. Surgeon General's Advisory on Building a Healthy Information

17   Environment, at 4 (July 15, 2021), at https://www.hhs.gov/sites/default/files/surgeon-
18
     generalmisinformation-advisory.pdf.
19
             226. The Surgeon General's advisory called for social-medial companies to "make
20
     meaningful long-term investments to address misinformation, including product changes," to
21
     "[r]edesign recommendation algorithms to avoid amplifying misinformation," to "build in
22

23   `frictions'— such as suggestions and warnings—to reduce the sharing of misinformation," and to

24   "make it easier for users to report misinformation." Id. at 12. It called on social-media companies
25   to "[s]trengthen the monitoring of misinformation," and to censor disfavored speakers swiftly and
26
     aggressively: "Prioritize early detection of misinformation `super-spreaders' and repeat offenders.
27
     Impose clear consequences for accounts that repeatedly violate platform policies." Id.
28

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 1          227. Facebook responded by stating that it was, in fact, aggressively censoring "health
 2   misinformation," and coordinating with the Government to do so. "A Facebook spokesperson said
 3
     the company has partnered with government experts, health authorities and researchers to take
 4
     `aggressive action against misinformation about COVID-19 and vaccines to protect public
 5
     health." White House Slams Facebook as Conduit for COVID-19 Misinformation, REUTERS
 6

 7   (July 15, 2021), at https://www.reuters.com/world/us/us-surgeon-general-warns-over-covid-l9-

 8   misinformation-2021-07-15/ (emphasis added). "So far we've removed more than 18 million

 9   pieces of COVID misinformation, [and] removed accounts that repeatedly break these rules...,'
10   the spokesperson added." Id.
11
            228. Facebook stated that it "has introduced rules against making certain false claims
12
     about COVID-19 and its vaccines." Id.
13
            229. The next day, July 16, 2021, a reporter asked President Biden what he thought of
14

15   COVID misinformation on social media, and he responded, referring to platforms like Facebook,

16   by stating: "They're killing people." They're Killing People: Biden Denounces Social Media for

17   Virus Disinformation, N.Y. TIMES (July 16, 2021), at
18
     https://www.nytimes.com/2021/07/16/us/politics/biden-facebook-social-media-covid.html. The
19
     New York Times reported that "this week, White House officials went further and singled out
20
     social media companies for allowing false information to proliferate. That came after weeks of
21
     failed attempts to get Facebook to turn over information detailing what mechanisms were in place
22

23   to combat misinformation about the vaccine, according to a person familiar with the matter." Id.

24          230. The same day, July 16, 2021, Psaki explicitly called for social-media companies to
25   coordinate with each other in censoring disfavored speakers, to ensure that such speakers are
26
     completely muzzled. "You shouldn't be banned from one platform and not others ... for providing
27
     misinformation out there." White House, Press Briefing by Press Secretary Jen Psaki, July 16,
28

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 1   2021, at https://www.whitehouse.gov/briefing-room/press-briefings/2021/07/16/press-briefingby-
 2   press-secretary jen-psaki July-16-2021/.
 3
            231. On information and belief, social-media companies have heeded this demand, and
 4
     they do, in fact, coordinate extensively with each other in censorship of disfavored speakers,
 5
     speech, and viewpoints on social media.
 6

 7          232. Psaki also demanded that social-media companies "create robust enforcement

 8   strategies," "takee] faster action against harmful posts," and "promot[e] quality information

 9   algorithms"—which is a euphemism for algorithms that suppress disfavored messages. Id. When
10   asked whether Facebook's already-aggressive censorship—it claimed to have suppressed 18
11
     million pieces of COVID-19-related "misinformation"—was "sufficient," she responded, "Clearly
12
     not, because we're talking about additional steps that should be taken." Id.
13
            233. Four days later, July 20, 2021, the White House explicitly threatened to amend or
14

15   repeal the liability protections of § 230 of the Communications Decency Act if social-media

16   companies did not increase censorship of disfavored speakers and viewpoints. `They Should Be

17   Held Accountable': White House Reviews Platforms' Misinformation Liability, USA TODAY
18
     (July 20, 2021), at https://www.usatoday.com/story/news/politics/202 1/07/20/white-house-
19
     reviewssection-230-protections-covid-misinformation/80242 10002/. The White House
20
     communications director announced that "[t]he White House is assessing whether social media
21
     platforms are legally liable for misinformation spread on their platforms." Id. "We're reviewing
22

23   that, and certainly, they should be held accountable," she said. Id.

24          234. She "specified the White House is examining how misinformation fits into the
25   liability protections granted by Section 230 of the Communications Decency Act, which shields
26
     online platforms from being responsible for what is posted by third parties on their sites." Id.
27
     Media reported that, in connection with this threat, "Relations are tense between the Biden
28

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 1   administration and social media platforms, specifically Facebook, over the spread of
 2   misinformation online." Id.; see also, e.g., White House says social media networks should be
 3
     held accountable for spreading misinformation, CNBC.com (July 20, 2021), at
 4
     https://www.cnbc.com/2021 /07/20/white-house-social-networks-should-be-held-accountable for
 5
     spreading-misinfo.html. When asked whether the President is "open to amending 230 when
 6

 7   Facebook and Twitter and other social media outlets spread false information that cause

 8   Americans harm, shouldn't they be held accountable in a real way?" White House

 9   Communications Director Bedingfield responded, "We're reviewing that and certainly they
10   should be held accountable. And I think you heard the president speak very aggressively about
11
     this. He understands that this is an important piece of the ecosystem." Id.
12
            235. After this series of public statements, responding to "White House pressure,"
13
     Facebook censored the accounts of the 12 specific disfavored speakers whom Psaki accused of
14

15   spreading health misinformation. Facebook takes action against `disinformation dozen' after

16   White House pressure, CNN.com (Aug. 18, 2021), at

17   https://www.cnn.com/2021/08/18/tech/facebook-disinformation-dozen/index.html. Psaki had
18
     "hammered the platform in July for allowing the people identified in the report to remain on its
19
     platform." Id. After they were singled out for censorship by the White House, Facebook
20
     "removed over three dozen Pages, groups and Facebook or Instagram accounts linked to these 12
21
     people, including at least one linked to each of the 12 people, for violating our policies." Id
22

23          236. In the same time frame, Twitter permanently suspended the account of prominent

24   lockdown critic Alex Berenson, despite repeated reassurances from high-level Twitter executives
25   that his account was safe, just days after Dr. Fauci singled him out as a danger for suggesting
26
     young people might reasonably decline the vaccine.
27

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 1           237. On October 29, 2021, the Surgeon General tweeted from his official account (as
 2   opposed to his personal account, which remains active), in a thread: "We must demand Facebook
 3
     and the rest of the social media ecosystem take responsibility for stopping health misinformation
 4
     on their platforms. The time for excuses and half measures is long past. We need transparency
 5
     and accountability now. The health of our country is at stake." See https://twitter.com/Surgeon_
 6

 7   General/status/ 1454181191494606854. 240. Defendants' response to this censorship was to

 8   demand still more censorship by social-media platforms, including but not limited to Facebook.

 9   "[A]fter Facebook's action against the `disinformation dozen,' a White House spokesperson
10   continued to strongly criticize the company." Id. "In the middle of a pandemic, being honest and
11
     transparent about the work that needs to be done to protect public health is absolutely vital, but
12
     Facebook still refuses to be straightforward about how much misinformation is circulating—and
13
     being actively promoted— on their platform,' a White House spokesperson told CNN Business.
14

15   `It's on everyone to get this right so we can make sure the American people are getting accurate

16   information to protect the health of themselves and their loved ones -- which is why the

17   Administration will continue to push leaders, media outlets, and leading sources of information
18
     like Facebook to meet those basic expectations,' the spokesperson added." Id.
19
            238. On February 1, 2022, Psaki was asked at a White House press conference whether
20
     the Administration was satisfied with Spotify's decision to affix advisory warnings to Joe Rogan's
21
     immensely popular podcast, which featured speakers that contradicted the Administration's
22

23   messaging about COVID-19 and vaccines, or whether the government "think[s] that companies

24   like Spotify should go further than just, you know, putting a label on" disfavored viewpoints and
25   speakers. Psaki responded by demanding that Spotify and other platforms "do[] more" to block
26
     disfavored speech: "[O]ur hope is that all major tech platforms ... be vigilant to ensure the
27
     American people have access to accurate information on something as significant as COVID-19.
28

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 1   So, this disclaimer — it's a positive step. But we want every platform to continue doing more to
 2   call out ... mis- and disinformation while also uplifting accurate information." She stated that
 3
     Spotify's advisory warnings are "a good step, it's a positive step, but there's more that can be
 4
     done." White House, Press Briefing by Press Secretary Jen Psaki, February 1, 2022 (emphases
 5
     added), at https://www.whitehouse.gov/briefing-room/press-briefings/2022/02/01/press-
 6

 7   briefingby-press-secretary j en-psaki-february-1-2022/.

 8            239. On March 3, 2022, the Surgeon General issued a formal "Request for Information"

 9   on the "Impact of Health Misinformation" on social media. HHS, Impact of Health
10   Misinformation in the Digital Information Environment in the United States Throughout the
11
     COVID-19 Pandemic Request for Information (RFI), 87 Fed. Reg. 12,712-12,714 (March 2,
12
     2022).
13
              240. In the RFI, "[t]he Office of the Surgeon General requests input from interested
14

15   parties on the impact and prevalence of health misinformation in the digital information

16   environment during the COVID-19 pandemic." Id. at 12,712. The RFI states that "the speed,

17   scale, and sophistication with which misinformation has been spread during the COVID-19
18
     pandemic has been unprecedented," and it implies that social-media companies are to blame,
19
     carrying a clear threat of future regulation: "This RFI seeks to understand both the impact of
20
     health misinformation during the COVID-19 pandemic and the unique role that technology and
21
     social media platforms play in the dissemination of critical health information during a public
22

23   health emergency." Id. at 12,713.

24            241. The RFI seeks specific information about health "misinformation" on such
25   socialmedia platforms: "Information about how widespread COVID-19 misinformation is on
26
     individual technology platforms including: General search engines, content sharing platforms,
27

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 1   social media platforms, e-commerce platforms, crowd sourced platforms, and instant messaging
 2   systems." Id.
 3
            242. The RFI seeks: "Any aggregate data and analysis on how many users were exposed,
 4
     were potentially exposed, or otherwise engaged with COVID-19 misinformation," where
 5
     "[e]xposure is defined as seeing content in newsfeeds, in search results, or algorithmically
 6

 7   nominated content," and "[p]otential exposure is the exposure users would have had if they could

 8   see all the content that is eligible to appear within their newsfeeds." Id. at 12,714. It also seeks

 9   "[i]nformation about COVID-19 misinformation policies on individual technology platforms,"
10   including "[a]ny aggregate data and analysis of technology platform COVID-19 misinformation
11
     policies including implementation of those policies and evaluations of their effectiveness." Id.
12
            243. Media reports aptly described Murthy as "demand[ing]" information about the major
13
     sources of COVID-19 misinformation by May 2, 2022. Brad Dress, Surgeon General Demands
14

15   Data on COVID-19 Misinformation from Major Tech Firms, THE HILL (March 3, 2022), at

16   https://thehill.com/policy/healthcare/596709-surgeon-general-demands-data-on-covid-l9-

17   misinformation-from-major-tech/. "In a formal notice, Murthy requested major tech platforms
18
     submit information about the prevalence and scale of COVID-19 misinformation on their sites,
19
     from social networks, search engines, crowdsourced platforms, e-commerce platforms and instant
20
     messaging systems." Id. "In his notice to major tech platforms, Murthy is requesting specific
21
     information on demographics affected by misinformation as well as sources of misinformation
22

23   and `exactly how many users saw or may have been exposed to instances of Covid-19

24   misinformation." Id.
25          244. On or around July 27, 2022, a limited number of emails between CDC officials and
26
     representatives of social-media platforms from late 2020 and early months of 2021 became
27
     publicly available, over a year after they had been requested under FOIA. These newly revealed
28

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 1   emails—allegations of collusion between HHS officials and social-media platforms to censor
 2   disfavored speech, speakers, and viewpoints, as alleged herein.
 3
            245. These emails indicate that Defendant Carol Y. Crawford of CDC and other CDC
 4
     officials frequently communicated and coordinated with social-media platforms, including
 5
     Facebook/Meta, Twitter, Google/YouTube, and Instagram, regarding the censorship of speech on
 6

 7   social-media platforms, including flagging specific content for censorship. During 2021,

 8   Crawford organized "Be On the Lookout" or "BOLO" meetings on "misinformation" with

 9   representatives of social-media platforms—including Twitter, Facebook/Meta, and
10   Google/YouTube—in which she and other federal officials colluded and/or collude with those
11
     platforms about speech to target for suppression. These meetings include Crawford and other
12
     federal officials flagging specific social-media posts for censorship and providing examples of the
13
     types of posts to censor. Crawford emailed "slides" from the "BOLO" meetings to participants
14

15   afterwards. These slides included repeated examples of specific posts on social-media platforms

16   flagged for censorship. The slides called for "all" social-media platforms to "Be On the Lookout"

17   for such posts. Crawford cautioned the meeting participants, with respect to these slides, "[p]lease
18
     do not share outside your trust and safety teams."
19
             246. Officials of the Census Bureau participated and/or participate in these BOLO
20
     meetings, including Defendant Jennifer Shopkorn and Christopher Lewitzke, who is a Senior
21
     Digital Marketing Associate with Reingold, a communications firm that was, on information and
22

23   belief, acting on behalf of the Census Bureau. Crawford's emails indicate that the Census Bureau

24   and its officials and agents, such as Lewitzke and Shopkorn, play an important, active, and
25   ongoing role in colluding with social-media platforms to censor disfavored speech. On March 18,
26
     2021, Crawford emailed Twitter officials and stated that "[w]e are working on a project with
27
     Census to leverage their infrastructure to identify and monitor social media for vaccine
28

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 1   misinformation," and stated that "[w]e would like the opportunity to work with your trust team on
 2   a regular basis to discuss what we are seeing." She also noted that "I understand that you did this
 3
     with Census last year as well." Twitter responded by stating, "With our CEO testifying before
 4
     Congress this week is tricky," but otherwise agreed to the collusive arrangement. Likewise, in
 5
     subsequent emails to Twitter (on May 6) and Facebook (on May 10), Crawford noted to the
 6

 7   social-media platform officials that "[o]ur census team," i.e., Lewitzke and Shopkom, who were

 8   cc'ed on the emails, "has much more info on it if needed" regarding "some example posts" of

 9   "misinfo" that she flagged for censorship.
10          247. Defendants Crawford and others, including the Census officials and agents Lewitzke
11
     and Shopkorn, took other steps to procure the censorship of disfavored speech on social media.
12
     For example, on May 10, 2021, Crawford emailed Twitter officials to flag "two issues that we are
13
     seeing a great deal of misinfo about," noting that Lewitzke and Shopkorn "ha[ve] much more info
14

15   on it if needed." The same email included 13 specific Twitter posts as examples of the sort of

16   posts to be censored. On May 6, 2021, Crawford sent a similar email to Meta/Facebook officials,

17   also copying Lewitzke and Shophorn and stating that they have "much more info" about the issue;
18
     this email included 16 specific posts from Facebook and Instagram as examples of posts to be
19
     targeted for censorship. On May 12, 2021, Crawford emailed Facebook officials to flag "some
20
     new info on myths your misinfo folks might be interested in," with links to specific issues of
21
     "misinformation" for Facebook to censor. On April 9, 2021, Crawford agreed with a Twitter
22

23   official that CDC would provide "examples of problematic content" posted on Twitter, and the

24   Twitter official noted that "all examples of misinformation are helpful." Calendar invites from
25   early 2021 indicate that Crawford, Jay Dempsey, and other CDC officials participated in
26
     Facebook's "weekly sync with CDC," with "CDC to invite other agencies as needed."
27

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 1          248. In another exchange of emails, Crawford agreed with Facebook officials that CDC
 2   would participate in a COVID-19 "misinfo reporting channel," and arranged for CDC officials to
 3
     have training on the use of Facebook's "misinfo reporting channel." On information belief,
 4
     Crawford's "team" at CDC, as well as Shopkom and Lewitzke from Census, were "onboarded"
 5
     onto Facebook's "misinfo reporting channel." A calendar invite in May 2021 included Crawford,
 6

 7   Lewitzke, Shopkorn, other CDC officials, and other Reingold employees who were, on

 8   information and belief, acting on behalf of the Census Bureau, to participate in the "onboarding"

 9   onto Facebook's "misinfo reporting channel."
10          249. Crawford's communications with Facebook indicate that CDC, the Census Bureau,
11
     and other government agencies collaborate with Facebook to flag speech regarding both
12
     COVID19 and elections for censorship using "CrowdTangle," which Facebook describes as "a
13
     Facebook tool that tracks how content spreads online." An email from a Facebook official to
14

15   Crawford stated that, using CrowdTangle, "[w]hen health departments flag potential vaccine

16   misinformation on Facebook and Instagram, we review and remove the content if it violates our

17   policies... This is similar to how governments and fact-checkers use CrowdTangle ahead of
18
     elections...." (Emphasis added.)
19
            250. Additional communications between CDC and social-media platforms [produced
20
     and compelled by Court orders] reflect an ongoing, close, and continuing collaboration,
21
     effectively amounting to a joint enterprise, on censorship of COVID-19 "misinformation" and
22

23   related issues. For example, the communications reflect close coordination on creating and

24   publishing content on behalf of CDC on social-media platforms, and artificially "amplifying"
25   government messaging on social-media to the suppression of private messaging, including a gift
26
     of $15 million in Facebook ad credits from Facebook to CDC. They also reflect close
27
     coordination on amplifying CDC's content and other related issues.
28

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 1                                 4. White House And DHS Officials Collude
 2                               With Social-Media Firms To Suppress Speech.
 3
            251. On information and belief, senior officials in the Biden Administration and the
 4
     Department of Homeland Security are also colluding with social-media companies to suppress
 5
     disfavored speakers and viewpoints. These efforts include censorship of disfavored content and
 6

 7   viewpoints about election integrity and COVID-19, among other topics, under the guise of

 8   suppressing "misinformation" and "domestic terrorism." These efforts culminated with the

 9   Orwellian announcement of the creation of a "Disinformation Governance Board" within DHS.
10   255. A direct forum for government officials to call for social-media censorship of election-
11
     related "misinformation" was already in place during the general election cycle of 2020.
12
            252. In August 2020, social-media firms "met with federal government officials to discuss
13
     how to handle misinformation during this month's political conventions and election results this
14

15   fall." Ingram et al., Big Tech met with govt to discuss how to handle election results, NBC News

16   (Aug. 20, 2022), at https://www.nbcnews.com/tech/tech-news/big-tech-met-gov-tdiscuss-how-

17   handle-election-results-n 1236555.
18
            253. This was one of a "series" of meetings between major social-media companies and
19
     government officials about the suppression of election-related "misinformation": "We held the
20
     latest in a series of meetings with government partners today where we each provided updates on
21
     what we're seeing on our respective platforms and what we expect to see in the coming months,'
22

23   companies including Google, Facebook, Twitter and Reddit said in a joint statement after the

24   meeting." Id. "The statement also included Microsoft, Verizon Media, Pinterest, LinkedIn and the
25   Wikimedia Foundation, which operates Wikipedia and other sites." Id.
26
            254. The discussion was reported as "one in a series of monthly meetings between the
27
     government and tech companies" and involved "back-and-forth conversation on a variety of
28

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 1   topics." Id. Neither the "topics" of the "conversation" nor the particular participants on behalf of
 2   the government were disclosed. Id. "According to the industry statement, participants in
 3
     Wednesday's meeting also included representatives from the FBI's foreign influence task force,
 4
     the Justice Department's national security division, the Office of the Director of National
 5
     Intelligence and the Cybersecurity and Infrastructure Security Agency." Id. "The companies said
 6

 7   they would continue to meet regularly before the November election." Id.

 8          255. On September 28, 2020, the Biden-Harris campaign sent a letter to Facebook

 9   demanding that Facebook take "more aggressive" action to censor statements by President Trump
10   and the Trump campaign that raised concerns about election security and the security of voting by
11
     mail. Sept. 28, 2020 Biden-Harris Letter, https://www.documentcloud.org/documents/7219497-
12
     Facebook-Letter-9-28.html. The letter accused Facebook of being a "propagator of
13
     disinformation" for refusing to censor the rival campaign's core political speech, thus promoting
14

15   "distrust in our democracy" and threatening to "undermine democracy." Id. The Biden-Harris

16   campaign described the Trump campaign's political speech as "dangerous claptrap" and argued

17   that "[r]emoving this video should have been the easiest of calls." Id. The letter demanded that
18
     Facebook "remove Mr. Trump's posts, which violate your policies." Id. (underline in original).
19
     260. The same letter complained that Facebook's "algorithm" permitted Trump's political speech
20
     to reach millions of people. It complained about the successful reach on Facebook of political
21
     speech that it opposed, bemoaning the fact that "a hyperpartisan propaganda organ like the Daily
22

23   Wire is Facebook's top web publisher." Id. The Biden-Harris campaign accused Facebook of

24   allowing speech that it favored "to be drowned out by a storm of disinformation." Id. 75 And it
25   concluded, "We will be calling out those failures [to censor Trump's political speech] as they
26
     occur over the coming 36 days," i.e., until the November 2020 general election. Id.
27

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 1           256. On information and belief, responding to prior threats from Defendants and those
 2   acting in concert with them, Facebook complied with this demand and did engage in "more
 3
     aggressive" censorship of the Trump campaign's core political speech from then on, resulting in
 4
     an aggressive campaign to suppress President Trump and his campaign's political speech,
 5
     especially on issues related to election security. In the wake of the Biden-Harris letter, Facebook
 6

 7   declared that it "won't allow ads with content that seeks to delegitimize the outcome of an

 8   election," and it ramped up censorship of Trump's political speech thereafter.

 9           257. As one commentator noted, "It's no surprise that Facebook's policy change happened
10   the same week that the Biden campaign demanded Trump's Facebook posts be censored."
11
     Alexander Hall, Liberal Media Used to Warn Against Mailing Votes; Now Big Tech, Left Are
12
     Protecting It (Oct. 30, 2020), at https://www.newsbusters.org/blogs/freespeech/alexander-
13
     hall/2020/ 10/30/liberal-media-used-warn-against-mailing-votes-now-big. 263. At the same time,
14

15   "Twitter also modified its rules, stating: `we may label and reduce the visibility of Tweets

16   containing false or misleading information about civic processes in order to provide additional

17   context' in its Civic integrity policy." Id.
18
             258. Both platforms ramped up censorship of core political speech of President Trump
19
     and his campaign, as well as core political speech by others favoring their messages and
20
     campaigns, in the critical final month before the 2020 general election, resulting in egregious acts
21
     of censorship. These acts of censorship included suppression of expressions of concern about
22

23   election security as a result of the massive increase in voting by mail during the 2020 general

24   election.
25           259. In another exchange of emails, Crawford agreed with Facebook officials that CDC
26
     would participate in a COVID-19 "misinfo reporting channel," and arranged for CDC officials to
27
     have training on the use of Facebook's "misinfo reporting channel." On information belief,
28

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 1   Crawford's "team" at CDC, as well as Shopkom and Lewitzke from Census, were "onboarded"
 2   onto Facebook's "misinfo reporting channel." A calendar invite in May 2021 included Crawford,
 3
     Lewitzke, Shopkorn, other CDC officials, and other Reingold employees who were, on
 4
     information and belief, acting on behalf of the Census Bureau, to participate in the "onboarding"
 5
     onto Facebook's "misinfo reporting channel."
 6

 7           260. Crawford's communications with Facebook indicate that CDC, the Census Bureau,

 8   and other government agencies collaborate with Facebook to flag speech regarding both

 9   COVID19 and elections for censorship using "CrowdTangle," which Facebook describes as "a
10   Facebook tool that tracks how content spreads online." An email from a Facebook official to
11
     Crawford stated that, using CrowdTangle, "[w]hen health departments flag potential vaccine
12
     misinformation on Facebook and Instagram, we review and remove the content if it violates our
13
     policies... This is similar to how governments and fact-checkers use CrowdTangle ahead of
14

15   elections...." (Emphasis added.) 253. Additional communications between CDC and social-media

16   platforms reflect an ongoing, close, and continuing collaboration, effectively amounting to a joint

17   enterprise, on censorship of COVID-19 "misinformation" and related issues. For example, the
18
     communications reflect close coordination on creating and publishing content on behalf of CDC
19
     on social-media platforms, and artificially "amplifying" government messaging on social-media
20
     to the suppression of private messaging, including a gift of $15 million in Facebook ad from
21
     Facebook to CDC. They also reflect close coordination on amplifying CDC's content and other
22

23   related issues.

24

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 1                                 4. White House And DHS Officials Collude
 2                               With Social-Media Firms To Suppress Speech.
 3
            261. On information and belief, senior officials in the Biden Administration and the
 4
     Department of Homeland Security are also colluding with social-media companies to suppress
 5
     disfavored speakers and viewpoints. These efforts include censorship of disfavored content and
 6

 7   viewpoints about election integrity and COVID-19, among other topics, under the guise of

 8   suppressing "misinformation" and "domestic terrorism." These efforts culminated with the

 9   Orwellian announcement of the creation of a "Disinformation Governance Board" within DHS.
10   255. A direct forum for government officials to call for social-media censorship of election-
11
     related "misinformation" was already in place during the general election cycle of 2020.
12
            262. In August 2020, social-media firms "met with federal government officials to discuss
13
     how to handle misinformation during this month's political conventions and election results this
14

15   fall." Ingram et al., Big Tech met with govt to discuss how to handle election results, NBC News

16   (Aug. 20, 2022), at https://www.nbcnews.com/tech/tech-news/big-tech-met-gov-tdiscuss-how-

17   handle-election-results-n 1236555.
18
            263. This was one of a "series" of meetings between major social-media companies and
19
     government officials about the suppression of election-related "misinformation": "We held the
20
     latest in a series of meetings with government partners today where we each provided updates on
21
     what we're seeing on our respective platforms and what we expect to see in the coming months,'
22

23   companies including Google, Facebook, Twitter and Reddit said in a joint statement after the

24   meeting." Id. "The statement also included Microsoft, Verizon Media, Pinterest, LinkedIn and the
25   Wikimedia Foundation, which operates Wikipedia and other sites." Id.
26
            264. The discussion was reported as "one in a series of monthly meetings between the
27
     government and tech companies" and involved "back-and-forth conversation on a variety of
28

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 1   topics." Id. Neither the "topics" of the "conversation" nor the particular participants on behalf of
 2   the government were disclosed. Id. "According to the industry statement, participants in
 3
     Wednesday's meeting also included representatives from the FBI's foreign influence task force,
 4
     the Justice Department's national security division, the Office of the Director of National
 5
     Intelligence and the Cybersecurity and Infrastructure Security Agency." Id. "The companies said
 6

 7   they would continue to meet regularly before the November election." Id.

 8          265. On September 28, 2020, the Biden-Harris campaign sent a letter to Facebook

 9   demanding that Facebook take "more aggressive" action to censor statements by President Trump
10   and the Trump campaign that raised concerns about election security and the security of voting by
11
     mail. Sept. 28, 2020 Biden-Harris Letter, https://www.documentcloud.org/documents/7219497-
12
     Facebook-Letter-9-28.html. The letter accused Facebook of being a "propagator of
13
     disinformation" for refusing to censor the rival campaign's core political speech, thus promoting
14

15   "distrust in our democracy" and threatening to "undermine democracy." Id. The Biden-Harris

16   campaign described the Trump campaign's political speech as "dangerous claptrap" and argued

17   that "[r]emoving this video should have been the easiest of calls." Id. The letter demanded that
18
     Facebook "remove Mr. Trump's posts, which violate your policies." Id. (underline in original).
19
            266. The same letter complained that Facebook's "algorithm" permitted Trump's political
20
     speech to reach millions of people. It complained about the successful reach on Facebook of
21
     political speech that it opposed, bemoaning the fact that "a hyperpartisan propaganda organ like
22

23   the Daily Wire is Facebook's top web publisher." Id. The Biden-Harris campaign accused

24   Facebook of allowing speech that it favored "to be drowned out by a storm of disinformation." Id.
25   And it concluded, "We will be calling out those failures [to censor Trump's political speech] as
26
     they occur over the coming 36 days," i.e., until the November 2020 general election. Id.
27

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 1           267. On information and belief, responding to prior threats from Defendants and those
 2   acting in concert with them, Facebook complied with this demand and did engage in "more
 3
     aggressive" censorship of the Trump campaign's core political speech from then on, resulting in
 4
     an aggressive campaign to suppress President Trump and his campaign's political speech,
 5
     especially on issues related to election security. In the wake of the Biden-Harris letter, Facebook
 6

 7   declared that it "won't allow ads with content that seeks to delegitimize the outcome of an

 8   election," and it ramped up censorship of Trump's political speech thereafter.

 9           268. As one commentator noted, "It's no surprise that Facebook's policy change happened
10   the same week that the Biden campaign demanded Trump's Facebook posts be censored."
11
     Alexander Hall, Liberal Media Used to Warn Against Mailing Votes; Now Big Tech, Left Are
12
     Protecting It (Oct. 30, 2020), at https://www.newsbusters.org/blogs/freespeech/alexander-
13
     hall/2020/ 10/30/liberal-media-used-warn-against-mailing-votes-now-big.
14

15           269. At the same time, "Twitter also modified its rules, stating: `we may label and reduce

16   the visibility of Tweets containing false or misleading information about civic processes in order

17   to provide additional context' in its Civic integrity policy." Id.
18
             270. Both platforms ramped up censorship of core political speech of President Trump
19
     and his campaign, as well as core political speech by others favoring their messages and
20
     campaigns, in the critical final month before the 2020 general election, resulting in egregious acts
21
     of censorship. These acts of censorship included suppression of expressions of concern about
22

23   election security as a result of the massive increase in voting by mail during the 2020 general

24   election.
25           271. In perhaps the most notorious example, as noted above, Twitter, Facebook, and other
26
     social-media companies censored the New York Post's entirely truthful and carefully sourced
27
     article about Hunter Biden's laptop on October 14, 2020, as discussed further above. This
28

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 1   censorship included locking the New York Post's social-media accounts for weeks until after the
 2   election.
 3
            272. According to one survey, sixteen percent of Biden voters polled stated that they
 4
     would have changed their votes if they had known about the Hunter Biden laptop story before the
 5
     election, which could have changed the outcome of the election.
 6

 7          273. This censorship required deliberate, aggressive action by social-media firms.

 8   "Facebook moderators had to manually intervene to suppress a controversial New York Post story

 9   about Hunter Biden, according to leaked moderation guidelines seen by the Guardian." Facebook
10   leak reveals policies on restricting New York Post's Biden story, THE GUARDIAN (Oct. 30,
11
     2020), at https://www.theguardian.com/technology/2020/oct/30/facebook-leak-reveals-
12
     policiesrestricting-new-york-post-biden-story.
13
            274. At the time, Facebook claimed that the censorship of the Hunter Biden laptop story
14

15   was "part of our standard process to reduce the spread of misinformation. We temporarily reduce

16   distribution pending factchecker review." Id. But this was not true. In fact, Facebook imposed

17   "special treatment" on the New York Post to suppress the story, which included "manually
18
     overrid[ing]" Facebook's own guidelines for suppressing so-called "misinformation." Id.
19
            275. On December 10, 2020, nine Democratic House Members in the so-called
20
     "Congressional Task Force on Digital Citizenship" (a group of exclusively Democratic members
21
     of Congress) sent a letter to President-elect Biden, calling for the incoming Administration to
22

23   create task forces that would increase censorship of "disinformation and misinformation" on

24   social media. Dec. 10, 2020 Letter of Rep. Wexton, et al., at
25   https://wexton.house.gov/uploadedfiles/12. 10.20_house_democrats_disinformation_roadmapto
26
     _president-elect_biden.pdf.
27

28

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 1          276. The letter decried the rise of "news environments online, which report vastly
 2   different information and do not offer the same editorial standards to protect against
 3
     disinformation and misinformation that traditional news media do." Id. It criticized social-media
 4
     platforms for failing to censor "disinformation" more aggressively: "As social media platforms
 5
     post record revenues from engagement, they seldom act as responsible information gatekeepers
 6

 7   and, in fact, have financial incentives to direct users to posts that are false, misleading, or

 8   emotionally manipulative." Id.

 9          277. The letter called on President-elect Biden to "[s]upport collaboration between
10   government and civic organizations to combat dangerous propaganda." Id. The letter
11
     acknowledged that "social media platforms have taken some steps to limit the spread of harmful
12
     disinformation and misinformation over the past year," but urged that these steps were not nearly
13
     enough, arguing that "we can still see how easily this content is posted and amplified by bad
14

15   actors and unknowing citizens," that "platforms have financial incentives for engaging posts to

16   reach larger audiences, regardless of the content," and that "computer algorithms still make up a

17   majority of content moderation, and platforms have at times refused to take action against
18
     accounts and groups promoting violence and hate speech." Id.
19
            278. The letter called for President-elect Biden to deploy the U.S. Department of Justice
20
     and the Department of Homeland Security to combat "disinformation," and it called for more
21
     direct government involvement in policing the content of political speech on social media
22

23   platforms, in order to "build citizen resilience to disinformation and support a healthy information

24   ecosystem"— which is Newspeak for viewpoint- and content-based censorship.
25          279. In announcing the letter, its lead signer, Rep. Wexton, openly stated that Americans
26
     lack the sophistication to make their own judgments about truth and falsity of online speech, and
27
     that government-approved "gatekeepers" of information should be imposed: "In the letter, the
28

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 1   Members recognize that, while a growing number of people in the U.S. are getting their news
 2   from social media platforms, many Americans are ill-equipped to recognize and sift through false,
 3
     misleading, or emotionally manipulative posts. Additionally, there exists a lack of effective
 4
     information gatekeepers to protect against disinformation threats online." See Dec. 10, 2020
 5
     News Release, https://wexton.house.gov/news/documentsingle.aspx?DocumentlD=431.
 6

 7           280. Consistent with this letter, the Biden Administration launched several initiatives

 8   designed to inject the power and authority of federal agencies like DHS into policing

 9   "disinformation" and "misinformation" online—which, all too often, means censoring core
10   political speech disfavored by government officials.
11
             281. On information and belief, DHS and its officials are actively engaged in this project
12
     of procuring the censorship of disfavored speakers, content, and viewpoints in speech about
13
     election integrity.
14

15           282. On May 3, 2021, it was reported that DHS intended to "partner with private firms,"

16   i.e., social-media companies, to monitor disfavored speech online. Biden team may partner with

17   private firms to monitor extremist chatter online, CNN.com (May 3, 2021), at
18
     https://www.cnn.com/2021 /05/03/politics/dhs-partner-private-firms-surveil-suspected-
19
     domesticterrorists/index.html. The purpose of these "partnerships" was to evade legal,
20
     constitutional, and ethical problems with DHS's direct surveillance of online speech: "The
21
     Department of Homeland Security is limited in how it can monitor citizens online without
22

23   justification and is banned from activities like assuming false identities to gain access to private

24   messaging apps." Id. "Instead, federal authorities can only browse through unprotected
25   information on social media sites like Twitter and Facebook and other open online platforms." Id.
26
     "The plan being discussed inside DHS, according to multiple sources, would, in effect, allow the
27
     department to circumvent those limits." Id. "Outsourcing some information gathering to outside
28

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 1   firms would give DHS the benefit of tactics that it isn't legally able to do in-house, such as using
 2   false personas to gain access to private groups used by suspected extremists, sources say." Id.
 3
            283. As noted above, on May 5, 2021, Defendant Psaki stated at a White House press
 4
     conference that "[t]he President's view is that the major platforms have a responsibility related to
 5
     the health and safety of all Americans to stop amplifying untrustworthy content, disinformation,
 6

 7   and misinformation, especially related to COVID-19, vaccinations, and elections." White House,

 8   Press Briefing by Press Secretary Jen Psaki and Secretary of Agriculture Tom Vilsack, May 5,

 9   2021 (emphasis added), at https://www.whitehouse.gov/briefing-
10   room/pressbriefings/2021/05/05/press-briefing-by-press-secretary jen-psaki-and-secretary-of-
11
     agriculturetom-vilsack-may-5-2021/. Psaki immediately went on to state that President Biden
12
     "supports better privacy protections and a robust anti-trust program." Id. (emphasis added). And
13
     she stated that the President's "view is that there's more that needs to be done to ensure that this
14

15   type of misinformation; disinformation; damaging, sometimes life-threatening information is not

16   going out to the American public." Id.

17          284. In the same press conference, Psaki notoriously went on to state, "We're flagging
18
     problematic posts for Facebook that spread disinformation." Id. On information and belief,
19
     especially in light of Psaki's earlier reference to speech about "elections," this statement "flagging
20
     problematic posts" referred not just to social-media speech about COVID-19, but also social-
21
     media speech about election integrity. See, e.g., White House says social media platforms should
22

23   not amplify `untrustworthy' content, REUTERS (May 5, 2021), at

24   https://www.reuters.com/article/ctech-us-trump-facebook-biden-idCAKBN2CMIXU-OCATC.
25   279. In June 2021, the National Security Council released its "National Strategy for Countering
26
     Domestic Terrorism." See The White House, National Strategy for Countering Domestic
27
     Terrorism (June 2021), at https://www.whitehouse.gov/wpcontent/uploads/2021 /06/National-
28

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 1   Strategy-for-Countering-Domestic-Terrorism.pdf. The "National Strategy" repeatedly claimed
 2   that "disinformation and misinformation" are important elements of "domestic terrorism." Id. at 9.
 3
     It claimed that the "ideologies" of domestic terrorists "connect and intersect with conspiracy
 4
     theories and other forms of disinformation and misinformation." Id. (emphasis added). It stated
 5
     that such "elements" of domestic terrorism "can combine and amplify threats to public safety,"
 6

 7   "[e]specially on Internet-based communications platforms such as social-media." Id. (emphasis

 8   added). It stated that DHS and others "are currently funding and implementing or planning"

 9   programs to "strengthen user resilience to disinformation and misinformation online for domestic
10   audiences." Id. at 20. The Strategy memo identified, as its "broader priority," the task of
11
     "enhancing faith in government and addressing the extreme polarization, fueled by a crisis of
12
     disinformation and misinformation often channeled through social media platforms, which can
13
     tear Americans apart...." Id. at 29 (emphasis added). And it called for DHS and others to
14

15   "accelerat[e] work to contend with an information environment that challenges healthy

16   democratic discourse," and to "find[] ways to counter the influence and impact" of online

17   disinformation. Id.
18
            280. On July 26, 2021, the Global Internet Forum to Counter Terrorism (GIFCT), an
19
     "organization formed by some of the biggest U.S. tech companies including Facebook and
20
     Microsoft," which includes DHS on its board of advisors, announced that it is "significantly
21
     expanding the types of extremist content shared between firms in a key database," to move from
22

23   images and videos to content-based speech tracking. Facebook and tech giants to target attacker

24   manifestos, far-right militias in database, REUTERS (July 26, 2021), at
25   https://www.reuters.com/technology/exclusive-facebook-tech-giants-target-manifestos-
26
     militiasdatabase-2021-07-26/.
27

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 1          285. GIFCT ... was created in 2017 under pressure from U.S. and European
 2   governments," and "its database mostly contains digital fingerprints of videos and images related
 3
     to groups on the U.N. Security Council's consolidated sanctions list and a few specific
 4
     livestreamed attacks." Id. "Until now, the Global Internet Forum to Counter Terrorism's (GIFCT)
 5
     database has focused on videos and images from terrorist groups on a United Nations list," but
 6

 7   now the group announced that it would move into content-based speech tracking. Id. On

 8   information and belief, DHS officials including Defendants have access to such database(s) as

 9   tools to advance censorship of online speech.
10          286. Shortly thereafter, on August 2, 2021, DHS Secretary Mayorkas announced that DHS
11
     was working directly with social-media companies to censor disfavored speech on socialmedia
12
     platforms. "On [a] broadcast of MSNBC's `Andrea Mitchell Reports,' DHS Secretary Alejandro
13
     Mayorkas stated that the department is working with tech companies `that are the platform for
14

15   much of the disinformation that reaches the American public, how they can better use their terms

16   of use to really strengthen the legitimate use of their very powerful platforms and prevent harm

17   from occurring." Mayorkas: We're Working with Platforms on `How They Can Better Use' Their
18
     Terms to `Prevent Harm' from Misinformation, BREITBART NEWS (Aug. 2, 2021), at
19
     https://www.breitbart.com/clips/2021/08/02/mayorkas-were-workgin-with-platformson-how-
20
     they-can-better-use-their-terms-to-prevent-harm-from-misinformation/.
21
            287. Echoing Psaki's comments at the July 15, 2021 news conference with Surgeon
22

23   General Murthy, Mayorkas stated: "So, we're working together with them. We're working with

24   the tech companies that are the platform for much of the disinformation that reaches the American
25   public, how they can better use their terms of use to really strengthen the legitimate use of their
26
     very powerful platforms and prevent harm from occurring." Id. On information and belief, the
27
     reference to "us[ing] their terms of use to really strengthen the legitimate use of their very
28

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 1   powerful platforms and prevent harms from occurring" refers to government-induced censorship
 2   of disfavored viewpoints, speakers, and content.
 3
            288. Mayorkas added that there was a federal-government-wide effort to police speech on
 4
     social media, stating: "[T]he connectivity between speech and violence, the connectivity between
 5
     active harm and speech is something that we're very focused on, and it's a difficult challenge. But
 6

 7   we're working on it and meeting that challenge, again, because of the great personnel of the

 8   Department of Homeland Security and across the federal enterprise." Id. (emphasis added). 285.

 9   Soon after Mayorkas's August 2, 2021 comments, DHS officials began plotting to create a
10   "Disinformation Governance Board" within DHS. On September 13, 2021, senior DHS officials
11
     Robert Silvers and Samantha Vinograd sent a memorandum to Secretary Mayorkas
12
     recommending the creation of the Disinformation Governance Board. The opening sentence of
13
     the Memorandum noted that the Board's purpose would be to combat "[t]he spread of
14

15   disinformation" regarding "[c]onspiracy theories about the validity and security of elections,"

16   including "disinformation surrounding the validity of the 2020 election," and "[d]isinformation

17   related to the origins and effects of COVID19 vaccines or the efficacy of masks," which
18
     "undercut[] public health efforts to combat the pandemic." Id. at 19.
19
            289. The same Memorandum noted that CISA was involved in flagging content for
20
     censorship on social-media platforms: "Leading up to the 2020 election, CISA relayed reports of
21
     election disinformation from election officials to social media platform operators." Id. at 20. The
22

23   Memorandum called for the Board to perform "partner engagement" with "private sector entities

24   [and] tech platforms." Id. at 22. 287. In a subsequent Memorandum dated January 31, 2022, DHS
25   officials indicated that the Board's activities would oversee extensive social-media censorship
26
     activities by other federal officials and agencies: "The Board will also support and coordinate ...
27
     MDM work with other departments and agencies, the private sector, and non-government actors."
28

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 1   Id. at 24. This Memorandum attached the Board's Charter, which stated that its mission was to
 2   "guide and support the Department's efforts to address mis-, dis-, and mal-information." Id. at 27.
 3
     It also stated that the Board would "harmonize and support coordination with ... the private
 4
     sector." Id. The Charter called for the Board to "coordinate, deconflict, and harmonize
 5
     departmental efforts to address MDM," including between "DHS Components" and "interagency
 6

 7   partners," and "serving as the Department's internal and external point of contact for coordination

 8   with ... the private sector ... regarding MDM." Id. at 28-29.

 9          290. Under continuous pressure from federal officials, including Defendants herein,
10   social-media firms have imposed increasingly draconian censorship on core political speech about
11
     election integrity. For example, in March 2022, YouTube imposed a one-week suspension on The
12
     Hill, a well-known political publication covering Congress, for posts that included clips of former
13
     President Trump's speech at the CPAC conference and interview on Fox News, which included
14

15   claims that fraud changed the outcome of the 2020 presidential election. Gilead Edelman, Beware

16   the Never-Ending Disinformation Emergency, THE WIRED (March 11, 2022), at

17   https://www.wired.com/story/youtube-rigged-election-donald-trump-moderationmisinformation/.
18
     YouTube relied on its "Elections misinformation policy," under which it censors "Content that
19
     advances false claims that widespread fraud, errors, or glitches changed the outcome of select
20
     past national elections, after final election results are officially certified." YouTube, Elections
21
     Misinformation Policy, https://support.google.com/youtube/answer/10835034?hl=en.
22

23          291. This policy is openly content- and viewpoint-based—it applies only to "select" past

24   national elections, and "[u]nder the policy, you can only include those claims if you explicitly
25   debunk or condemn them." Edelman, supra. On information and belief, this policy is also
26
     selective in application, as it is not applied to censor widespread, false Democratic claims that
27
     supposed "collusion" between the Trump campaign and Russia changed the outcome of the 2016
28

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 1   presidential election. And "by asking news hosts to explicitly denounce any mention of election
 2   fraud, YouTube isn't just making its own content decisions; it's injecting itself into the editorial
 3
     processes of actual media outlets." Id. 290. On November 10, 2021, the Cybersecurity and
 4
     Infrastructure Security Agency (LISA), an agency within DHS, announced that it was "beefing up
 5
     its disinformation and misinformation team in the wake of a divisive presidential election that
 6

 7   saw a proliferation of misleading information online." Cyber agency beefing up disinformation,

 8   misinformation team, THE HILL (Nov. 10, 2021), at

 9   https://thehill.com/policy/cybersecurity/580990-cyber-agencybeefing-up-disinformation-
10   misinformation-team/. "I am actually going to grow and strengthen my misinformation and
11
     disinformation team,' CISA Director Jen Easterly said." Id. Defendant Easterly said that so-called
12
     "disinformation" and "misinformation" pose "a top threat for CISA, which is charged with
13
     securing critical infrastructure, to confront." Id.
14

15           292. Indulging in a bit of Newspeak of her own, Easterly claimed that social-media speech

16   is a form of "infrastructure," and that policing speech online by the federal government falls

17   within her agency's mission to protect "infrastructure," stating that CISA is "in the business of
18
     critical infrastructure, and the most critical infrastructure is our cognitive infrastructure, so
19
     building that resilience to misinformation and disinformation, I think, is incredibly important." Id.
20
             293. Easterly announced that CISA was working directly with unnamed "partners in the
21
     private sector" and other government agencies to police online speech: "We are going to work
22

23   with our partners in the private sector and throughout the rest of the government and at the

24   department to continue to ensure that the American people have the facts that they need to help
25   protect our critical infrastructure." Id.
26
             294. With specific reference to hotly disputed election-integrity issues, which comprise
27
     core political speech, Easterly stated that Americans should not be allowed to "pick [their] own
28

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 1   facts" and make their own decisions about what is true, especially regarding election security:
 2   "We now live in a world where people talk about alternative facts, post-truth, which I think is
 3
     really, really dangerous if you get to pick your own facts, and it's particularly corrosive when you
 4
     talk about matters of election security." Id. Instead, she indicated, federal officials like herself
 5
     should intervene to help Americans "pick" the right "facts." Id.
 6

 7           295. CISA appears to be the focus of many of DHS's attempts to police the content of

 8   speech and viewpoints on social media. On information and belief, CISA maintains a number of

 9   task forces, working groups, and similar organizations as joint government-private enterprises
10   which provide avenues for government officials to push for censorship of disfavored viewpoints
11
     and speakers online.
12
             296. In a 2020 document entitled "2020 Election Infrastructure Subsector-Specific Plan,"
13
     at https://www.cisa.gov/sites/default/files/publications/election_infrastructure_subsector_
14

15   specific_plan.pdf, CISA stated that it had partnered to "promote" interaction between election

16   officials and the Center for Technology and Civic Life, the now-notorious nonprofit funded by

17   Mark Zuckerberg that engaged in egregious election interference by injecting hundreds of
18
     millions of private dollars and personnel into local election offices in heavily Democratic-
19
     favoring areas.
20
             297. CISA routinely expands the definitions of "misinformation" and "disinformation" to
21
     include "malinformation," i.e. truthful information that the government believes is presented out
22

23   of context to contradict left-wing political narratives. CISA defines "malinformation" as

24   information that is "based on fact, but used out of context to mislead, harm, or manipulate." See,
25   e.g., CISA, We're in This Together. Disinformation Stops with You. (last visited May 5, 2022),
26
     https://www.cisa.gov/sites/default/files/publications/SLTTCOVIDToolkit_FINAL_508.pdf. 297.
27
     CISA's same publication decries the spreading of "false treatment and prevention measures [for
28

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 1   COVID-19], unsubstantiated rumors regarding the origin of the virus, and more." Id. (emphasis
 2   added). On information and belief, "unsubstantiated rumors regarding the origin of the [COVID-
 3
     19] virus" refers to the lab-leak theory of COVID-19's origins, which (as noted above) is
 4
     supported by compelling circumstantial evidence, both scientific and historical.
 5
            298. CISA's "Mis-, Dis-, and Malinformation [MDM] Planning and Incident Response
 6

 7   Guide for Election Officials," at

 8   https://www.cisa.gov/sites/default/files/publications/mdmincident-response-guide_508.pdf, calls

 9   for constant policing of speech regarding election integrity, stating that "election infrastructure
10   related MDM occurs year-round," and "[f]alse narratives erode trust and pose a threat to
11
     democratic transitions, especially, but not limited to, narratives around election processes and the
12
     validity of election outcomes." Id. The Guide defines MDM to include "[n]arratives or content
13
     that delegitimizes election results or sows distrust in the integrity of the process based on false or
14

15   misleading claims." Id.

16          299. On February 7, 2022, DHS issued a National Terrorism Advisory Bulletin, available

17   at https://www.dhs.gov/ntas/advisory/national-terrorism-advisory-system-bulletinfebruary-07-
18
     2022. It begins by stating: "The United States remains in a heightened threat environment fueled
19
     by several factors, including an online environment filled with false or misleading narratives and
20
     conspiracy theories, and other forms of mis- dis- and mal-information (MDM)." Id. The first
21
     critical "factor" contributing to a "heightened threat environment," according to the Bulletin, is
22

23   "(1) the proliferation of false or misleading narratives, which sow discord or undermine public

24   trust in U.S. government institutions." Id. Again, the first "[k]ey factor contributing to the current
25   heightened threat environment" identified in the Bulletin is "[t]he proliferation of false or
26
     misleading narratives, which sow discord or undermine public trust in U.S. government
27
     institutions: For example, there is widespread online proliferation of false or misleading
28

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 1   narratives regarding unsubstantiated widespread election fraud and COVID-19. Grievances
 2   associated with these themes inspired violent extremist attacks during 2021." Id. (emphasis
 3
     added). The Bulletin stated that DHS is directly coordinating with social-media platforms to
 4
     address so-called "MDM": "DHS is working with public and private sector partners, as well as
 5
     foreign counterparts, to identify and evaluate MDM, including false or misleading narratives and
 6

 7   conspiracy theories spread on social media and other online platforms that endorse or could

 8   inspire violence." Id. And it specifically stated that CISA likewise "works with public and private

 9   sector partners ... [to] increase nationwide cybersecurity resilience."
10          300. This February 7, 2022 Bulletin echoed statements from prior bulletins indicating that
11
     so-called COVID-19 "misinformation" and election-related "misinformation" are domestic terror
12
     threats. For example, DHS's January 27, 2021 National Terrorism Advisory System Bulletin,
13
     available at https://www.dhs.gov/ntas/advisory/national-terrorism-advisory-systembulletin
14

15   January-27-2021, stated that "Domestic Violent Extremists" are "motivated by a range of issues,

16   including anger over COVID-l9 restrictions [and] the 2020 election results...." Id. Similarly,

17   DHS's August 13, 2021 National Terrorism Advisory System Bulletin, available at
18
     https://www.dhs.gov/ntas/advisory/national-terrorism-advisory-system-bulletin-august-13-2021,
19
     stated that "violent extremists ... may seek to exploit the emergence of COVID-19 variants by
20
     viewing the potential re-establishment of public health restrictions across the United States as a
21
     rationale to conduct attacks." Id. It stated that "domestic threat actors ... continue to introduce,
22

23   amplify, and disseminate narratives online that promote violence," and included therein

24   "conspiracy theories on perceived election fraud ... and responses to anticipated restrictions
25   relating to the increasing COVID cases." Id.
26
            301. On April 12, 2022, CISA published another bulletin announcing that it was
27
     coordinating directly with social-media platforms to police "Mis, Dis, Malinformation" (which it
28

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 1   calls "MDM"). CISA, Mis, Dis, Malinformation, at https://www.cisa.gov/mdm. The bulletin
 2   states that, "False or misleading information can evoke a strong emotional reaction that leads
 3
     people to share it without first looking into the facts for themselves, polluting healthy
 4
     conversations about the issues and increasing societal divisions." Id. CISA reported that its
 5
     Countering Foreign Influence Task Force's "mission evolved" during the Biden Administration to
 6

 7   address the new "information environment," which (on information and belief) is code speak for

 8   ramping up online censorship: "In 2021, the CFITF officially transitioned into CISA's MDM

 9   team, and the mission evolved to reflect the changing information environment." Id. CISA stated
10   that it coordinates directly with social media firms to address "MDM": "The MDM team
11
     continues to work in close coordination with interagency and private sector partners, social media
12
     companies, academia, and international partners on a variety of projects to build resilience against
13
     malicious information activities." Id. (emphasis added).
14

15          302. On information and belief, the April 12, 2022, CISA bulletin indicates that CISA

16   works directly with social-media companies to flag content for censorship: "The MDM team

17   serves as a switchboard for routing disinformation concerns to appropriate social media
18
     platforms...." Id. CISA boasts that it has "expanded the breadth of reporting [MDM] to include ...
19
     more social media platforms," and that "[t]his activity leverages the rapport the MDM team has
20
     with the social media platforms to enable shared situational awareness." Id. On information and
21
     belief, these statements reflect and express on ongoing practice by government officials of
22

23   directly colluding with social-media platforms to suppress disfavored speech, viewpoints, content,

24   and speakers on social media. Again, these statements echo Psaki's statement that the Biden
25   Administration is "flagging problematic posts for Facebook," and Mayorkas's statement that DHS
26
     is "working with the tech companies that are the platform for much of the disinformation that
27
     reaches the American public" to address so-called misinformation and disinformation.
28

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 1           303. The same bulletin suggests that CISA is directly involved in such "flagging" related
 2   to COVID-19 "misinformation." It states that "COVID-19-related MDM activities seek to
 3
     undermine public confidence and sow confusion," and claims that "the rapid evolution of accurate
 4
     information makes older, dated information a potential catalyst of confusion and distrust as well."
 5
     Id. Thus, it claims, "[t]he MDM team supports the interagency and private sector partners'
 6

 7   COVID-19 response efforts via regular reporting and analysis of key pandemic-related MDM

 8   trends." Id. On information and belief, these "private sector partners" include social-media firms,

 9   and the "reporting and analysis" includes flagging disfavored content for censorship.
10          304. On April 27, 2022, Mayorkas announced that DHS was creating a "Disinformation
11
     Governance Board" within DHS to combat so-called "misinformation" and "disinformation."
12
     Biden Administration creates `Disinformation Governance Board' under DHS to fight
13
     'misinformation, ' THE POST MILLENIAL (April 27, 2022), at
14

15   https://thepostmillennial.com/breaking-biden-administration-creates-disinformation-

16   governanceboard-under-dhs-to-fight-misinformation. "The Department of Homeland Security is

17   setting up a new board designed to counter misinformation related to homeland security, with a
18
     focus specifically on Russia and irregular migration. The board will be called the `Disinformation
19
     Governance Board,' and will be headed by executive director Nina Jankowicz." Id. During
20
     congressional testimony, Mayorkas described the endeavor as a "just recently constituted
21
     Misinformation/Disinformation Governance Board." Id. (video link at 1:40). He stated: "The goal
22

23   is to bring the resources of the Department together to address this threat." Id.

24          305. Jankowicz has called for more aggressive censorship of election-related speech by
25   social-media platforms, and has implied that social-media censorship of election-related speech
26
     should never relent or be reduced, stating on Twitter: "Considering the long-term damage these
27
     lies do to our democracy, I'm dismayed about this decision [not to censor election-related speech
28

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 1   more aggressively]. I say this about foreign disinformation and it applies to domestic disinfo too:
 2   Elections aren't an end point. They're an inflection point. Policies need to reflect that." Id.
 3
            306. On information and belief, DHS's new "Disinformation Governance Board" is
 4
     intended to be used, and will be used, to increase DHS's efforts to induce and procure the
 5
     censorship of disfavored content, viewpoints, and speakers on social-media platforms.
 6

 7          307. From its inception, the DGB was envisioned as an agency for suppressing core

 8   political speech about election security and COVID-19 restrictions. In the internal memo to

 9   Secretary Mayorkas advocating for the DGB's creation, the very first two topics of
10   "disinformation" to be targeted were "conspiracies about the validity and security of elections,"
11
     and "disinformation related to the origins and effects of COVID-19 vaccines or the efficacy of
12
     masks."
13
            308. Internal documents of DHS, provided by whistleblowers to U.S. Senators, indicate
14

15   that the "Disinformation Governance Board" was formulated to create a stronger bureaucratic

16   structure to federal social-media censorship policies and activities that were already in full force,

17   both within DHS and across other federal agencies. The whistleblower documents make clear that
18
     the DGB's task was not to establish a censorship program, but to oversee the massive censorship
19
     program against free speech on these topics that already exists—both within DHS, and across the
20
     federal government.
21
            309. On information and belief, Defendants Robert Silvers and Samantha Vinograd played
22

23   and play a central role in DHS's censorship activities, including but not limited to the formulation

24   and creation of the "Disinformation Governance Board." The whistleblower documents cited
25   above strongly support this conclusion. Silvers and Vinograd co-signed the September 13, 2021
26
     "Memorandum for the Secretary" re "Organizing DHS Efforts to Counter Disinformation" that
27
     provided an overview of DHS's disinformation activity and recommended the creation of the
28

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 1   DGB. As noted above, the opening lines of this memo state that "[t]he spread of disinformation
 2   presents serious homeland security risks," especially "[c]onspiracy theories about the validity and
 3
     security of elections" and "[d]isinformation related to the origins and effects of COVID-19
 4
     vaccines or the efficacy of masks." The memo reflects detailed knowledge active oversight of
 5
     DHS's "misinformation" and "disinformation" activities. Further, Defendant Silvers authored the
 6

 7   January 31, 2022 memo to the Secretary seeking his "approval of the charter for the

 8   Disinformation Governance Board," and he authored a separate memorandum to DHS's general

 9   counsel seeking the same approval. Silvers also is listed as a participant in the April 28, 2022
10   meeting with Twitter executives Nick Pickles and Yoel Roth organized by Nina Jankowicz,
11
     discussed below.
12
            310. On April 28, 2022, Jankowicz arranged for a meeting between Secretary Mayorkas
13
     and/or other senior DHS officials, including Undersecretary Robert Silvers, and "Twitter
14

15   executives Nick Pickles, Head of Policy, and Yoel Roth, Head of Site Integrity," to discuss

16   "public-private partnerships, MDM, and countering DVE. The meeting is off the record and

17   closed press." ECF No. 10-1, at 31 (Glenn Decl. Ex. 1, at 18). This was to be a cozy meeting:
18
     Jankowicz, who drafted the meeting brief, noted that "Nick and Yoel both know DGB Executive
19
     Director Nina Jankowicz." Id. The meeting was to be "an opportunity to discuss operationalizing
20
     public-private partnerships between DHS and Twitter." Id. In the meeting, DHS was to "Propose
21
     that Twitter become involved in Disinformation Governance Board Analytic Exchanges on
22

23   Domestic Violent Extremism (DVE) and Irregular Migration," and to "Thank Twitter for its

24   continued participation in the CISA Analytic Exchange on Election Security." Id. DHS was also
25   to "Ask what types of data or information would be useful for Twitter to receive in Analytic
26
     Exchanges or other ways the Department could be helpful to Twitter's counter-MDM efforts." Id.
27

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 1                               5. The Biden Administration And Its Executive
 2                           Agencies Reinforce Their Threats And Admit Further
 3
                    Colluding With The Private Party Defendants To Censor Free Speech
 4
            311. On or around April 25, 2022—two days before DHS announced the creation of its
 5
     "Disinformation Governance Board"—it was reported that free-speech advocate Elon Musk
 6

 7   would acquire Twitter and make it a privately held company. Left-wing commentators widely

 8   decried this news on the ground that free speech on Twitter would allow the spread of so-called

 9   "misinformation" and "disinformation."
10          312. On April 25, 2022, Psaki was asked at a White House press briefing to respond to the
11
     news that Elon Musk would acquire Twitter, and asked "does the White House have any concern
12
     that this new agreement might have President Trump back on the platform?" White House, Press
13
     Briefing by Press Secretary Jen Psaki, April 25, 2022, at https://www.whitehouse.gov/briefing-
14

15   room/press-briefings/2022/04/25/press-briefing-by-presssecretary jen-psaki-april-25-2022/.

16          313. Psaki responded by reiterating the threats of adverse legal consequences to Twitter

17   and other social media platforms, specifically referencing antitrust enforcement and Section 230
18
     repeal: "No matter who owns or runs Twitter, the President has long been concerned about the
19
     power of large social media platforms ... [and] has long argued that tech platforms must be held
20
     accountable for the harms they cause. He has been a strong supporter of fundamental reforms to
21
     achieve that goal, including reforms to Section 230, enacting antitrust reforms, requiring more
22

23   transparency, and more. And he's encouraged that there's bipartisan interest in Congress." Id.

24          314. At the same press briefing, Psaki was asked: "Are you concerned about the kind of
25   purveyors of election misinformation, disinformation, health falsehoods, sort of, having more of
26
     an opportunity to speak there on Twitter?" She responded by specifically linking the legal threats
27
     to the social-media platforms' failure to more aggressively censor free speech: "We've long talked
28

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 1   about and the President has long talked about his concerns about the power of social media
 2   platforms, including Twitter and others, to spread misinformation, disinformation; the need for
 3
     these platforms to be held accountable."
 4
            315. Psaki was then asked a question that noted that "the Surgeon General has said that
 5
     misinformation about COVID amounts to a public health crisis," and then queried, "would the
 6

 7   White House be interested in working with Twitter like it has in the past to continue to combat

 8   this kind of misinformation? Or are we in a different part of the pandemic where that kind of

 9   partnership is no longer necessary?" Id.
10          316. Psaki responded by reaffirming that senior officials within the White House and/or
11
     the Administration are continuing to coordinate directly with social-media platforms to censor
12
     disfavored speakers and content on social media, and directly linking these efforts to the repeated
13
     threat of adverse legal action: "we engage regularly with all social media platforms about steps
14

15   that can be taken that has continued, and I'm sure it will continue. But there are also reforms that

16   we think Congress could take and we would support taking, including reforming Section 230,

17   enacting antitrust reforms, requiring more transparency. And the President is encouraged by the
18
     bipartisan support for — or engagement in those efforts." Id.
19
             6. Defendants Have Successfully Procured The Censorship Of Core Political Speech.
20
            317. As a direct result of the conduct alleged herein, Defendants have achieved a great
21
     deal of success in procuring the censorship of disfavored speakers, viewpoints, and content on
22

23   social media, as alleged further herein—including core political speech.

24          318. Among other things, they have achieved astonishing success in muzzling public
25   criticism of President Biden. A recent review by the Media Research Center identified 646
26
     instances over the last two years where social-media firms censored public criticism of then
27
     Candidate and now-President Biden. See Joseph Vasquez and Gabriela Pariseau, Protecting the
28

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 1   President: Big Tech Censors Biden Criticism 646 Times Over Two Years (April 21, 2022), at
 2   https://censortrack.org/protecting-president-big-tech-censors-biden-criticism-646-times-overtwo-
 3
     years.
 4
              319. "The Media Research Center found more than 640 examples of bans, deleted content
 5
     and other speech restrictions placed on those who criticized Biden on social media over the past
 6

 7   two years." Id. "MRC Free Speech America tallied 646 cases in its Censor Track database of pro-

 8   Biden censorship between March 10, 2020, and March 10, 2022. The tally included cases from

 9   Biden's presidential candidacy to the present day." Id.
10            320. "The worst cases of censorship involved platforms targeting anyone who dared to
11
     speak about any subject related to the New York Post bombshell Hunter Biden story. ... Big
12
     Tech's cancellation of that story helped shift the 2020 election in Biden's favor. Twitter locked the
13
     Post's account for 17 days. In addition, Twitter slapped a `warning label' on the GOP House
14

15   Judiciary Committee's website for linking to the Post story." Id. "CensorTrack logged 140

16   instances of users—including lawmakers, organizations, news outlets and media personalities—

17   censored for sharing anything related to the bombshell Hunter Biden laptop story." Id.
18
              321. "Twitter was the most aggressive censor when it came to the Biden laptop story.
19
     CensorTrack entries show that users could not tweet the story or pictures of the Post story." 322.
20
     "Big Tech even axed those who blamed the current inflation crisis on Biden. For example,
21
     Facebook censored Heritage Action, the advocacy arm of the conservative Heritage Foundation,
22

23   on March 15, simply for posting a video quoting Biden's embarrassing statements on energy

24   policy. Facebook placed an interstitial, or filter, over Heritage Action's video, suppressing the
25   post's reach. The video showed Biden and officials in his administration explaining how his
26
     policies would cause gas prices to rise." Id.
27

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 1          323. "[T]he largest category by far included users who dared to call out Biden's
 2   notoriously creepy, touchy-feely behavior around women and children. The 232 cases of comedic
 3
     memes, videos, or generic posts about Biden's conduct composed more than one-third of
 4
     CensorTrack's total instances of users censored for criticizing the president." Id.
 5
            324. "Big Tech even went after posts that quoted Biden's own words and made him look
 6

 7   awful in retrospect." Id.

 8          325. "The list of censorship targets included an array of prominent influencers on social

 9   media: Trump; lawmakers like Sen. Ted Cruz (R-TX) and House Minority Leader Kevin
10   McCarthy (R-CA); news outlets like the New York Post, The Washington Free Beacon and The
11
     Federalist; satire site The Babylon Bee; celebrities like Donald Trump Jr. and James Woods, and
12
     media personalities like Daily Wire host Candace Owens, Salem radio host Sebastian Gorka and
13
     radio host Dana Loesch." Id.
14

15          326. Most recently, social-media platforms are beginning to censor criticisms of the Biden

16   Administration's attempt to redefine the word "recession" in light of recent news that the U.S.

17   economy has suffered two consecutive quarters of reduction in GDP. See, e.g., Economist slams
18
     Facebook for `absolutely Owwellian 'fact-check upholding Biden's recession denial, Fox News
19
     (Aug. 1, 2022), at https://www.foxnews.com/media/economist-slams-facebook-
20
     absolutelyorwellian-fact-check-upholding-bidens-recession-denial.
21
            327. Thus, Defendants' conduct alleged herein has created, with extraordinary efficacy, a
22

23   situation where Americans seeking to exercise their core free-speech right to criticize the

24   President of the United States are subject to aggressive prior restraint by private companies acting
25   at the bidding of government officials. This situation is intolerable under the First Amendment.
26
27

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 1                          7. Federal Officials Open New Fronts In Their
 2                          War For Censorship Of Disfavored Speech.
 3
            328. Since the AG Lawsuit was filed in May 2022, federal officials and traditional
 4
     Democratic Party allies and agents, including the private party defendants herein, have expanded
 5
     their social-media censorship activities and opened new fronts in their war against the freedom of
 6

 7   speech on social media. The frontiers of government-induced censorship are thus expanding

 8   rapidly.

 9          329. For example, on June 14, 2022, White House National Climate Advisor Gina
10   McCarthy spoke at an Axios event titled "A conversation on battling misinformation." See
11
     Alexander Hall, Biden climate advisor demands tech companies censor `disinformation' to
12
     promote `benefits of clean energy', Fox NEWS (June 14, 2022), at
13
     https://www.foxnews.com/media/biden-climate-advisor-tech-companies-censor-
14

15   disinformationpromote-benefits-clean-energy (video of her comments embedded in link).

16   McCarthy publicly demanded that social-media platforms engage in censorship and suppression

17   of speech that contradicts federal officials' preferred narratives on climate change.
18
            330. During the event, "McCarthy skewered Big Tech companies for `allowing'
19
     disinformation and cheered Congress for `taking action' to enact more censorship last Thursday."
20
     Id. "Axios political reporter Alexi McCammond asked McCarthy how so-called `rampant misand-
21
     disinformation around climate change online and in other platforms' has `made your job harder?"
22

23   Id. "McCarthy responded by slamming social media companies: `We have to get tighter, we have

24   to get better at communicating, and frankly, the tech companies have to stop allowing specific
25   individuals over and over again to spread disinformation." Id. (emphasis added). "She suggested
26
     further that `we have to be smarter than that and we need the tech companies to really jump in."
27
     Id. (emphasis added). "McCammond responded by asking: `Isn't misinformation and disinfo
28

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 1   around climate a threat to public health itself?' McCarthy asserted that it `absolutely' is: `Oh,
 2   absolutely." Id.
 3
            331. Following the Administration's now-familiar playbook, McCarthy explicitly tied
 4
     these demands for censorship of climate-change-related speech to threats of adverse legislation:
 5
     "McCarthy also praised Congress directly for pushing social media companies to censor
 6

 7   Americans: `We do see Congress taking action on these issues, we do see them trying to tackle

 8   the misinformation that's out there, trying to hold companies accountable." Id.

 9          332. Two days later, the White House announced a new task force to address, among
10   other things, "gendered disinformation" and "disinformation campaigns targeting women and
11
     LGBTQI+ individuals who are public and political figures, government and civic leaders,
12
     activists, and journalists." White House, Memorandum on the Establishment of the White House
13
     Task Force to Address Online Harassment and Abuse (June 16, 2022), at
14

15   https://www.whitehouse.gov/briefing-room/presidential-actions/2022/06/ 16/memorandum-onthe-

16   establishment-of-the-white-house-task-force-to-address-online-harassment-and-abuse/.

17          333. The June 16 Memorandum decries "online harassment and abuse"—vague terms that,
18
     on information and belief, are deliberately adopted to sweep in constitutionally protected speech.
19
     In particular, the Memorandum defines "online harassment and abuse" to include "gendered
20
     disinformation," a deliberately broad and open-ended term. Id. § 1. The Memorandum announces
21
     plans to target such "gendered disinformation" directed at public officials and public figures,
22

23   including "women and LGBTQI+ political leaders, public figures, activists, and journalists." Id.

24   The Memorandum creates a Task Force co-chaired by the Assistant to the President for National
25   Security Affairs, which includes the Secretary of Defense, the Attorney General, and the
26
     Secretary of Homeland Security, among others. Id.
27

28

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 1           334. The Task Force is charged with "developing programs and policies to address ...
 2   disinformation campaigns targeting women and LGBTQI+ individuals who are public and
 3
     political figures, government and civic leaders, activists, and journalists in the United States and
 4
     globally." Id. § 4(a)(iv) (emphasis added). The Memorandum calls for the Task Force to consult
 5
     and coordinate with "technology experts" and "industry stakeholders," i.e., social-media firms, to
 6

 7   achieve "the objectives of this memorandum," id. § 4(b). Those "objectives," of course, include

 8   suppressing so-called "disinformation campaigns" against "public and political figures." Id. §

 9   4(a)(iv).
10           335. The Memorandum again threatens social-media platforms with adverse legal
11
     consequences if they do not censor aggressively enough to suit federal officials: "the Task Force
12
     shall .. . submit periodic recommendations to the President on policies, regulatory actions, and
13
     legislation on technology sector accountability to address systemic harms to people affected by
14

15   online harassment and abuse." Id. § 5(c) (emphasis added).

16           336. On June 17, 2022, twenty-one Democratic U.S. Senators and Representatives sent a

17   letter to Sundar Pichai, the CEO of Alphabet Inc., which owns Google, demanding that Google
18
     censor, suppress, and de-boost search results and Google Maps results for pro-life pregnancy
19
     resource centers. June 17, 2022 Letter of Sen. Mark Warner, et al., available at
20
     https://reason.com/wp-content/uploads/2022/06/26F26BB28841042A7931
21
     EEC58AC80E08.antiabortion-letter-to-google-final.pdf. The letter's co-signers included many of
22

23   the Members of Congress who have previously made threats of adverse legal consequences if

24   social-media platforms do not increase censorship—such as Senators Mark Warner, Amy
25   Klobuchar, and Richard Blumenthal. Id. The letter cited "research by the Center for Countering
26
     Digital Hate (CCDH)," id.—the same organization that Jen Psaki and the White House
27
     coordinated with to demand the censorship of the so-called "Disinformation Dozen," and that
28

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 1   coordinated the demonetization of Plaintiff Hoft from Google. The letter describes pro-life
 2   pregnancy resource centers as "fake clinics," and demands that Google proactively censor search
 3
     results, mapping results, and advertisements relating to such clinics. Id. The letter demands that
 4
     Google "limit the appearance of anti-abortion fake clinics or so-called `crisis pregnancy centers'
 5
     in Google search results, Google Ads, and on Google Maps"; that Google "add user-friendly
 6

 7   disclaimers that clearly indicate whether or not a search result does or does not provide

 8   abortions"; and that Google take "additional steps to ensure that users are receiving accurate

 9   information when they search for health care services like abortion on Google Search and Google
10   Maps." Id.
11
            337. Defendants swiftly doubled down on this demand for social-media censorship of pro-
12
     life pregnancy resource centers. On July 8, 2022, the President signed an Executive Order "aimed
13
     at protecting abortion rights." Sandhya Raman, Biden issues executive order responding to
14

15   abortion ruling, Roll Call (July 8, 2022), at https://rollcall.com/2022/07/08/biden-issuesexecutive-

16   order-responding-to-abortion-ruling/. The order directs HHS, DOJ, and the FTC "to examine

17   ways to ... curb the spread of misinformation related to abortion." Id. The order is entitled
18
     "Executive Order on Protecting Access to Reproductive Healthcare Services," available at
19
     https://www.whitehouse.gov/briefing-room/presidential-actions/2022/07/08/executive-orderon-
20
     protecting-access-to-reproductive-healthcare-services/. Section 4(b)(iv) of the order states: "The
21
     Secretary of Health and Human Services shall, in consultation with the Attorney General and the
22

23   Chair of the FTC, consider options to address deceptive or fraudulent practices related to

24   reproductive healthcare services, including online, and to protect access to accurate information."
25   Id. 8. Discovery reveals a massive federal Censorship Enterprise including all Defendants.
26
            338. Based on documents produced by Defendants in the AG Lawsuit and the December
27
     2022 Twitter Drops and other recent public disclosures, senior federal officials have placed
28

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 1   intensive oversight and pressure to censor private speech on social-media platforms. All
 2   Defendants have been involved in the Censorship Scheme in various ways, and these censorship
 3
     activities continue to the present and continue to directly cause Plaintiffs irreparable harm.
 4
     Representative examples of such federal censorship activities are set forth herein, but these do not
 5
     identify all the federally induced acts of censorship by any means.
 6

 7          339. After President Biden publicly stated (about Facebook) on July 16, 2021, that

 8   "They're killing people," a very senior executive at Meta (Facebook and Instagram) reached out to

 9   Surgeon General Murthy to engage in damage control and appease the President's wrath. Soon
10   thereafter, the same Meta executive sent a text message to Surgeon General Murthy, noting that
11
     "it's not great to be accused of killing people," and expressing that he was "keen to find a way to
12
     deescalate and work together collaboratively."
13
            340. Such "de-escalation" and "working together collaboratively," naturally, involved
14

15   increasing censorship on Meta's platforms. One week after President Biden's public accusation,

16   on July 23, 2021, that senior Meta executive sent an email to Surgeon General Murthy stating, "I

17   wanted to make sure you saw the steps we took just this past week to adjust policies on what we
18
     are removing with respect to misinformation, as well as steps taken to further address the `disinfo
19
     dozen': we removed 17 additional Pages, Groups, and Instagram accounts tied to the disinfo
20
     dozen...."
21
            341. Again, on August 20, 2021, the same Meta executive emailed Murthy to assure him
22

23   that Facebook "will shortly be expanding our COVID policies to further reduce the spread of

24   potentially harmful content on our platform. These changes will apply across Facebook and
25   Instagram," and they included "increasing the strength of our demotions for COVID and vaccine
26
     related content," and "making it easier to have Pages/Groups/Accounts demoted for sharing
27
     COVID and vaccine-related misinformation."
28

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 1          343. In addition, that senior Meta executive sent a "Facebook bi-weekly covid content
 2   report" to Surgeon General Murthy and to White House official Andrew Slavitt, evidently to
 3
     reassure these federal officials that Facebook's suppression of COVID-19 "misinformation" was
 4
     aggressive enough for their preferences.
 5
            344. In another, similar exchange, on October 31, 2021, Deputy Assistant to the President
 6

 7   Rob Flaherty emailed a contact at Meta with a link to a Washington Post article complaining

 8   about the spread of COVID "misinformation" on Facebook. The email contained only the link to

 9   that story with the subject line, "not even sure what to say at this point." The Facebook official
10   defended Facebook's practices, and assured Mr. Flaherty that Facebook's internal studies were
11
     intended to "improve our defenses against harmful vaccine misinformation," and that Facebook
12
     had, in fact, "improved our policies," i.e., increased censorship of online speech. Id.
13
            345. Likewise, Alex Berenson disclosed internal Twitter communications revealing that
14

15   senior "WH" officials including Andrew Slavitt specifically pressured Twitter to de-platform

16   Berenson, an influential vaccine critic—which Twitter did. This pressure to de-platform Berenson

17   evidently occurred on April 21, 2021, when four Twitter employees participated in a Zoom
18
     meeting with at least three White House officials and one HHS official intended to allow the
19
     White House to "partner" with Twitter in censoring COVID-related "misinfo." The meeting
20
     invitation stated: "White House Staff will be briefed by Twitter on vaccine misinfo. Twitter to
21
     cover trends seen generally around vaccine misinformation, the tangible effects seen from recent
22

23   policy changes, what interventions are currently being implemented in addition to previous policy

24   changes, and ways the White House (and our COVID experts) can partner in product work."
25   (Emphasis added).
26
            346. The next day, April 22, Twitter employees noted in internal communications that the
27
     White House officials had posed "tough" questions during this meeting, including "one really
28

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 1   tough question about why Alex Berenson hasn't been kicked off the platform." See
 2   https://alexberenson. substack. comp/the-white-house-privately-demanded.
 3
            347. On July 11, 2021, Dr. Fauci publicly described Berenson's public statements on
 4
     vaccines as "horrifying." Soon thereafter, after President Biden's subsequent statement that
 5
     "They're killing people" by not censoring vaccine "misinformation," Twitter caved to federal
 6

 7   pressure and permanently suspended Berenson.

 8          348. Such communications from the White House impose maximal pressure on social

 9   media companies, which clearly yields the sought-after results. And federal officials are fully
10   aware that such pressure is necessary to induce social-media platforms to increase censorship of
11
     views that diverge from the government's. CISA Director Jen Easterly, for example, texted with
12
     Matthew Masterson about "trying to get us in a place where Fed can work with platforms to better
13
     understand the mis/dis trends so relevant agencies can try to prebunk/debunk as useful," and
14

15   complained about the Government's need to overcome the social-media platforms' "hesitation" to

16   working with the government: "Platforms have got to get more comfortable with gov't. It's really

17   interesting how hesitant they remain."
18
            349. In fact, such pressure from government officials on social-media companies, along
19
     with the many public statements alleged in the Complaint, have succeeded on a grand scale. A
20
     veritable army of federal bureaucrats are involved in censorship activities "across the federal
21
     enterprise." There are so many, in fact, that CISA Director Easterly and Matthew Masterson
22

23   complained in text messages that "chaos" would result if all federal officials were

24   "independently" contacting social-media platforms about so-called misinformation: "Not our
25   mission but was looking to play a coordinated role so not every D/A is independently reaching
26
     out to platforms which could cause a lot of chaos." On information and belief, as alleged above,
27
     the "Disinformation Governance Board" was created to impose a bureaucratic structure on the
28

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 1   enormous censorship activities already occurring involving dozens of federal officials and many
 2   federal agencies.
 3
               350. These federal bureaucrats have leveraged their clout and pressure on social-media
 4
     platforms to become deeply embedded in a joint enterprise with social-media companies to
 5
     procure the censorship of private citizens' speech on social media. Officials at HHS, including
 6

 7   Defendants herein, routinely flag content for censorship, for example, by organizing weekly "Be

 8   On The Lookout" meetings to flag disfavored content; sending lengthy lists of examples of

 9   disfavored posts to be censored; serving as privileged "fact checkers" whom social-media
10   platforms consult about censoring private speech; and receiving detailed reports from social-
11
     media companies about so-called "misinformation" and "disinformation" activities online; among
12
     others.
13
               351. These efforts go back as far as very early 2020, and they continue through the present
14

15   day, as evidenced by Facebook employees writing to high-level officials in HHS and the State

16   Department informing them of new attempts to "control information and misinformation related

17   to Corona virus [sic] which includes links to WHO page as well as removal of misinformation."
18
               352. A Facebook employee wrote to Defendants Slavitt, Flaherty, Peck, and Humphrey on
19
     March 2, 2021, updating the White House on "vaccine intent" and "shar[ing] survey based data on
20
     intent to vaccinate," and relaying the ways that the company was combatting "misinformation."
21
     These methods included "improving the effectiveness of our existing enforcement systems
22

23   (particularly focusing on entities that repeatedly post vaccine misinformation)" and "mitigating

24   viral content that could lead to vaccine hesitancy" while "promoting the vaccine and providing
25   authoritative information."
26
27

28

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 1          353. Upon information and belief, that means ensuring that posts departing from the
 2   government's messaging on vaccines are censored and de-amplified through the Facebook
 3
     algorithm, while those conveying the government's message are amplified.
 4
            354. On March 1, 2021, a Twitter employee wrote to Defendants Slavitt, Flaherty, Peck
 5
     and Humphrey after a meeting that the company was escalating efforts to remove harmful content
 6

 7   about Covid and introducing a strike system apparently the outcome of the discussion that had

 8   just occurred. This was following an email exchange in February of 2021 in which the same

 9   employee had sought to update the four about "additional measure[s] Twitter taking regarding
10   covid [sic]."
11
            355. Likewise, on April 26, 2020, Muhammed wrote to Facebook employees and asked
12
     them to take down Facebook pages, and deactivate associated accounts, misrepresenting
13
     themselves as Administration for Children and Families Program (ACF). One of those employees
14

15   responded, "Absolutely." Id.

16          356. Shortly after the inauguration of President Biden, an individual who worked in

17   private sector engagement connected a Facebook employee with Defendants Courtney Rowe and
18
     Joshua Peck, and saying that Defendants Flaherty and Humphrey would want to be in touch about
19
     misinformation and disinformation.
20
            357. On February 24, 2021, a different Facebook employee wrote to Defendant Flaherty
21
     "Following upon your request for COVID-19 misinfo themes we are seeing," "we are removing
22

23   these claims from our platforms[.]" Those themes were Vaccine Toxicity," "False Claims About

24   Side Effects of Vaccine" (including that the vaccines may cause infertility), "Comparing the
25   Covid Vaccine to the Flu Vaccine," and "Downplaying Severity of Covid-19." 358. Flaherty
26
     responded later that day, asking for a "sense of volume on these, and some metrics around the
27
     scale of removal for each[]," as well as "misinformation that might be falling outside of your
28

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 1   removal policies." The Facebook employee replied that she could "go into detail on content that
 2   doesn't violate like below but could contribute to vaccine hesitancy."
 3
             359. Similarly, on February 19, 2021, Defendant Flaherty, on an email between him,
 4
     Humphrey, Defendant Courtney Rowe, and Defendant Joshua Peck, and several Facebook
 5
     employees as well, asked to hear from the company about "mis and dis" and later stated that one
 6

 7   of his questions was about "algorithmic productions." Flaherty also asked if "plans are in the

 8   works . . . to replicate the strategy you deployed around lockdowns — the `stay at home'

 9   stickers/promoted Instagram story." A meeting was apparently held pursuant to Flaherty's request
10   shortly thereafter on March 1, with the subject being "Misinfo & Disinfo."
11
            360. On May 20, 2021, Mina Hsiang of the Office of Management and Budget wrote to a
12
     Google employee, apparently following up on a conversation from the previous day that was
13
     "critically helpful for the nationwide vaccination effort." Hsiang suggested a change to results
14

15   yielded by a search for "who can get vaccinated now."

16          361. The parties continued to collaborate on the subject, and eventually arranged a

17   meeting that was apparently held on May 27, 2021 and scheduled by Defendant Joshua Peck.
18
     Defendant Andy Slavitt asked Peck and Hsiang to take his place on the call because he was
19
     "slammed."
20
            362. Sheila Walsh of HHS exchanged emails with employees at YouTube about
21
     combating vaccine "misinformation," and arranged a meeting as well.
22

23          363. Defendant Christy Choi, Deputy Director in the Office of Communications within

24   HHS had exchanges with Facebook asking it to change the name of a Facebook page providing
25   "misleading information about vaccine" "[g]iven the administration's focus on getting more
26
     Americans vaccinated."
27

28

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 1           364. CISA, likewise, has aggressively embraced its "evolved mission" of screening
 2   complaints of social-media disinformation and then "routing disinformation concerns" to
 3
     socialmedia platforms. CISA routinely receives reports of perceived "disinformation," often from
 4
     state and local government officials, and forwards them to social-media companies for
 5
     censorship, placing the considerable weight of its authority as a federal national-security agency
 6

 7   behind its demands for suppression of private speech. CISA, therefore, serves as a government

 8   clearinghouse for expedited censorship of social-media speech disfavored by government

 9   officials.
10           365. Moreover, many of these substantive communications from federal officials flagging
11
     specific posts and content for censorship also appear to occur through alternative channels of
12
     communication. For example, Facebook trained CDC and Census Bureau officials on how to use
13
     a "Facebook misinfo reporting channel." Twitter offered federal officials a privileged channel for
14

15   flagging misinformation through a "Partner Support Portal." YouTube has disclosed that it

16   granted "trusted flagger" status to Census Bureau officials, which allows privileged and expedited

17   consideration of their claims that content should be censored.
18
             366. As alleged further herein, federal censorship efforts escalated after President Biden
19
     assumed office in January 2021.
20
             367. The individually named White House Defendants and other Defendants were directly
21
     involved in communications with social-media platforms about censorship and suppression of
22

23   speech on social-media.

24           368. For example, Humphrey requested that a Meta employee censor an Instagram parody
25   account of Dr. Fauci, and Meta replied, "Yep, on it!" Soon thereafter, Meta reported that the
26
     account had been censored.
27

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 1          369. As another example, on May 28, 2021, a senior executive of Meta sent an email to
 2   Slavitt and Murthy reporting that Facebook had expanded its censorship policies, evidently to
 3
     satisfy federal officials' demands made at a recent oral meeting. The email stated that a "key
 4
     point" was that "We're expanding penalties for individual Facebook accounts that share
 5
     misinformation."
 6

 7          370. As recently as June 13, 2022, Flaherty demanded that Meta continue to produce

 8   periodic "COVID-19 insights reports" to track so-called "misinformation" regarding COVID-19

 9   on Meta's social-media platforms, expressing the specific concern that COVID vaccines for
10   children under 5 would soon be authorized.
11
            371. Meta got the message. It agreed to continue sending its censorship-tracking reports,
12
     and on June 23, 2022, Meta assured Flaherty that it was expanding its censorship of COVID-19
13
     "misinformation" to ensure that speech critical or skeptical of COVID-19 vaccines for children
14

15   under 5 years old—a highly controversial topic—would be censored. Notably, Pfizer's own data

16   established that the vaccine does not stop infection or transmission in this age group,

17   demonstrating the political nature of this censorship. See
18
     https://www.nytimes.com/2022/02/28/health/pfizervaccine-kids.html.
19
            372. The White House Defendants were involved in many other communications
20
     regarding censorship as well. For example, in June and July of 2022, Flaherty, Manning, Salcido,
21
     and Cheema were included in the email chain with Meta in which Flaherty demanded that Meta
22

23   continue providing biweekly "COVID-19 Insights" reports to ensure adequate censorship of

24   speech on Facebook and Instagram "as we start to ramp up under 5 vaccines"—i.e., as
25   vaccination of children under 5 for COVID-19 began. Wakana and Rowe were also involved in
26
     similar communications overseeing Meta's misinformation practices. 373. Again, for example,
27
     Flaherty, Wakana, Humphrey, and Rowe participated in a "Twitter // COVID Misinfo" meeting
28

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 1   with Twitter on or around March 1, 2021. And on April 21, 2021, Flaherty and Slavitt, along with
 2   White House Confidential Assistant Kelsey V. Fitzpatrick, participated in a meeting with Twitter
 3
     at which those White House officials demanded greater censorship on Twitter and specifically
 4
     demanded the de-platforming of Alex Berenson. The meeting invite for that meeting stated that
 5
     "White House Staff will be briefed by Twitter on vaccine misinfo. Twitter to cover trends seen
 6

 7   generally around vaccine misinformation, the tangible effects seen from recent policy changes, ...

 8   and ways the White House (and our COVID experts) can partner in product work."

 9          374. A senior Meta executive repeatedly copied Slavitt on his emails to Surgeon General
10   Murthy in which he assured the Surgeon General and the White House that Meta was engaging in
11
     censorship of COVID-19 misinformation according to the White House's demands. Among other
12
     things, the Meta executive insisted that "We've expanded penalties for individual Facebook
13
     accounts that share misinformation."
14

15          375. Likewise, on March 2, 2021, Meta sent an email assuring Slavitt, Flaherty, and

16   Humphrey that the company is "[c]ombating vaccine misinformation and de-amplifying content

17   that could contribute to vaccine hesitancy" by "improving the effectiveness of our existing
18
     enforcement systems (particularly focusing on entities that repeatedly post vaccine
19
     misinformation), mitigating viral content that could lead to vaccine hesitancy...."
20
            376. Among many other reports, Meta reported to Rowe, Manning, Flaherty, and Slavitt
21
     that it has "labeled and demoted" "vaccine humor posts whose content could discourage
22

23   vaccination" during January 2022. It also reported to the White House that it "labeled and

24   demoted" posts "suggesting natural immunity to COVID-19 infection is superior to immunity by
25   the COVID-19 vaccine."
26
27

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 1          377. Likewise, on November 4, 2021, Meta reported to Rowe, Flaherty, and other White
 2   House officials that "we updated our misinformation policies for COVID-19 vaccines to make
 3
     clear that they apply to claims about children...."
 4
            378. On September 18, 2021, regarding a story in the Wall Street Journal about COVID19
 5
     "misinformation" circulating on Facebook, Flaherty demanded that Meta provide an explanation
 6

 7   "as we have long asked for, [of] how big the problem is, what solutions you're implementing, and

 8   how effective they've been." Needless to say, the "solutions" evidently referred to policies to

 9   censor and suppress more private speech on Meta's platforms, and Meta promised to "brief" the
10   White House on those.
11
            379. In response to a third-party subpoena, Meta has identified Special Assistant to the
12
     President Laura Rosenberger, White House Partnerships Manager Aisha Shah, White House
13
     Counsel Dana Remus, and White House officials Slavitt, Flaherty, and Humphrey; HHS officials
14

15   Waldo, Byrd, Choi, Lambert, Peck, and Muhammed; EAC officials Muthig and Robbins; CDC

16   officials Crawford and Dempsey; DHS officials Masterson, Protentis, Hale, and Snell; and FDA

17   officials Thorpe, Jefferson, Murray, and Kimberly, among others, as federal officials who may
18
     have "communicated with Meta regarding content moderation between January 1, 2020 and July
19
     19, 2022 as it relates to: (i) COVID-19 misinformation; (ii) the Department of Homeland
20
     Security's proposed Disinformation Governance Board; (iii) the New York Post story from
21
     October 14, 2020 about Hunter Biden's laptop computer; and/or (iv) election security, integrity,
22

23   outcomes, and/or public confidence in election outcomes (not to include issues of foreign

24   interference or related issues)."
25          380. In response to a third-party subpoena, YouTube has identified Schwartz, Faught,
26
     Molina-Irizarry, Galemore, Wakana, Flaherty, and Waldo, among others, as federal officials
27

28

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 1   likely to have "communicated with the YouTube custodians about misinformation about COVID,
 2   the census, or elections."
 3
            381. In response to a third-party subpoena, Twitter has identified Crawford, Flaherty,
 4
     Frisbie, Kimmage, Lambert, Murthy, Shopkorn, Slavitt, and Waldo as federal officials "with
 5
     whom [Twitter] has had meetings or discussions between January 20, 2021 and August 4, 2022
 6

 7   about election integrity, vaccine/Covid misinformation, violent extremism, and similar content

 8   moderation issues."

 9          381.1. On August 26, 2022, Mark Zuckerberg appeared on Joe Rogan's podcast and
10   revealed that Facebook's censorship of the Hunter Biden laptop story had occurred as a result of
11
     communications from the FBI. Zuckerberg stated: "The FBI basically came to us" and told
12
     Facebook to be "on high alert" relating to "a lot of Russian propaganda.
13
              FIRST CAUSE OF ACTION AGAINST ALL DEFENDANTS FOR VIOLATION
14

15          OF PLAINTIFFS’ FEDERAL CIVIL RIGHTS PURSUANT TO 42 USC 1983

16          382.    At all times herein mentioned, Plaintiffs’ and the Putative Class’s First

17   Amendment rights were violated and will continue to be violated by virtue of Defendants’
18
     Censorship Scheme. In particular, the private party defendants have taken actions and engaged in
19
     conduct under color of law to do that which the Biden Administration is constitutionally
20
     prohibited from doing for itself – namely, censoring and suppressing lawfully protected speech of
21
     Plaintiffs, the Putative Class and other Americans with whom they disagree, for the purpose of
22

23   punishing the political enemies of the Democratic Party and DNC.

24          383. At all times herein mentioned, Defendants were acting under color of law in
25   collusion and lockstep with the federal government and current Biden Administration to cancel,
26
     censor, stifle and suppress the lawfully protected speech of conservative and other disfavored
27

28

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 1   speakers who challenged Biden Administration policies and dictates, in violation of their First
 2   Amendment rights.
 3
            384.    Plaintiffs and the Putative Class were irreparably harmed and will continue to be
 4
     irreparably harmed unless and until this Court issues a nationwide injunction to restrain and
 5
     enjoin Defendants’ actions and Defendants’ Censorship Scheme.
 6

 7          385. Plaintiffs and each member of the Putative Class also sustained damages as a result

 8   of Defendants’ censorship scheme.

 9          386. Defendants’ Censorship Scheme described and alleged herein was a substantial
10   factor in causing Plaintiffs’ and the Putative Class’s harm.
11
                       SECOND CAUSE OF ACTION AGAINST ALL DEFENDANTS
12
                    FOR VIOLATION OF THE CIVIL RIGHTS ACT OF 1964 AND THE
13
                   UNITED STATES CONSTITIUTION FOR ELECTION INTERFERENCE
14

15          387. Plaintiffs and the Putative Class are guaranteed the right to vote by the Civil Rights

16   Act of 1964 and the United States Constitution, including the 5th and 14th Amendments thereto.

17          388. At all times herein mentioned, Defendants and Defendants’ Censorship Scheme
18
     interfered with Plaintiffs’ and the Putative Class’s voting rights and caused substantial harm by
19
     diluting the value of their vote in the 2020 and 2022 elections.
20
            388.1 Unless and until restrained and enjoined by this Court, Defendants will continue to
21
     perpetrate their Censorship Scheme against Plaintiffs, the Putative Class and other Americans and
22

23   thereby threaten to interfere with their vote in 2024 as well.

24          389. As a direct result of Defendants’ Censorship Scheme and election interference,
25   Plaintiffs and the Putative Class sustained damages and irreparable harm and will continue to be
26
     irreparably harmed unless and until this Court issues a nationwide injunction to restrain and
27
     enjoin Defendants’ actions and Defendants’ Censorship Scheme.
28

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 1          390. At all times herein mentioned, Defendants’ actions and their Censorship Scheme
 2   were a substantial factor in causing Plaintiffs’ and the Putative Class’s harm.
 3
                   THIRD CAUSE OF ACTION [FOR CALIFORNIA RESIDENT CLASS
 4
       MEMBERS] AGAINST ALL DEFENDANTS FOR VIOLATING THE CALIFORNIA
 5
                   UHRUH ACT, CALIFORNIA CIVL CODE SECTION 51 ET SEQ.
 6

 7          391.    In addition to general damages and injunctive relief under 42 USC Section 1983

 8   and the Civil Rights Act of 1964, the individual California resident Plaintiffs and members of the

 9   Putative Class who reside in California are also seeking statutory and general damages and
10   injunctive relief under the California Unruh Act (California Civil Code section 51) as follows:
11
            392.    The California Unruh Act (Civil Code section 51) guarantees every person in
12
     California full and equal” access to “all business establishments of every kind whatsoever” and
13
     imposes a duty on businesses establishments to serve all persons without arbitrary discrimination.
14

15   Violations of the act may be redressed by private plaintiffs, like the Plaintiffs herein, who are

16   aggrieved by the alleged unlawful conduct. Remedies include injunctive relief, damages and

17   attorney’s fees and costs (Civil Code section 52(a) – (c)).
18
            393.    At all times herein mentioned, Defendants’ discriminatory business practices and
19
     in particular, Defendant’s unlawful and illegal Censorship Scheme – which deprived and
20
     continues to deprive Plaintiffs and other similarly situated persons with equal access to their
21
     internet platforms and school board meetings to express opposing political views, or views other
22

23   than the opinions of the Democratic Party, aggrieved each and all of the Plaintiffs and the Class,

24   in an amount to be shown at the time of trial in accordance with proof, including statutory
25   damages in the amount of $4000 for each violation, and actual damages.
26
            394.    Plaintiffs are also entitled to injunctive relief to enjoin and restrain defendants, and
27

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 1   each of them, from continuing the discriminatory practice of presenting only one political party’s
 2   opinions, positions and views as opposed to a public forum for open and free expression under the
 3
     First Amendment to avoid and prevent the continued detriment and irreparable harm to Plaintiffs
 4
     – law abiding members of a rival political party whose only fault is that such members disagree
 5
     with the opinions espoused by Defendants.
 6

 7           395.    At all times herein mentioned, Plaintiffs were arbitrarily denied full and equal

 8   access to the private party Platform Defendants’ goods and internet services and privileges by

 9   virtue of their Censorship Scheme simply because of their political affiliation and in particular,
10   because they disagree with Biden Administration policies and mandates, are registered
11
     Republicans or have political opinions favored by conservatives rather than Left wing Democrats.
12
             396.    While “political affiliation” is not one of the enumerated grounds for relief under
13
     Civil Code section 51, the California Unruh Act is not limited to the categories expressly
14

15   mentioned in the statute. Other forms of arbitrary discrimination by business establishments is

16   prohibited. In re Cox, 3 Cal. 3d 205, 216 (1960); CACI 3020 (Use Notes).

17           397. At all times herein mentioned, Defendants and each of them deprived Plaintiffs and
18
     the Putative Class to full and equal access to the private party defendants’ goods and services by
19
     censoring and suppressing what they were allowed to publish, sell, see, read or hear on
20
     Defendants’ respective platforms and/or at public union and school board meetings as directed by
21
     the Biden Administration and its executive agencies.
22

23           398. A motivating reason for Defendants’ discrimination and Censorship Scheme was

24   Plaintiffs’ and the Putative Class’s political affiliation.
25           399. Plaintiffs and the Putative Class were harmed as a result of Defendants’ violation of
26
     the Unruh Act, discrimination and Censorship Scheme.
27

28

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 1          400. Defendants conduct and in particular their Censorship Scheme was a substantial
 2   factor in causing Plaintiffs’ and the Putative Class’s harm.
 3
            401. Defendants AFT, NEA and NSBA who myopically follow and teach the Democratic
 4
     Party’s agenda, including the teaching of “Critical Race Theory” to public school students in lieu
 5
     of more traditional “reading, writing and arithmetic,” is but another form of illegal censorship and
 6

 7   discrimination because it quashes any opposing views and leads to public distrust. The Court

 8   should restrain and enjoin the use of any further public funds - such as the AFT’s use of public

 9   funds to ensure and control our children’s public-school curriculum, as a means to stifle, suppress
10   and censor any views or opinions by conservative-leaning commentators or public figures that are
11
     not lock step with the DNC and now Biden Administration Platforms. Simply stated, the private
12
     party defendants whom the DNC enlisted in early 2020 and have continued to use as “proxies” or
13
     “conduits” for the Democratic Party (with the mainstream media) to create a one-party system
14

15   and most importantly, the ability and any government support they may need to quash, suppress

16   and stifle any and all opposition. Such discriminatory conduct violates the California Unruh Act

17   (Civil Code section 51 et seq.).
18
             INJUNCTIVE RELIEF IS ALSO REQUIRED TO ENSURE THAT DEFENDANTS
19
       ARE ENJOINED FROM FALSELY FRAMING THE PUBLIC NARRATIVE AND TO
20
          PREVENT DEFENDANTS AND THE BIDEN ADMINISTRATION FROM ANY
21
                       FURTHER GASLIGHTING OF ORDINARY AMERICANS
22

23          398. In addition to “de-platforming” opposing views to ensure that only the Democratic

24   Party’s and Biden Administration’s Platform, policies and messaging are published or sold on the
25   internet, the private party defendants continue to assert a false narrative to serve their own
26
     interests and remain in power. Such public “gaslighting” includes the following false publicly
27
     stated matters:
28

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 1            ◼ There were no “riots” or property damage that occurred during the Summer of
 2               2020 that were instigated by democratic political organizations known as “Antifa”
 3
                 and “Black Lives Matter” in democratic controlled cities such as Minneapolis and
 4
                 Portland and New York;- just “peaceful protests”;
 5
              ◼ There was and is no “crisis” at the wide-open Mexican-United States border
 6

 7               caused by the Biden Administration’s open border policy, which in June 2021

 8               alone saw 190,000 immigrants enter the United States illegally, at least 10 percent

 9               of whom have Covid 19 at the time they are released;
10            ◼ Several credible, low-cost therapeutic drugs and medications that have been
11
                 available for years that could actually lessen Covid 19 symptoms and cure the
12
                 virus itself. In fact, defendants called such miracle drugs “disinformation” and
13
                 delisted any mention of them. Defendants’ censorship and suppression of such
14

15               critically useful information and the FDA’s subsequent direction to pharmacies

16               and doctors that they were not to sell or use such drugs as a result thereof

17               undoubtedly killed thousands of Americans unnecessarily;
18
              ◼ Falsely stating that President Trump and his lawyers provided “no evidence” of
19
                 election fraud as opposed to truthfully stating that the only Democratic judges
20
                 willing to hear the matter ruled that the litigants had “no standing.” Accordingly,
21
                 the fact of the matter is that such judges, by design and proclamation, heard no
22

23               evidence at all because no evidence was allowed to be presented. As the Arizona

24               legislative investigation has revealed, there was rampant fraud in Arizona’s
25               election. Only time will tell whether the other critical “Swing states” also
26
                 experienced fraud;
27
              ◼ Masks were unnecessary once you were vaccinated twice;
28

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 1              ◼ Natural immunity is irrelevant to Covid 19 treatment;
 2              ◼ Unvaccinated persons cause other persons to catch Covid 19 while those who are
 3
                    vaccinated are safe to be in contact with; and
 4
                ◼ Unvaccinated persons die at a greater rate than vaccinated persons from Covid 19.
 5
            399.    All of the referenced claims asserted in paragraph 398 above are demonstrably
 6

 7   false. However, Defendants continue to assert these claims and thereby create a false narrative

 8   that spurs unfounded racial attacks and division among ordinary Americans.

 9   the alleged “disinformation” or “misinformation’ allegedly communicated – always looked at
10   through the prism of what message the Democratic Party are seeking to convey, effectively
11
     silencing any political opposition to the Democratic Party Platform, while hiding behind alleged
12
     immunities given to them years ago by a Congress that never intended such a tortured result.
13
                     FOURTH CAUSE OF ACTION FOR INJUNCTIVE RELIEF
14

15          400.     The statutory provisions set forth above provide for the issuance of an injunction

16   whenever the facts and circumstances warrant it.

17          401.    Virtually all of the facts alleged herein are undisputed. More importantly, these
18
     undisputed facts show that injunctive relief is clearly justified under the circumstances because
19
     they establish that Defendants, in collusion with the federal government and in particular the
20
     Biden Administration, have violated and will continue to violate Plaintiffs’ and the Putative
21
     Class’s civil rights in a manner that is inconsistent with federal and California laws, the United
22

23   States Constitution and First Amendment thereto. Thus, injunctive relief is warranted under the

24   facts and circumstances in this case to prevent future harm.
25          402.     Moreover, Plaintiffs will continue to be irreparably harmed as a result of
26
     Defendants Censorship Scheme unless and until Defendants are permanently restrained and
27
     enjoined by the Court from perpetrating it. Simply stated, unless the private party defendants are
28

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 1   restrained and enjoined by the Court, Defendants herein – proxies or “lackies” for the Biden
 2   Administration – will continue to unreasonably and unfairly discriminate against Plaintiffs and
 3
     trample on the civil rights of the Plaintiffs and countless others who have similar views that
 4
     Defendants and their cohorts find “distasteful” or “offensive.”
 5
            403.     Accordingly, the Court should issue a temporary restraining order forthwith after
 6

 7   notice and a hearing and further schedule a hearing and briefing schedule on an order to show

 8   cause re the issuance of a preliminary and permanent injunction that requires Defendants to show

 9   cause, if any they have, why the injunction requested by Plaintiffs herein should not be granted as
10   prayed and enforced indefinitely.
11
                     FIFTH CAUSE OF ACTION FOR DECLARATORY RELIEF
12
            404.    An actual controversy has arisen and now exists between the parties herein under
13
     the California and federal “Declaratory Relief Act(s)” in that Plaintiffs contend that Defendants
14

15   are engaged in a vast, systemic illegal and unconstitutional Censorship Scheme to violate the civil

16   rights of the individual Plaintiffs and Putative Class, as more particularly described in this

17   Complaint, causing Plaintiffs irreparable harm and the right to injunctive relief, statutory and
18
     general damages for the harm caused by Defendants’ acts and misconduct, whereas Defendants
19
     dispute such contentions.
20
            405.     As a result of the referenced unresolved dispute between the litigants and parties,
21
     An adjudication by this Court is necessary and appropriate at this time.
22

23   , and enter judgment in favor of Plaintiffs.

24          WHEREFORE, Plaintiffs and the Putative Class pray for judgment as follows:
25          1. For general damages in an amount to be shown at the time of trial for Defendants’
26
     Censorship, interference with voting rights
27
            2. For statutory damages in the amount of $4,000 per day for each violation of the Unruh
28

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 1   Act, as provided by Code of Civil Procedure section 51;
 2             3. For a temporary restraining order and order to show cause re issuance of preliminary
 3
     and permanent injunction enjoining Defendants and each of them, from continuing to violate
 4
     Plaintiffs’ constitutional rights by virtue of their Censorship Scheme in violation of 42 USC
 5
     Section 1983, the Civil Rights Act of 1964 and with respect to California residents, the Unruh Act
 6

 7   (California Civil Code section 51), or from otherwise causing irreparable harm to the Plaintiffs

 8   herein;

 9             4. For a judicial declaration of the respective rights and remedies of the parties;
10             5. For reasonable attorney’s fees and costs; and
11
               6. For such other and further relief as the Court may deem just and proper.
12

13

14

15   DATED: December 28, 2022                        LAW OFFICES OF MICHAEL E. REZNICK
                                                     A Professional Corporation
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17
                                                     By:____/s/ Michael E. Reznick_______________
18
                                                             Michael E. Reznick
19                                                   Attorney for Plaintiffs RICHARD JACKSON,
                                                     JULIE BRIGGS and GREGG BUCHWALTER,
20                                                   individually and on behalf of all others similarly
                                                     situated
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 1                                     DEMAND FOR JURY TRIAL
 2          Pursuant to Rule 38 of the Federal Rules of Civil Procedure, Plaintiffs and the Putative
 3
     Class hereby request a jury trial on all matters for which they are entitled to a jury.
 4

 5
     DATED: December 28, 2022                       LAW OFFICES OF MICHAEL E. REZNICK
 6                                                  A Professional Corporation
 7

 8
                                                    By:____/s/ Michael E. Reznick_______________
 9                                                          Michael E. Reznick
                                                    Attorney for Plaintiffs RICHARD JACKSON,
10                                                  JULIE BRIGGS and GREGG BUCHWALTER,
11                                                  individually and on behalf of all others similarly
                                                    situated
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